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Attorneys for Defendant

CARLOS MADRIGAL, RICHARD
TANG, and ANNA TANG,

Plaintiffs,
V.
ALLSTATE INSURANCE
COMPANY, a corporation; TERESA

VARELA, an individual, and DOES 1
through 60, inclusive,

Defendants,

HSE 2:14-cv-04242-SS Document1 Filed 06/02/14 Page1of152 Page ID#1

SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
PETER H. KLEE, Cal. Bar No. 111707

THEONA ZHORDANIA, Cal. Bar No. 254428

ALLSTATE INDEMNITY COMPANY
(erroneously sued as Allstate Insurance Company)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA —

 

 

SMRH-424112516.1

 

 

TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
THE CENTRAL DISTRICT OF CALIFORNIA, CENTRAL DIVISION,
PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that defendant Allstate Indemnity Company,
erroneously sued as Allstate Insurance Company, hereby removes the state court
action described below from the Superior Court of the State of California for the
County of Los Angeles to the United States District Court for the Central District of

California, Central Division, pursuant to 28 U.S.C. §§ 1441(b) and 1446.
-l-
NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 88 1441(b). 1446

WESTERN DIVISION

Case No.

DEFENDANT ALLSTATE
INDEMNITY COMPANY’S
NOTICE OF REMOVAL
PURSUANT TO 28 U.S.C. §§
1441(b), 1446.

Complaint Filed: April 21, 2014

DEFENDANT ALLSTATE INDEMNITY COMPANY’S

 
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I. COMPLIANCE WITH STATUTORY REQUIREMENTS

1. On or about April 21, 2014, plaintiffs Carlos Madrigal, Richard Tang
and Anna Tang filed a lawsuit in the Superior Court of California for the County of
Los Angeles entitled Carlos Madrigal, Richard Tang and Anna Tang v. Allstate
Insurance Company, Teresa Varela and Does 1 through 60, Case No. BC 542968.
A true and correct copy of the complaint is attached hereto as Exhibit A.

2. The complaint named as defendants: (1) Allstate Indemnity Company,
erroneously sued as Allstate Insurance Company (“Allstate”); (2) Teresa Varela and
(3) Does 1 through 60.

3. Allstate was served with a copy of the Summons and Complaint on
May 1, 2014. Ms. Varela has also been served with the Summons and Complaint.

4. Pursuant to 28 U.S.C. § 1446(b)(1), a notice of removal may be filed
“within 30 days after the receipt by the defendant, through service or otherwise” of
the initial pleading from which removability can be ascertained. 28 U.S.C.

§ 1446(b)(1). Here, Allstate’s notice of removal is timely because it was filed
within 30 days after being served with the Summons and Complaint.

5. Pursuant to 28 U.S.C § 1446(d), Allstate will promptly provide written
notice of removal of this action to plaintiffs and will promptly file a copy of this
Notice of Removal with the Clerk of the Superior Court of California for the County
of Los Angeles.

6. The United States District Court for the Central District of California,
Central Division, embraces Los Angeles, the county in which this Action is brought.
Therefore, the Court is a proper venue for this Action pursuant to 28 U.S.C. §§ 84
(c) and 1441(a).

Il, STATEMENT OF THE GROUNDS FOR REMOVAL

7. Allstate removes this case pursuant to 28 U.S.C. § 1441. Removal is

proper because, as alleged in more detail below, (1) there is complete diversity

between Allstate and plaintiffs, (2) the only non-diverse defendant, Ms. Varela, has

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SMRH:424112516.1 DEFENDANT ALLSTATE INDEMNITY COMPANY’S
NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 86 1441(b). 1446

 

 

 
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been fraudulently joined and, therefore, her residence is not relevant for purposes of
diversity jurisdiction, and (3) this matter is a civil action in which the amount in
controversy exceeds the sum of $75,000.00, exclusive of costs and interests.

A. There is Complete Diversity Between Allstate and Plaintiffs

8. Allstate is, and was at the commencement of the state court action, a
corporation organized and existing under the laws of the State of Illinois, with its
principal place of business in Cook County, Illinois. Allstate does not have
substantial predominance of its corporate activities in the State of California. Its
corporate “nerve center,” where the majority of its executive and administrative
functions are performed, is in Northbrook, Illinois. Thus, Allstate is, and was at the
commencement of the state court action and at the time of removal, a resident and
citizen of the state of Illinois, as well as the United States.

9. Plaintiff Carlos Madrigal is, and was at the commencement of the state
court action and at the time of removal, a citizen and resident of the County of Los
Angeles, State of California, as well as of the United States. (Exhibit A
[Complaint], 3). There is no indication that Madrigal is or was a citizen of Illinois,
the only fact that would destroy diversity of citizenship.

10. Plaintiff Richard Tang is, and was at the commencement of the state
court action and at the time of removal, a citizen and resident of the County of Los
Angeles, State of California, as well as of the United States. (Exhibit A
[Complaint], { 4). There is no indication that Richard Tang is or was a citizen of
Illinois, the only fact that would destroy diversity of citizenship.

11. Plaintiff Anna Tang is, and was at the commencement of the state court
action and at the time of removal, a citizen and resident of the County of Los
Angeles, State of California, as well as of the United States. (Exhibit A
[Complaint], { 5). There is no indication that Anna Tang is or was a citizen of

Illinois, the only fact that would destroy diversity of citizenship.

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SMRH424112516.1 DEFENDANT ALLSTATE INDEMNITY COMPANY’S
NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 88 1441(b). 1446

 
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12. Plaintiffs’ naming of 60 fictitious “Doe” defendants without identifying
their residence has no effect on the diversity analysis in this case. See 28 U.S.C.
§ 1441 (a) (“[flor purposes of removal under this chapter, the citizenship of
defendants sued under fictitious names shall be disregarded”); Cripps v. Life Ins.
Co. of North America, 980 F.2d 1261, 1266 (9" Cir. 1992) (acknowledging that
“Doe” defendants “shall be disregarded for jurisdictional purposes”) (citing
Section 1441(a)).
13. For these reasons, complete diversity exists between Allstate and
plaintiffs, meeting the diversity requirements of 28 U.S.C. § 1332(d).
B. Ms. Varela’s Joinder is Fraudulent Because Plain fs Cannot
tate a Viable Claim Against Her Under Settled California Law
14. Plaintiffs have attempted to allege claims for intentional
misrepresentation, negligent misrepresentation and intentional infliction of
emotional distress against Ms. Varela, an employee of Allstate and the only non-
diverse defendant. As demonstrated below, these claims fail as a matter of law and,
therefore, Ms. Varela’s residence is not relevant for purposes of diversity
jurisdiction.

a. The Misrepresentation Claims. To state a claim for intentional
misrepresentation, plaintiffs must prove (1) misrepresentation; (2) knowledge of
falsity; (3) intent to defraud, i.e., to induce reliance; (4) justifiable reliance; and (5)
resulting damages. Small v. Fritz Companies, Inc., 30 Cal. 4th 167, 173-74 (2003).
The elements of a negligent misrepresentation claim are (1) the misrepresentation of
a past or existing material fact, (2) without reasonable ground for believing it to be
true, (3) with intent to induce another’s reliance on the fact misrepresented, (4)
justifiable reliance on the misrepresentation, and (5) resulting damage. Apollo
Capital Fund, LLC v. Roth Capital Partners, LLC, 158 Cal. App. 4th 226, 243

(2007). In contrast to fraud, to state a negligent misrepresentation claim, a positive

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NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 88 1441(b). 1446
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assertion is required; an omission or an implied assertion or representation is not
sufficient. Id.

i. Madrigal cannot prove any of the requisite elements of a
misrepresentation claim. While the complaint alleges that the Tangs assigned their
misrepresentation claims against Allstate to Madrigal, the assignment apparently did
not include any claims against Ms. Varela. (Exhibit A [Complaint], 427). Thus,
Madrigal lacks standing to assert a misrepresentation claim against her.

ii. | The Tangs cannot assert a misrepresentation claim against
Ms. Varela for several reasons:

First, the Tangs cannot show that Ms. Varela made an affirmative
misrepresentation when she stated that “Allstate would accept the policy
limits offer.” In a letter dated January 29, 2010, Allstate attempted to accept
the offer and, therefore, the representation was true. (Exhibit F to
Complaint). Nor can the Tangs assert any claim for fraudulent concealment
against Ms. Varela. That is because concealment or non-disclose does not
give rise to a misrepresentation claim absent a duty to disclose. Williams v.
Wraxall, 33 Cal. App. 4th 120, 131 n. 9 (1995); In re Still, 393 B.R. 896, 914
(C.D. Cal. 2008). A duty to disclose arises only where there is a fiduciary or
confidential relationship. First v. Allstate Ins. Co., 222 F. Supp. 2d 1165,
1174-75 (C.D. Cal. 2002). Under California law, however, there is no
fiduciary relationship between an insurer and its insured. See Vu v.
Prudential Prop. & Cas. Ins. Co., 26 Cal. 4th 1150-51 (2001); Love v. Fire
Ins. Exchange, 221 Cal. App. 3d 1136, 1147-49 (1990); Henry v. Associated
Indem. Corp., 217 Cal. App. 3d 1405, 1419 (1990). A fortiori, there is no
fiduciary duty between an insured and a claim adjuster.

Second, the claims that the Tangs purport to allege are for promissory
fraud. “‘Promissory fraud’ is a subspecies of the action for fraud and deceit.”

Lazar v. Superior Court, 12 Cal. 4th 631, 638 (1996). It is “a promise without

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SMRH-424112516.1 DEFENDANT ALLSTATE INDEMNITY COMPANY’S
NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 88 1441(b). 1446

 
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any intention of performing it.” Ailing v. Universal Mfg. Corp., 5 Cal. App.
4th 1412, 1436 (1996). “To maintain an action for deceit based on a false
promise, one must specifically allege and prove, among other things, that the
promisor did not intend to perform at the time he or she made the promise . .
.” Tarmann v. State Farm Mut. Auto. Ins. Co., 2 Cal. App. 4th 153, 159
(1991). “[I]f plaintiff adduces no further evidence of fraudulent intent than
proof of nonperformance of [a] promise, he will never reach a jury.” Tenzer
v. Superscope, Inc., 39 Cal. 3d 18, 31 (1985); Smith v. Allstate Ins. Co., 160
F. Supp. 2d 1150, 1152 (S.D. Cal. 2001). Here, the Tangs do not and cannot
allege any facts showing that Ms. Varela did not intend to perform the
promise at the time she made it — especially in light of the January 29, 2010
letter. (Exhibit F to Complaint).
Finally, the misrepresentation claims are barred by the applicable
statute of limitations. These claims accrued, at the latest, by September 2010
when Madrigal filed suit against the Tangs and they learned that Allstate had
not accepted the policy limits offer. See Exhibit A [Complaint], 424; Fanucci
v. Allstate Ins. Co., 638 F. Supp. 2d 1125, 1133-36 (2009); Stroughter v. State
Farm Fire and Cas. Co., 2004 WL 2538776, at *8-10 (Cal. Ct. App. 2004).
Thus, the Tangs should have filed their suit against Ms. Varela, at the latest,
by September 2013 — which they failed to do.
b. The Intentional Infliction of Emotional Distress Claim. The
Tangs’ ITED claim against Ms. Varela is predicated on the allegation that she failed
to inform them that Allstate intended to reject the policy limits offer. They also
allege, in merely conclusory fashion, that Ms. Varela’s conduct was “extreme and
outrageous” and they suffered “severe emotional distress.” (Exhibit A [Complaint],
q9164- 65). California law is clear, however, that allegations of improper claims
handling — which is all the Tangs allege — are not sufficient to state an ITED claim.

See, e.g., Schlauch v. Hartford Acc. & Indem. Co., 146 Cal. App. 3d 926, 936

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SMRH-424112516.1 DEFENDANT ALLSTATE INDEMNITY COMPANY’S
NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §& 1441(b). 1446

 

 

 
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(1983) (allegations that insurer misrepresented pertinent fact, acted in bad faith, and
failed to investigate a claim properly were insufficient to state a claim for ITED);
Ricard v. Pacific Indem. Co., 132 Cal. App. 3d 886, 894-95 (1983) (allegations that
insurer made intentional misrepresentations regarding the plaintiffs medical claim,
wrongfully refused to pay, and refused to properly investigate or process were
insufficient to state a claim for ITED); Taylor v. C.S.A.A. Inter-Ins. Bureau, 194 Cal.
App. 3d 1214, 1223 (1987) (insurer’s delay in settling a claim despite knowledge
that such duty would cause severe emotional distress was not “outrageous”
conduct). Accordingly, the Tangs have not and cannot state a claim for ITED against
Ms. Varela. Madrigal cannot state an ITED claim against Ms. Varela for an
additional reason. The Tangs did not assign him such a claim. (Exhibit A
[Complaint], (27).

Moreover, the ITED claim is barred by the 2-year statute of limitations in any
event. Cal. Code Civ. Proc. § 335.1; Murray v. Oceanside Unified Sch. Dist., 79
Cal. App. 4th 1338, 1363 (2000). Such a claim accrued, at the latest, by September
2010 when Madrigal filed suit against the Tangs and they learned that Allstate had
not accepted the policy limits offer. See Exhibit A [Complaint], (24. Thus, the
Tangs should have filed their IIED claim against Ms. Varela, at the latest, by
September 2012 — which they failed to do.

15. The complaint reveals that there is only one reason Ms. Varela is
named as a defendant in this lawsuit: the fact that she is a California resident. Ms.
Varela’s joinder is a sham and her citizenship should be ignored for purposes of
diversity jurisdiction. See McCabe v. Gen’t Foods Corp., 811 F.2d 1336, 1339 cg"
Cir. 1987) (holding that two non-diverse employees were fraudulently jointed “sham
defendants” who did not destroy diversity because the plaintiffs failed to include
allegations demonstrating they should be held liable individually); see also Lewis v.

Time, Inc., 83 F.R.D. 455, 460 (E.D. Cal. 1979).

 

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SMRH-424112516.1 DEFENDANT ALLSTATE INDEMNITY COMPANY’S
NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 8& 1441(b). 1446

 
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C. The Amount-in-Controversy Requirement is Met

16. Plaintiffs seek (1) “payment of the $10,680,651.80 judgment”; (Exhibit
A [Complaint], 70); (2) attorneys’ fees (id. at {§ 34, 37); (3) emotional distress
damages in an uncertain amount (id. at 38); and (4) punitive damages. (id. at § 70).

17, Emotional distress damages are included in determining the amount in
controversy. Angus v. Shiley, Inc., 989 F.2d 142, 146 (3™ Cir. 1993); Aucina v.
Amoco Oil Co., 871 F. Supp. 332, 334 (S.D. Iowa 1994); Richmond v. Infinity Ins.
Co., 897 F. Supp. 447 (S.D. Cal. 1995). Some courts have held that emotional

 

distress damages in a bad faith action by itself could exceed the minimum $75,000
threshold. Cain v. Hartford Life & Acc. Ins. Co., 890 F. Supp. 2d 1246, 1251 (C.D.
Cal. 2012) (“The Court finds that it is more likely than not that emotional distress
damages may be substantial if Cain’s allegations in the Complaint are accepted as
true. If such damages were awarded, those damages alone could exceed the
minimum $75,000 threshold”); see also Richmond v. Allstate Ins. Co., 897 F. Supp.
447, 450- 51 (S.D. Cal. 1995) (removal proper because plaintiff's emotional distress
damages were potentially substantial).

18. “To establish the amount of emotional distress in controversy, a
defendant may introduce evidence of jury verdicts in other cases.” Cain v. Hartford
Life & Acc. Ins. Co., 890 F. Supp. 2d 1246, 1250 (C.D. Cal. 2012); see also Rivera
v. Costco Wholesale Corp., 2008 WL 2740399, *4 (N.D. Cal. 2008). In bad faith
cases, juries frequently award emotional distress damages well in excess of the
minimum $75,000 amount in controversy. See e.g., Clayton v. United Services
Auto. Assn., 54 Cal. App. 4th 1158 (1997) (emotional distress award of $400,000
for insurance bad faith); Hangarter v. Provident Life and Acc. Ins. Co., 373 F. 3d
998, 1005 (9" Cir. 2004) (jury awarded $400,000 in emotional distress damages for
bad faith damages stemming from denial of disability benefits); Ace v. Aetna Life
Ins. Co., 40 F. Supp. 2d 1125 (D. Alaska 1999) (jury verdict initially awarded

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SMRH-424112516.1 DEFENDANT ALLSTATE INDEMNITY COMPANY’S
NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 88 1441(b). 1446

 
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$27,009 for wrongful denial of disability benefits and $100,000 for emotional
distress).

19. Likewise, punitive damages are included in determining the amount in
controversy. Bell v. Preferred Life Society, 320 U.S. 238, 240 (1943); Richmond v.
Allstate Ins. Co., 897 F. Supp. 447 (S.D. Cal. 1995); Physicians Health Plan v.
Citizens Ins. Co., 673 F. Supp. 903, 910 (W.D. Mich. 1987); Dembrowski v.
Allstate Ins. Co., 1992 U.S. Dist. LEXIS 3282 (E.D. Pa. 1992).

20. The amount of punitive damages is based, in part, on a ratio to
compensatory damages. The /owest constitutional limit for punitive damages is a 1-
to-1 ratio between punitive and compensatory damages. Guglielmino v. McKee
Foods Corp., 506 F.3d 696, 698 (9" Cir. 2007) (including amount of punitive
damages based on “conservative” | to 1 multiplier of other recoverable damages
sought); Tompkins v. Basic Research LL, 2008 WL 1808316, at *4 (E.D. Cal. Apr.
22, 2008) (same); see Keeling v. Esurance Ins. Co., 660 F.3d 273 (7" Cir. 2011)
(upholding jurisdiction under CAFA upon concluding that a 5:1 ratio of punitive
damages to compensatory damages was conceivable); Anthony v. Security Pac. Fin.

Servs., Inc., 75 F.3d 311, 317-18 (7" Cir. 1996) (punitive damages in a ratio of two

 

or three times a plaintiff's actual damages properly can be reckoned into the amount
in controversy).

21. Indeed, recent California cases have upheld punitive damages awards
with ratios to compensatory damages of greater than 1 to 1, even where the
compensatory damages were substantial. See Jeng-Cheng Ho v. Shih-Ming Hsieh,
181 Cal. App. 4th 337, 341-42 (2010) (stating that the Court of Appeal had affirmed
an award of $6 million in punitive damages and approximately $1.5 million in
compensatory damages, and that the Supreme Court had denied a petition for
review); Century Surety Co. v Polisso, 139 Cal. App. 4th 922, 966 (2006) (“The
Polissos were awarded $622,911 in compensatory tort damages and $2,015,000 in

punitive damages, a ratio of 3.2 to 1, which is well within the constitutional limit.

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SMRH424112516.1 DEFENDANT ALLSTATE INDEMNITY COMPANY’S
NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 8& 1441(b). 1446

 
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Although the compensatory damages were substantial, this ratio is warranted given
the reprehensibility of Century’s conduct”).

22. Similarly, federal courts applying the State Farm constitutional test
have in recent years affirmed numerous awards with ratios of punitive to
compensatory damages well over | to 1, and the U.S. Supreme Court has denied the
petitions for certiorari in these cases where sought. See, e.g., Hangarter v. Provident
Life & Accident Ins. Co., 373 F. 3d 998, 1005, 1014-15 (9 Cir. 2004) (rejecting
the claim that State Farm established a rule that punitive damages may not exceed a
1-to-1 ratio to compensatory damages, and affirming an award with a 2.6-to-1 ratio
even though compensatory damages exceeded $2 million); Myers v. Central Florida
Investments, 592 F. 3d 1201, 1221-1222 (11" Cir. 2010) (affirming award with
4.89-to-1 ratio, and rejecting argument that any award with a ratio of greater than 1
to 1 is constitutionally suspect, and collecting recent cases affirming awards with
ratios of 100 to 1, 9.2 to 1, 8.3 to 1, and 5.5 to 1); Craig Outdoor Advertising., Inc.
v. Viacom Outdoor, Inc., 528 F. 3d 1001, 1020-21 & n. 9 (8™ Cir. 2008) (affirming
award with 8-to-1 ratio and rejecting the argument that a 4-to-1 ratio is the
constitutional maximum in a commercial case); Action Marine, Inc. v. Cont’]

Carbon, Inc., 481 F. 3d 1302, 1321 (11" Cir. 2007) (affirming punitive damages

 

award with 5-to-1 ratio even though compensatory damages award was $3.2
million).

23. Based on the foregoing, this matter is a civil action in which the
amount in controversy exceeds the sum of $75,000, exclusive of interest and costs,
thus meeting the requirements of 28 U.S.C. § 1332.
Ill. REMOVAL IS TIMELY PURSUANT TO 28 U.S.C. § 1446(b).

24. In cases where removability appears on the face of the complaint, a
notice of removal must be filed “within 30 days after the receipt by the defendant,
through service or otherwise” of the initial pleading from which removability can be

ascertained. 28 U.S.C. § 1446(b)(1). This removal notice if timely because Allstate

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SMRH-424112516.1 DEFENDANT ALLSTATE INDEMNITY COMPANY’S

 

 

 

NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 88 1441(b). 14464
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removed this action on June 2, 2014 within 30 days from being served with a copy
of the Summons and Complaint. |

25. Copies of additional documents that have been filed in the state court
case are attached hereto as Exhibit B.

WHEREFORE, Allstate prays that the state court action now pending
against it in the Superior Court for the State of California for the County of Los
Angeles be removed to this United States District Court for the Central District of

California, Central Division.

Dated: June 2, 2014
SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

By s/ Peter H. Klee
PETER H. KLEE

Attorneys for Defendant
ALLSTATE INDEMNITY COMPANY

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SMRH-424112516.1 DEFENDANT ALLSTATE INDEMNITY COMPANY’S
NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. 86 1441(b). 1446

 

 

 
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EXHIBIT A
THE HOMAMPOUR LAW FIRM
A PROFESSIONAL LAW CORPORATION
$5303 VENTURA BOULEVARD - SUITE 1000 |

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Attorneys for Plaintiffs CARLOS MADRIGAL, RICHARD TANG and ANNA TANG

Sheni R. Carter, Executive Oificar/Clerk
By Myrna Beltran, Deputy

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT

/ BC542968, r
CARLOS MADRIGAL, RICHARDTANG, and) CASE NO.: OMpw Wa
ANNA TANG, )
) 1. BREACH OF THE IMPLIED
Plaintiffs, ) COVENANT OF GOOD FAITH AND
) FAIR DEALING
vs. ) .
) 2. BREACH OF CONTRACT

ALLSTATE INSURANCE COMPANY, a)
corporation; TERESA VARELA, an individual;) 3. INTENTIONAL

 

and DOES I through 60, inclusive, ) MISREPRESENTATION
)
Defendants. ) 4. NEGLIGENT
) MISREPRESENTATION
5. INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS; AND

6. DIRECT ACTION AGAINST
INSURANCE CARRIER PURSUANT
TO CODE SECTION 11580

DEMAND FOR JURY TRIAL

Plaintiffs CARLOS MADRIGAL, RICHARD TANG, and ANNA TANG, as for their complaint
against Defendant ALLSTATE INSURANCE COMPANY, TERESA VARELA, and DOES t
through 60, inclusive, allege:

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THE HOMAMPOUR LAW FIRM

A PROFESSIONAL LAW CORPORATION
15303 VENTURA BOULEVARD - SUITE 1000

Case 2:14-cv-04242-SS Documenti1 Filed 06/02/14 Page140f152 Page ID#:14

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GENERAL ALLEGATIONS

1. Plaintiffs are ignorant of the true names and capacities of Defendants sued herein as
DOES 1 through 60, inclusive, and therefore sue these Defendants by such fictitious names. Plaintiffs
will amend this complaint to allege their true names and capacities when ascertained. Plaintiffs are
informed and believe and thereon allege that each of these fictitiously named Defendants are
responsible in some manner for the occurrences herein alleged.

2. Plaintiffs are informed, believe and thereon allege that at all times material herein each
fictitiously named Defendant, was either the true defendant or the agent and employee of each other
Defendant and in doing the things alleged herein, was acting within the scope and purpose of such
agency and with the permission and consent of, and their actions were ratified: by, the other
Defendants.

3. Plaintiff CARLOS MADRIGAL (“MADRIGAL”) is an individual who is now, and at
all times relevant to this complaint, was a resident of the County of Los Angeles.

4. Plaintiff RICHARD TANG is an individual who is now, and at all times relevant to this
complaint, was a resident of the County of Los Angeles.

5. Plaintiff ANNA TANG is an individual who is now, and at all times relevant to this
complaint, was a resident of the County of Los Angeles. RICHARD TANG and ANNA TANG are
and were at al] times relevant to this complaint married.

6. Plaintiffs are informed, believe and thereon allege that Defendant ALLSTATE
INSURANCE COMPANY (“ALLSTATE”) is, and at all times mentioned in this complaint was, a
corporation organized and existing under the laws of the State of Illinois.

7. Plaintiffs are informed, believe and thereon allege that Defendant TERESA VARELA
(“VARELA”) is an individual who is now, and at all times relevant to this complaint, was a resident
of the County of Los Angeles. Plaintiffs are further informed, believe and thereon allege that
Defendant VARELA, was at all times mentioned in this complaint an adjuster for and employee of
Defendant ALLSTATE and who was acting within the scope and purpose of her employment with
ALLSTATE and with the permission and consent of, and their actions were ratified by, the other

Defendants. All of the relevant conduct occurred with the County of Los Angeles.

 

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‘8. At all relevant times, ANNA TANG and RICHARD TANG were insureds under an
automobile insurance policy (Policy Number 9 14 906559 07/28) issued by Defendant ALLSTATE
(“POLICY”). The POLICY provided bodily injury coverage with $100,000 limits per each claimant.
A true and correct copy of an exemplar of the policy as provided by ALLSTATE is attached hereto
as Exhibit “A”. Plaintiffs have not yet been able to verify that this exemplar policy is in fact the full
and complete policy.

9. On or about July 13, 2009, while the coverage under the POLICY was in effect,
Plaintiff MADRIGAL was involved in a motor vehicle accident with RICHARD TANG. Asa result
of the accident, MADRIGAL suffered catastrophic injuries, including paraplegia. RICHARD TANG
was the driver of the vehicle that negligently caused the accident.

10. As a result of the accident, MADRIGAL pursued a claim against RICHARD TANG
which claim was defended by ALLSTATE and assigned claim No. 0143198462.

11. MADRIGAL did not maintain liability insurance at the time of the accident.
Accordingly, RICHARD TANG pursued an Uninsured Motorist claim with ALLSTATE and that
claim was also assigned claim No. 0143198462. .

12. As of September 3, 2009, ALLSTATE confirmed that MADRIGAL was uninsured at
the time of the accident and paid RICHARD TANG his collision deductible under the uninsured
motorist waiver provision of the POLICY. A true and correct copy of that letter is attached hereto as
Exhibit “B”.

13. On September 28, 2009, ALLSTATE’s VARELA sent a letter to MADRIGAL’s:
attorney wherein she confirmed that she knew that MADRIGAL did not have liability insurance at
the time of the incident. VARELA specifically noted that RICHARD TANG’s “attorney is pursuing
an uninsured motorist claim. In the event your client has a valid liability policy, kindly forward the
appropriate information.” A true and correct copy of that letter is attached hereto as Exhibit “C”.

14. On September 29, 2009, MADRIGAL’s attorney faxed MADRIGAL’s medical
records to ALLSTATE confirming that MADRIGAL was rendered paralyzed in the subject accident
with ALLSTATE’s insured RICHARD TANG. A true and correct copy of that cover letter is attached

hereto as Exhibit “D”.

 

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15. On January 15, 2010, MADRIGAL’s attorney faxed and mailed to ALLSTATE’s
VARELA a letter offering to settle MADRIGAL’s claims against RICHARD TANG for TANG’s
$100,000 in policy limits with ALLSTATE (“POLICY LIMITS OFFER”). The letter outlined why
RICHARD TANG was responsible for the accident and how MADRIGAL’s damages far exceeded
the $100,000 in policy limits because MADRIGAL suffered life-altering injuries as a result of the
subject accident, was confinéd to a wheelchair and may never walk again. A true and correct copy is
attached hereto as Exhibit “E”.

16. The POLICY LIMITS OFFER outlined various reasonable conditions of acceptance:

a. that ALLSTATE timely deliver legible copies of all available liability insurance
policies maintained by RICHARD TANG;

b. that ALLSTATE timely deliver the appropriate release of all claims forms;

c. that ALLSTATE timely deliver a declaration under penalty of perjury, signed by
RICHARD TANG, stating that no other liability insurance policies exist for the subject accident
(including an umbrella policy), that RICHARD TANG, the driver of the vehicle, was not in the course
and scope of employment, and an asset sheet of all assets or lack thereof: and

d. that ALLSTATE deliver a settlement draft equal to the amount of all liability
insurance policy limits along with a certified copy of the policy revealing the limits.

17. The POLICY LIMITS OFFER also provided that the terms of the offer expired within
30 days from the date of the policy limit demand or February 15, 2010, that the failure to completely
perform all conditions stated above at or within 30 days from the date of the letter would be deemed
a rejection and that any counter offers would be rejected.

18. On January 21, 2010, ALLSTATE (and VARELA) obtained a statement from an
eyewitness to the accident, Fidel Avendano (“AVENDANO”). AVENDANO confirmed that
RICHARD TANG tumed from the center lane into the driveway cutting off MADRIGAL who is
the curb lane (lane no. 2), that he did not know the speed of MADRIGAL, that RICHARD TANG
was at fault for the accident and that MADRIGAL was not at fault.

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19. By way of letter on January 29, 2010 to MADRIGAL’s attorney and copied to
RICHARD and ANNA TANG, ALLSTATE, by and through VARELA, represented that it would
accept the POLICY LIMITS OFFER but it did not perform all of the conditions necessary for actual
acceptance. A true and correct copy of the letter is attached hereto as Exhibit “F”.

20. As of January 29, 2010, RICHARD and ANNA TANG relied on the representation by
ALLSTATE, by and through VARELA, that ALLSTATE was going to pay and satisfy the conditions
of the POLICY LIMITS OFFER. RICHARD TANG agreed to perform all of the conditions required
of him under the POLICY LIMITS OFFER. The only conditions left to be performed were to be
performed by ALLSTATE. Had ALLSTATE performed the conditions and not rejected the POLICY
LIMITS OFFER, MADRIGAL's claim against RICHARD TANG would have been satisfied in full.
RICHARD TANG would have had no liability to MADRIGAL whatsoever, and consequently
RICHARD TANG would owe MADRIGAL no money.

21. On February 4, 2010, ALLSTATE, by and through VARELA, faxed a letter to
MADRIGAL’s attorney where it advised that it “must withdraw our offer immediately”, where it
rejected the POLICY LIMITS OFFER and made a counter offer of $34,398.00. ALLSTATE, by and
through VARELA, then falsely claimed that when it sent its January 29, 2010 letter representing that
it would accept the POLICY LIMITS OFFER it did so “with the consideration that [Madrigal] had
proof of liability insurance.” This claim was knowingly false because ALLSTATE (and VARELA) |-
knew as of, at least, September 2009 that MADRIGAL was uninsured. By operation of law and the
terms ofthe POLICY LIMITS OFFER, ALLSTATE’ s counter offer terminated the POLICY LIMITS
OFFER such that ALLSTATE did not accept the offer and could not later attempt to accept it.
ALLSTATE’s February 4, 2010 letter also confirmed that it was a rejection. A true and correct copy
of the letter is attached hereto as Exhibit “G”. |

22. Despite copying the TANGS on all other communications and otherwise keeping them
apprised by phone of all claim developments, ALLSTATE (and VARELA) deliberately did not copy
RICHARD TANG and ANNA TANG on the February 4, 2010 fax and did not give them any notice
that it was going to reject the POLICY LIMITS OFFER. Had the TANGS been notified of
ALLSTATE’s (and VARELA’s) intentions they would have made sure that ALLSTATE followed

 

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through on its representations. They would have pointed out (or hired an attorney to point out) to
ALLSTATE (and VARELA) that ALLSTATE (and VARELA) already knew MADRIGAL was
uninsured when it represented that it would pay and satisfy the conditions of the POLICY LIMITS
OFFER. The TANGS would have pointed out that it was per se unreasonable for ALLSTATE (and
VARELA) to take a position that it would not pay a $100,000 policy limits demand because the
claimant was uninsured as the special damages (past and future medical expenses and past and future
loss of earnings) recoverable for a claimant paralyzed in an accident would be in the millions.

23. Asa result of its February 4, 2010 letter, ALLSTATE (and VARELA) failed to accept
MADRIGAL’s reasonable settlement demand and exposed its insureds RICHARD TANGand ANNA
TANG to ajudgment that would financially decimate them. Further, ALLSTATE’s (and VARELA’s)
knowingly false claim that it could reject the POLICY LIMITS OFFER because it just learned
MADRIGAL was uninsured and its decision to not let the TANGs know that it intended to reject the
POLICY LIMITS OFFER was extreme and outrageous conduct directed at the insured TANGS.
ALLSTATE?’s (and VARELA’s) conduct was done with the reckless disregard of the probability that
it would cause the TANGS severe emotional distress because they would be financially decimated.
In the context of a claim that could have been settled for their $100,000 in policy limits but where a
judgment could easily be in the millions of dollars, ALLSTATE’s (and VARELA’s) conduct in
falsely claiming a basis to not pay the POLICY LIMITS demand and in deliberately not notifying the
TANGS so that they could protect themselves was so extreme as to exceed all bounds of that usually
tolerated in a civilized community.

24, CARLOS MADRIGAL filed suit against RICHARD TANG on September 17, 2010.

25, The matter proceeded to jury trial resulting in a verdict rendered on October 4, 2012
in favor of MADRIGAL and against RICHARD TANG. Judgment was entered in favor of
MADRIGAL against RICHARD TANG for $10,680,651.80 on October 4, 2012. Daily interest
accrues on the judgment in the approximate amount of $2,926.21. A true and correct copy of the
notice of entry of judgment and judgment is attached hereto as Exhibit “H”. A true and correct copy

of the order awarding Plaintiff's costs and interest is attached hereto as Exhibit “I.”

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26. RICHARD TANG appealed the judgment. On April 2, 2014 the Court of Appeal
denied the appeal and affirmed the judgment in full plus awarded MADRIGAL costs.

27. After the judgment, CARLOS MADRIGAL entered into an Assignment of Rights
agreement with RICHARD TANG and ANNA TANG, whereby CARLOS MADRIGAL agreed not
to execute the ultimate judgment rendered against RICHARD TANG and, in return, RICHARD
TANG and ANNA TANG assigned to CARLOS MADRIGAL all assignable rights he had or may
have acquired against ALLSTATE INSURANCE, except for emotional distress and punitive
damages. Plaintiff CARLOS MADRIGAL brings this case against ALLSTATE under that
assignment.

28. As a result of ALLSTATE?’s failure to protect the interests of its insureds by failing to
accept MADRIGAL’s reasonable settlement demand within the policy limits, RICHARD TANG and
ANNA TANG sue for those damages which are non-assignable as'a matter of law, including

emotional distress and punitive damages.

FIRST CAUSE OF ACTION
(By Plaintiffs CARLOS MADRIGAL, RICHARD TANG, AND ANNA TANG
for Breach of the Implied Covenant of Good Faith and Fair Dealing Against
ALLSTATE INSURANCE COMPANY and DOES 1 through 10, inclusive )

29. Plaintiffs repeat, reallege and incorporate herein by this reference all prior allegations.

30. Implied within the POLICY (Exhibit "A") was a provision of good faith and fair
dealing, which required that neither party do anything that would injure the rights of any other party
to receive the benefits for which the POLICY was contracted.

31. By virtue of the conduct previously alleged in this Complaint and incorporated herein
by reference, Defendant ALLSTATE and Does 1 through 10, inclusive, and each of them, breached
the implied covenant of good faith and fair dealing, as contained in the POLICY.

32. Plaintiffs are informed, believe and thereon allege that the insured, RICHARD TANG,
had performed all the terms and conditions of the policy to be performed.

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33. As a proximate result of the aforementioned unreasonable and bad faith conduct of
defendants ALLSTATE INSURANCE COMPANY, and DOES 1 through 10, and each of them,
Plaintiffs RICHARD TANG and ANNA TANG have suffered damages in the amount of the entire
judgment plus interest and costs, and will continue to suffer in the future damages, plus interest and
other economic and consequential damages, for a total amount to be shown at the time of trial.

34, As a proximate result of aforementioned wrongful conduct of defendants, Plaintiff
CARLOS MADRIGAL was compelled to retain legal counsel to obtain the benefits due under the
POLICY. Therefore, Defendants are liable to Plaintiff CARLOS MADRIGAL for those attorneys’
fees reasonably necessary and incurred by Plaintiff CARLOS MADRIGAL in order to obtain benefits
under the POLICY in a sum to be determined at the time of trial.

35. Asa further proximate result of the Defendants' breach of the implied covenant of good
faith and fair dealing and the failure to accept a reasonable settlement offer within policy limits, a
judgment has been entered against RICHARD TANG. Such a judgment adversely affected
RICHARD TANG's credit rating and has caused economic damages.

36. Asa further proximate result of the Defendants' breach of the implied covenant of good
faith and fair dealing and the failure to accept a reasonable settlement offer within policy limits,
RICHARD TANG and ANNA TANG were required to lose time off work, and suffered economic
damages as a result of being required to attend trial.

37. In addition, as a direct and proximate result of the conduct of Defendants as aforesaid,
it became reasonably necessary for RICHARD TANG and ANNA TANG to engage the services of
legal counsel and thereby incur, and continue to incur, costs and attorneys’ fees in an amount to be
determined according to proof. RICHARD TANG and ANNA TANG claim these attorneys’ fees as
a distinct item of recoverable damage, pursuant to Brandi v. Superior Court (1985) 37 Cal. App.3d
813, 210 Cal.Rptr. 211 and Cassim v. Allstate (2004) 33 Cal. 4th 780.

38. - Asa further proximate result of the aforementioned wrongful conduct of Defendants,
Plaintiffs RICHARD TANG and ANNA TANG, insured under the POLICY, who were named
defendants in the underlying action and had a judgment entered against then have suffered anxiety,

worry, mental, and severe emotional distress, all to their general damages in a sum to be determined

 

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at the time of trial. Plaintiffs RICHARD TANG and ANNA TANG's emotional distress damages are
not assignable, and they individual sue Defendants for such damages as a result of their bad faith
conduct.

39. Defendants’ conduct described herein was intended by defendants to cause injury to
Plaintiffs or was despicable conduct carried on by Defendants with a willful and conscious disregard
of the rights of Plaintiffs, subjected Plaintiffs to cruel and unjust hardship in conscious disregard of
Plaintiffs' rights, or was an intentional misrepresentation, deceit, or concealment of a material fact
known to Defendants with the intention to deprive Plaintiffs of property or legal rights or to otherwise
cause injury, such as to constitute malice, oppression or fraud under California Civil Code §3294,
thereby entitling Plaintiffs to punitive damages in an amount appropriate to punish or set an example
of defendants. Plaintiffs RICHARD TANG and ANNA TANG’s claim for punitive and exemplary
damages are not assignable and Plaintiffs RICHARD TANG and ANNA TANG sues defendants for
such damages as a result of their malicious, oppressive and/or fraudulent conduct.

40, Defendants’ conduct described herein was undertaken by its corporate officers or
managing agents who were responsible for claims supervision and operations, underwriting,
communications, and/or decisions. The aforementioned conduct of said managing agents and
individuals was therefore undertaken on behalf of the corporate defendants. Said corporate
defendants further had advance knowledge of the actions and conduct of these individuals whose
actions and conduct were ratified (and subsequently ratified), authorized, and approved by managing

agents whose precise identities are unknown to plaintiffs at this time.

SECOND CAUSE OF ACTION
(By Plaintiff CARLOS MADRIGAL For Breach of Contract Against
ALLSTATE INSURANCE COMPANY and DOES II through 20, inclusive )
4]. Plaintiffs repeat, reallege and incorporate herein by this reference all prior allegations.
42. Defendants ALLSTATE and DOES 11 through 20, inclusive, and each of them,
breached the terms of the POLICY by engaging in the acts and omissions detailed above ad by failing

to provide benefits Plaintiffs were entitled to under the POLICY.

 

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43. Plaintiff RICHARD TANG has assigned his breach of contract rights, and the right to
recover such damages to Plaintiff CARLOS MADRIGAL in exchange for a covenant not to execute.
44, As a direct and proximate result of Defendants’ conduct and breach of contractual
obligations, Plaintiff CARLOS MADRIGAL as assignee has suffered damages under the POLICY

in an amount to be determined according to proof at the time of trial.

THIRD CAUSE OF ACTION
(By Plaintiffs RICHARD TANG and ANNA TANG
For Intentional Misrepresentation Against ALLSTATE INSURANCE COMPANY,
TERESA VARELA and DOES 21 through 30, inclusive )

45, Plaintiffs repeat, reallege and incorporate herein by this reference all prior allegations.

46. Defendants ALLSTATE, VARELA and Does 21 through 30, inclusive, and each of
them represented to Plaintiffs RICHARD TANG and ANNA TANG that ALLSTATE would accept
the POLICY LIMITS OFFER. That representation was false and Defendants knew that the
representation was false when it was made or Defendants made the representation recklessly and
without regard for its truth.

47. Defendants intended that Plaintiffs RICHARD TANG and ANNA TANG rely on the
representation.

48. Plaintiffs RICHARD TANG and ANNA TANG reasonably relied on Defendants’
representation. ,

49. Plaintiffs RICHARD TANG and ANNA TANG were harmed and their reliance on
Defendants’ misrepresentation was a substantial factor in causing Plaintiffs’ harm.

50. As a result of relying on Defendants’ misrepresentation, Plaintiff RICHARD TANG
was damaged by the judgment entered against him for $10,680,651.80 on October 4, 2012. Such a
judgment adversely affected RICHARD TANG's credit rating and has caused economic damages.

51. Asa further proximate result of Defendants’ misrepresentation, RICHARD TANG and

ANNA TANG were required to lose time off work, and suffered economic damages as a result of

being required to attend trial.

 

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52. As a further proximate result of Defendants’ misrepresentation, Plaintiffs RICHARD
TANG and ANNA TANG because of the lawsuit against RICHARD TANG suffered anxiety, worry,
mental, and severe emotional distress, all to their general damages in a sum to be determined at the
time of trial.

53. Defendants’ conduct described herein was intended by defendants to cause injury to
Plaintiffs or was despicable condict carried on by Defendants with a willful and conscious disregard
of the rights of Plaintiffs, subjected Plaintiffs to cruel and unjust hardship in conscious disregard of
Plaintiffs' rights, or was an intentional misrepresentation, deceit, or concealment of a material fact
known to Defendants with the intention to deprive Plaintiffs of property or legal rights or to otherwise
cause injury, such as to constitute malice, oppression or fraud under California Civil Code §3294,
thereby entitling Plaintiffs to punitive damages in an amount appropriate to punish or set an example
of defendants.

54, Defendants’ conduct described herein was undertaken by its corporate officers or
managing agents who were responsible for claims supervision and operations, underwriting,
communications, and/or decisions. The aforementioned conduct of said managing agents and
individuals was therefore undertaken on behalf of the corporate defendants. Said corporate
defendants further had advance knowledge of the actions and conduct of these individuals whose
actions and conduct were ratified (and subsequently ratified), authorized, and approved by managing

agents whose precise identities are unknown to plaintiffs at this time.

FOURTH CAUSE OF ACTION
(By Plaintiffs RICHARD TANG and ANNA TANG
For Negligent Misrepresentation Against ALLSTATE INSURANCE COMPANY,
TERESA VARELA and DOES 31 through 40, inclusive )

55. Plaintiffs repeat, reallege and incorporate herein by this reference all prior allegations.

56. Defendants ALLSTATE, VARELA and Does 21 through 30, inclusive, and each of
them represented to Plaintiffs RICHARD TANG and ANNA TANG that ALLSTATE would accept
the POLICY LIMITS OFFER. That representation was not true and Defendants knew that the

 

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representation was false when it was made or Defendants made the representation recklessly and
without regard for its truth had no reasonable grounds for believing the representation was true when
it was made.

57, Defendants intended that Plaintiffs RICHARD TANG and ANNA TANG rely on the
representation. .

58. Plaintiffs RICHARD TANG and ANNA TANG reasonably relied on Defendants’
representation.

59. Plaintiffs RICHARD TANG and ANNA TANG were harmed and their reliance on
Defendants’ misrepresentation was a substantial factor in causing Plaintiffs’ harm.

60. As a result of relying on Defendants’ misrepresentation, Plaintiff RICHARD TANG
was damaged by the judgment entered against him for $10,680,651.80 on October 4, 2012. Such a
judgment adversely affected RICHARD TANG's credit rating and has caused economic damages.

61. As a further proximate result of Defendants’ misrepresentation, RICHARD TANG and
ANNA TANG were required to lose time off work, and suffered economic damages as a result of
being required to attend trial.

62. As a further proximate result of Defendants’ misrepresentation, Plaintiffs RICHARD |
TANG and ANNA TANG because of the lawsuit against RICHARD TANG suffered anxiety, worry,
mental, and severe emotional distress, all to their general damages in a sum to be determined at the

time of trial.

FIFTH CAUSE OF ACTION
(By Plaintiffs RICHARD TANG, and ANNA TANG
For Intentional Infliction of Emotional Distress Against
ALLSTATE INSURANCE COMPANY,
TERESA VARELA and DOES 41.through 50, inclusive )
63. Plaintiffs repeat, reallege and incorporate herein by this reference all prior allegations.

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64. As detailed in Paragraphs 18 - 22, the conduct of Defendants ALLSTATE, VARELA,
and DOES 41 through 50, inclusive, and each of them and their knowingly false claim that it could
reject the POLICY LIMITS OFFER because it just learned MADRIGAL was uninsured and its

decision to not let the TANGs know that it intended to reject the POLICY LIMITS OFFER was

extreme and outrageous conduct directed at the insured TANGS. ALLSTATE’s (and VARELA’s)
conduct was done with the reckless disregard of the probability that it would cause the TANGS severe
emotional distress because they would be financially decimated. In the context of a claim that could
have been settled for their $100,000 in policy limits but where a judgment could easily be in the
millions of dollars, ALLSTATE’s (and VARELA’s) conduct in falsely claiming a basis to not pay
the POLICY LIMITS demand and in deliberately not notifying the TANGS so that they could protect
themselves was so extreme as to exceed all bounds of that usually tolerated in a civilized community.

65. As a proximate result of Defendants’ conduct, Plaintiffs RICHARD TANG and ANNA
TANG severe emotional distress, all to their general damages in a sum to be determined at the time
of trial.

66. Defendants’ conduct described herein was intended by defendants to cause injury to
Plaintiffs or was despicable conduct carried on by Defendants with a willful and conscious disregard
of the rights of Plaintiffs, subjected Plaintiffs to cruel and unjust hardship in conscious disregard of
Plaintiffs’ rights, or was an intentional misrepresentation, deceit, or concealment of a material fact
known to Defendants with the intention to deprive Plaintiffs of property or legal rights or to otherwise
cause injury, such as to constitute malice, oppression or fraud under California Civil Code §3294,
thereby entitling Plaintiffs to punitive damages in an amount appropriate to punish or set an example
of defendants.

67. Defendants’ conduct described herein was undertaken by its corporate officers or
managing agents who were responsible for claims supervision and operations, underwriting,
communications, and/or decisions. The aforementioned conduct of said managing agents and
individuals was therefore undertaken on behalf of the corporate defendants. Said corporate
defendants further had advance knowledge of the actions and conduct of these individuals whose

actions and conduct were ratified (and subsequently ratified), authorized, and approved by managing

 

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THE HOMAMPOUR LAW FIRM

A PROFESSIONAL LAW CORPORATION
15303 VENTURA BOULEVARD - SUITE 1000

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SRERMAN OAKS CALIFORNIA 91403
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agents whose precise identities are unknown to plaintiffs at this time.

SIXTH CAUSE OF ACTION
(By Plaintiff CARLOS MADRIGAL For Direct Action Against Insurance Carrier Pursuant
to Insurance Code Section 11580 Against ALLSTATE INSURANCE COMPANY, and
DOES 51 through 60, inclusive )
68. Plaintiff repeats, realleges and incorporates herein by this reference all prior allegations.
69. By virtue of his assignment and judgment against RICHARD TANG, Plaintiff
CARLOS MADRIGAL is entitled to all benefits due under the POLICY, including costs and interest
assessed in the underlying action.
REQUEST FOR JURY TRIAL
70. Plaintiffs hereby requests a trial by jury on all claims for relief alleged in, and on all
issues raised by, this Complaint.

WHEREFORE, Plaintiffs pray for judgment against the Defendants, and each of them, as follows:

1, For payment of the $10,680,651.80 judgment plus all accrued interest and costs on the
judgment;

2. For general and special damages in an amount within the jurisdictional limits of this
court;

3. For all benefits (including costs and interest assessed against RICHARD TANG) due
under the POLICY:

4, For costs of suit incurred herein;

5. For prejudgment interest according to proof;

6. For punitive damages as to the first, third and fifth causes of action; and
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THE HOMAMPOUR LAW FIRM

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event,
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For such other and further relief as the Court may deem just and proper.

 

Dated: April 17, 2014 THE HOMAMPOUR LAW FIRM
A Professional Layf Corpofation

By:

 

Arash Homantpoér, Attorneys for Plaintiff
CARLOS MADRIGAL

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Dated: April 17, 2014 a BINDER ASSOCIATES

 

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Warren J. Binder, Attorneys for Plaintiffs
RICHARD TANG and ANNA TANG

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A PROFESSIONAL LAW CORPORATION
15303 VENTURA BOULEVARD - SUITE 1000

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SHERMAN OAKS CALIFORNIA 91.403
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Exhibit A

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Allstate —
Auio Insurance |
Policy © mm.

Policy: {€C{{C(CEEE Effective: ///I/MUIHIMI

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_ Alrstate insurance Lone yi

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The Company Named in the Policy Declarations -
A Stock Company
Home Office: Northbrook, Illinois

General

This policy is a legal contract between you and us.
A coverage applies only when a premium for itis
shown on the Policy Declarations. If more than one
auto is insured, premiums will be shown for each
auto. if you pay the premiums when due and
comply with the policy terms, Allstate, relying on
the information you have given us, makes the
following agreements with you.

When And Where The Policy Applies

Your policy applies only during the policy period.
During this time, it applies to losses to the auto,
accidents and occurrences within the United States
of America, its territories or possessions or
Canada, or between their ports.

The policy period is.shown on the Policy
Declarations. If we offer to renew your policy, you
may continue the policy for a successive policy
period of six months by paying the required
renewal premium payment when due. If the
required renewal premium payment isn’t received
on or before the end of the then current policy
period, your policy will terminate automatically on
the expiration date of the then current policy
period.

Limited Mexico Coverage

For your protection you should purchase Insurance
from a company licensed in Mexico. However, the
coverage of this policy for an insured private
passenger or utility auto is extended to cover that
auto within the Republic of Mexico. This coverage
applies only while the insured auto is within 75
miles of the United States border and only fora
period not to exceed ten days after each separate
entry into the Repubile of Mexico.

iffoss or damage occurs which may require repair
of the insured auto or replacement of any part(s)
while the auto is in Mexican territory, the basis for
adjustment of the claim will be as follows:

The repair or replacement costs will not exceed
the cost of having the repairs or replacements

Allstate Insurance Company |:

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made at the nearest point ‘i the United States
where the repairs or replacements can be made.
The cost for towing, transportation and salvage
operations of the auto while within Mexican
territory are not cavered under this policy.

WARNING

Uniess you have auto insurance written by a
Mexitan insurance company, you may spend many
hours or days in jail if you have an accident in
Mexico. Insurance coverage should be secured
from a company licensed under the laws of Mexico
to write such insurance in order to avoid
complications and possible penalties under the
laws of Mexico, including the impoundment of your

auto.

Changes

Premium Changes

The premium for each auto which Allstate agrees
to insure based on information Allstate has
received from you or other sources. You agree to
cooperate with us in determining if this information
is correct, if itis complete, and if it changes during
the policy period. You agree that if this information
changes or is incorrect or incomplete, wa may
adjust! your premium accordingly during the policy
perio

Coverage Changes

When Allstate broadens a coverage during the
policy period without additional charge, you have
the new feature if you-have the coverage to which
it applies. The new feature applies on the date the
coverage changé is effective in your state.
Otherwise, the policy can be changed only by
endorsement. Any change in your coverage will be
made. using the rules, rates and forms In effect, and
on file if required, for our use in your state.

Duty To Report Policy Changes

. Your policy was issued in reliance on the

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information you provided concerning autos and
persons insured by the policy. To properly insure
your auta, you should promptly notify us when you
change your address or whenever any resident ~
operators insured by your policy are added or
deleted.

eYou must tell us within.30 days when you acquire
arepidéeient auto. slf fod din't, certain coverages

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Part! ; a
Automobile Liability Insurance
Bodily Injury—Coverage AA
Property Damage —

Coverage BB

Alfstate will pay those damages which an Insured
person is legally obligated to pay because of:
1. bodily injury, sustained by any person, and

2. damage to, or destruction of, property.
Under these coverages, your policy protects an.
insured person from liability for damage arising out

of the ownership, maintenance or use, loading or
unloading of an insured auto.

We will defend an Insured person sued for
damages which are covered by this policy even if

counsel. We may settle any claim or suit ifwe

believe itis proper. We will not defend an insured ©

person suéd for damages which are not covered by
this policy.

Additional Payments Allstate Will Make
When we defend an insured person under this Part,
we will pay:

1. up to $50 a day for loss of wages or salary if

we ask that person to attend hearings or trials

to defend against a bodlly injury suit. We
won't pay for loss of other income. We will pay
other reasonable expenses incurred at our
request.

2. court costs for defense.

3. interest accruing on damages awarded. We
will pay this interest only until we have paid,
offered, or deposited in court the amount for
which we are liable under this policy. We will
only pay interest on damages not exceeding
our limits of liability.

4. premiums on appeal bonds and on bonds to
release attachments, but not in excess of our
fimit of liability. We aren’t required to apply for
or furnish these bonds.

We will repay an insured person for:
1. the cost of any bail bonds required due to an
. accident or traffic law violation involving the

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use bf the insured auto. We won't day more :
than $300 per bond. We aren't required to -
apply for or furnish these bonds.

2. any expense incurred for first aid to others at
the time of an auto accident involving the
insured auto. .

Insured Persons

1. While using your insured auto:

Insured Autos
1.

2.

a) you,

b} any resident, and

£} any other person using it with your
permission.

While using a non-owned aute:

a) you,

b) any resident relative using a four wheel
private passenger auto or utility auto.

Any other pérson or organization liable for the
use of an Insured auto if the auto is not owned
or hired by this person or organization,
provided the use is by an Insured person
under 1. or 2. above and then only for that
person's acts or omissions.

Any auto described on the Policy Declarations.
This includes the four wheel private passenger
auto or utflity aufo you replace it with.

An additional four wheel private passenger
alto or utility auto you become the ownér of
during the. policy period will be covered for 30
_ days immediately after you acquire It.
However, we will provide this coverage only if.
Allstate or one of its affiliates insures att other
private passenger autos or ulll{ty autos you
own, and you pay the additional premium.

Coverage willbe continued beyond this 30 day

period only if:

a) you ask ils to continue coverage within 30
days after you acquire the auto or utility
auto; :
we agree to Continue coverage for this

’ additional auto or utility auto;
you pay the additional premium.

b)

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«3. <A substitute four,wheel private passenger auto

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+ résifelit, being témflorarily used while your

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Allstate Insurance Comyrct to

damaye to or destruction df property‘an
insured person owns, transports, is in charge
of, or rents, An auto operated by an insured
person is considered to be property in charge
of an insured person. However, a private
residence or a garage rented by that person is
covered.

7.

8. bodily injury or property damage which may
"reasonably be expected to result from the
intentional or criminat acts of an insured
person or which are in fact intended by an
Insured person.

9. bodily injury or property damage which would -
also be covered under nuclear energy liability
insurance. This applies even if the limits of that
Insurance are exhausted.

Financial Responsibility

When this policy is certified as proof under any
motor vehicle financial responsibility law, this
policy will comply with the provisions of that taw.

Limits Of Liability

The limits shown on the Policy Declarations are the
maximum we will pay forany single auto accident.
The limit stated for each person for bodily injury is
the maximum we will pay for damages because of
bodily Injury sustained by one person In any single
auto accident, including damages sustained by
anyone else as a result of the bodily injury. Subject
to the limit for each person, the limit stated for each
occurrence is the maximum we will pay for
damages for bodily Injury sustained by two or
more persons in any single auto accident. For
property damage, the limit applies to damages
arising from each occurrence.

The liability limits apply to each insured aiita as
shown on the Policy Declarations. The insuring of -
more than one person.or aufo under this policy will
not increase our liability limits beyond the amount
shown for any one auto, even though a separate
premium is charged for each auto. The limits also
won't be increased if you have other auto insurance

policies that apply.

There will be no duplication of payments made

under the Bodily Injdry Liability and Uninsured :

Motorists Coverage of this policy.

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Fyre :

An autojand attactied trailer are consideyed one
auto. Also, an auto anda mounted camper unit,
topper, cap or canopy are considered one auto.

Ifa single “each occurrence” limit is stated on the
Policy Declarations for Automobile Liability
Insurance, this limit will be the maximum amount
of Allstate's liability for both bodily Injury and
property damage arising out of any one
occurrence,

if There Is Other Insurance

- [fan insured person ts using a substitute private

passenger auto or non-owned ailto, our liability
insurance will be excess over other collectible ©
insurance. !f more than one policy applies on a-
primary basis to an accident involving your insured
auto, we will bear aur proportionate share with
other collectible liability insurance.

If more than one policy applies on an excess basis,
we will bear our proportionate share with other
collectible excess liability insurance.

Assistance And Cooperation

When we ask, an insured person must cooperate _ .
with us in the investigation, settlement and defense
of any claim or lawsuit. [f we ask, that person must
also help us obtain payment from anyone who may
be jointly responsible.

We can’t be obligated if an insured person -
voluntarily takes any action or makes any payments
other thar for covered expenses for bail bonds or
first aid to others.

Action Against Allstate
No insured person may sue us under this coverage
unless there is full compliance with all the policy

terms.
If liability has been determined by judgment after .

~ trial, or by written agreement among the insured,

‘the other person, and us, then whoever obtains
this judgment or agreement against an insured
person, may sue us up to the limits of this policy.
However, no one has the right to join us in a suit to
determine legal responsibility.

Bankruptcy or Insolvency

«The bankruptcy or ingqlvency of an insured person
&r fhag persons estgteswgn’ t relieve us of any
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3; "Bodily injury"—means bodily injury,
: sickness, disease or death. °

4. “Resident"—means a person who physically
resides in your household with the intention of
continuing residence there. Your unmarried
dependent children while temporarily away
from home will be considered residents if they
intend to resume residing in your household.

5. “Utility Auto"—means an auta of the pickup
_ body, sedan delivery or pane! truck type. This
auto must have a rated foad capacity of not
more than 2,000 pounds.

"You" or “Your'—means the policyholder
named on the Policy Declarations and that
policyholder’s resident spouse.

Exclusions—What is not covered

This coverage does not apply to bodily injury to:

1. you ora resident relative while in, on, getting
into or out of an aufo you or a resident relative
own but do not insure for this coverage.

2, you or a resident relative while in, on, getting
into or out of, or struck as a pedestrian by: *
a) avehicle operated on rails or ‘
crawler-treads, or
-b) avehicle or other equipment designed for
use off public roads, whife not on publi
roads. :
3. any person while in, on, getting into or: out of:
a) an owned auto while available for hire to
the public. This exclusion does nat apply
to shared-expense car pools.
bh) an auto or trailer while used as a
residence or premises. |
4, any person, other than you or a resident
relative, while using a non-owned auto:
a) which is available for hire by the public,
or
in aute business operations such as
repairing, servicing, testing, washing,
parking, storing or selling of autos.

b)

Coverage is provided for you, your private
chauffeur or domestic servant while using a
private passenger auto or trailer in any other
business or occupation.

y

5. any person resulting frém any act of jar,
insurrection, rebellion, or revolution. -

Limits Of Liability

The limit shown on the.Policy Declarations is the
maximum we will pay for all expenses incurred by
or for each person as the result of any one auto
accident. .

The medical payments limit applies to each insured

- auto as shown on the Policy Declarations. The

insuring of more than one person or auto under
this policy won’t Increase our Ilmit beyond the
amaunt shown for any one auta, even though a
separate premium is charged for each aula. The
limit also won't be increased if you have other auto
insurance policies that apply.

lfan insured person diés as the result of acovered
auto accident, we will pay the least of the following
as a funeral service expenses benefit:

1. $2,000; or .

2. the Coverage CC {limit of liability stated on the
Policy Declarations; or

the remaining portion of the Coverage CC limit
of liability not expended for other covered
medical expenses. ‘ .

3.

This funeral service expenses benefit does not
increase, and will not be paid in addition to, the
limits of liability stated on the Policy Declarations
for Coverage CC. This benefit is payable to the
deceased insured person’s spouse if a resident of
the same hausehold at the time of the accident.
However, if the deceased is a minor, the benefit is
payable to either parent if that parent is a resident
of the same household at the time of the accident.
In all-other cases, the benefit is payable to the
deceased insured person’s estate. ,

There will be no duplication of payments made
under the Bodily Injury Liability and Automobile
Medical Payments coverages of this policy. All
payments made to or on behalf of any person
under this coverage will be considered as advance
sayments, to that person. The damages payable

2 under the Bodify InjgrysLigbifity coverage of this
‘ Policy wid bb eed uces*fy ghaf-amount.

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Allstate, Insurance Compt.

Deducti ble i
If there is no primary medica! plan covering you
and resident relatives in effect on the date of the
accident, Allstate will pay anly when covered
expenses for you or a resident relative exceed
$2,000. We will then pay only the excess amount.
This deductible applies to each person. This.
Paragraph does not apply if coverage under the
primary medical plan terminates within 30 days

prior to the.loss.

This deductible does not apply to funeral service
expenses.

Insured Persons .

1. Vou and any resident relative who sustains
bodily injury while in, on, getting into or out
of, or when struck by, an auto or trailer. The
use of a non-owned aute must be with the
owner’s permission.

2. Any other persen who sustains bodily injury
while in, on, getting into or out of

‘ a) your insured aute while being used by
you, a résident relative, or any other
person with your permission. -
a non-owned auto if the injury results
from your operation or occupancy.
a non-owned auto if the injury results
fram the operation on your behalf by your
private chauffeur or domestic servant.
a non-owned private passenger atito or
trailer if the injury results from the
operation or occupancy by a restdent
relative.

b)

6)

d)

The use of non-owned autos must be with the
owner's permission.

Insured Autos

1. Any auto described on the Policy Declarations.
This includes the four wheel private passenger
auto or utilily auto you replace it with.

2. Af additional four wheel private passenger
auto or utility auto you acquire ownership of
during the palicy period will be covered for 30
days immediately after you become the owner.
However, we will provide this coverage only if
Allstate or one of its affiliates insure all other
private passenger autos or ulility autos you
own, and you pay the additional premium.

Coverage wii be continued beyond this 30 dey
period only if:

a) you ask us to continue coverage within 30
days after you acquire the aute or ufflity
auto;

we agree to continue coverage far this
,additiqnal auto or utility auta;

you pay the additional premium.

)
“ey

A substitute four wheel private passenger auto
or uliflty auto, not owned by you ora
resident, temporarily used while your insured
auto is being serviced or repaired, or if your
insured aute is stolen or destroyed.

“

4. Anon-owned aute having not less than four
wheels used with the owner’s permission. This
auto must not be available for the regular use
ofan insured person.

5. Atrailer while attached to an insured auto. The
trailer must be designed for use with a private
passenger auto or utility auto. This trailer
can't be used for business purposes with other
than a private passenger auto or utllity auto.

Definitions
"Allstate", “We", “Us", or "Our’—means the

company as indicated on the Policy
Declarations.

2. “Auto"—means a land motor vehicle designed

for use on public reads.

3. "Bodily Injury"—means bodily injury,
sickness, disease or death.

4, "Primary Medical Plan"—means individual,
blanket or group accident disability, health,
major medical or hospitalization insurance or
a health maintenance organization which
covers expenses ona primary basis for
treatment, services and products required due
to a bodily injury caused by an auto accident.
The Federal Medicare program is not a primary
medical plan.

5. “Resident"—means a person who physically
resides in your household with the intention of
continuing residence there. Your unmartied
fependenj children while temporarily away

* frpny home willbescorisidered residents if they
» ltegd tg yesunje festdifa in your household.

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if the insured person is sued by a medical services
provider because we refuse to pay contested
medical expenses, we will pay all defense costs and
any resulting judgment against the insured person.
We will choose the counsel. The insured person
must cooperate with us in the defense of any claim
or lawsuit. If we ask the insured person to attend
hearings or trials, we will pay up to $50 per day for
lost wages or salary. We will also pay other
reasonable expenses Incurred at our réquest.

If There Js Other Automobile Medical
Insurance

When this coverage applies to a substitute auto or
anon-owned auto, Allstate will pay only after all
other collectible auto medical insurance has been
exhausted.

When this coverage applies to a replacement auto
or additional auto, this policy will nat apply ifyou
have other collectible auto medicat insurance.

When this coverage applies to an owned auto
insured by an affiliate of Allstate or any other
insurer, Allstate will pay only after all other
coffectible auto medical insurance has beer

exhausted.

Assistance and Cooperation

When we ask, an insured person must cooperate
with us in the investigation, settlement and defense_
of any claim or lawsuit. ff we ask, that person must
also help us obtain payment from anyone whe may

be jointly responsible.

We can’t be obligated if an insured person
voluntarily takes any action or makes any payments
other than for covered expenses for first aid to

others.

Action Against Allstate
No one may sue us under this coverage unless
there fs full compliance with all the policy terms.

Proof of Claim; Medical Reports

As soon as possible, any person making claim
must give us written proof of claim. It must include
all detatis we may need to determine the amounts
payable. We may alsp require any person making
claim to submit to questioning under oath and sign

the transcript.

The injured person may be required to take medical
examinations by physicians we choose, as often as

3.

So

we reasonably fequite. We must be given
authorization te obtain medical reports and other
records pertinent to the clalm.

Part IV
Automobile Death Indeninity
Insurance

Coverage CM .

Allstate will pay the benefit shown on the Policy
Declarations if an insured person dies as the direct
result of bodily Injury caused by an auto accident.
The injury must be sustained'while thé insured
person is in, on, getting into or out of, or when
struck as a pedestrian by an auta, trailer or
semi-traifer.

Benefits will be paid only if:.
death occurs within 90 days of
accident; or

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the auta

death occurs within 1 year of the auto accident

and the bodily injury has continuously
prevented the insured person from performing

all duties pertaining to that person's
occupation.

Insured Persons
The person or persons shown as insured on the

Policy Declarations under Coverage CM.

Definitions
1. "Allstate", "We", or “Us*—means the

company as indicated on the Policy
Declarations. .

"Auto" — means a land motor vehicle designed
for use on public roads,

"Bodily {njury"—means bodily injury, sickness
or disease.

Exclusions—What is not covered
This coverage does not apply to death:
sustained in the course of an occupation by

1.
any person while: _
. a) operating, loading, unloading, assisting
on, or performing any other duties related
« « 0 the use of acommercial auto, or an
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Allstate.Insurance Com,

b) repairing of Servicing autos, including
any related duties.

2. due to any attempt at suicide while sane or

insane.

3. due to any act of war, insurrection, rebellion
or revolution,

4. sustained while in, on, getting into or out of,
or when struck as a pedestrian. by

a) avehicle operated on rails or
crawler-treads;

b) a vehicle or other equipment designed for
use Off public roads, while not on public
roads; or

t) avehicle when used aS a residence or
premises.

To Whom And When Payment Is Made
Weekly benefits are payable to the disabled insured
person. Accrued weekly benefits are payable every
four weeks. Any remaining balance is payable at,
termination of the disability period. Benefits end
upon the death of the insured person.

Proof Of Claim; Medical Reports
As soon as possible, any person making claim
must give us written proof of claim.

The injured person may be required to take medical
examinations by physicians we choose, as often as
we reasonably require. We must be given
authorization to obtain medicat reports and copies
of records.

Part VI

Uninsured Motorists Insurance

Coverage SS

We will pay those damages that an insured person

is legally entitled to recover from the owner or

operator of an uninsured auto because of:

1. bodily injury sustained by an insured person,
and properly damage.

2. Property damage is covered only if a separate
limit is shown on the Poticy Declarations for.
Uninsured Motorists Insurance—Property
Damage.

: The bodily injury or property damage must be

caused by accident and arise-out of the ownership,
maintenance ar use of an uninsured auto. We will
not pay any punitive or exemplary damages.

The right to benefits and the amount payable will

be decided’ by agreement between the insured

person and Allstate. \f an agreement can't be

reached, the decision will be made by arbitration. .

(f an insured person sues a person believed
responsible for the accident without our written
consent, we aren’t bound by any resulting
judgment.

insured Persons
1. You and any resident relative.

2, Any other person while In, on, getting into or
out of an insured auto with your permission.

3. Any other person who is fegally entitled to
recover because of bodily injury to you, a
resident relative, or an occupant of your

« insured auto with your permission.

An insured auto is a motor vehicle:
1. described on the Policy Declarations. This
includes the motor vehicle you replace ft with.

2. you become the owner of during the premium
period. This additional motor vehicte will be
covered for 30 days Immediately after you
become the owner. However, we will provide .
this coverage only if Allstate or one ofits
affiliates insure all other private passenger
motor vehicles you own, and you pay the
additional premium. Coverage will be
continued beyond this 30 day period only if:
a) you ask us to continue coverage within-30

days after you acquire the moter vehicle;
b) - we agree to continue coverage for this
additional motor vehicle:
c) you pay the additional premium.

3. not owned by you or a resident relative if

being temporarily used while your insured
auto is being serviced or repaired, or if your
insured auto Is stolen or destroyed. The matar
vehicle smusgbe uged withthe Owner's

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Exclusions—What is not covered
Allstate will not pay any damages an insured
" person is legally entitled to recover because of:
1. bodily Injury or property damage to any
person who makes a settlement without our
written consent. ,

- 2. bodily injury or property damage sustained
while in, on, getting into or out of or when
struck by an uninsured motor vehlele which is
owned by you ora resident relative.

3. bodily Injury or property damage sustained
while in, on, getting into or out of a vehicle you
own which Is owned by you or a resident
relative which is Insured for this coverage
under another policy.

4. bodily Infury or property damage, if the
payment would directiy or indirectly benefit
any workers compensation or disability
benefits insurer, including a self-insurer, or
directly benefit the United States, or any state
or political subdivision.

Limits Of Liability
1. The coverage limit shown on the Policy

Declarations for:

“- a) "each person” is the maximum that we will
pay for damages arising out of bodily
Injury to one person in any one motor
vehicie accident, including all damages
sustained by anyone else as a result of
that bodily injury.

b) “each accident" is the maximum that we
will pay for damages arising out of bodily
injury to two or more persons in any one
motor vehicle accident. This limit is
subject to the limit for “each person’.

“e) “each accident" is the maximum that we
will pay for property damage arising out
of any one motor vehicle accident.

“Subject to this limit, our limit of liability for

properly damage will be the lessor of:

1) the actual cash value of the insured
auto; or

2) . the amount necessary to repair or
replace the insured auto.

2: These limits are the maximuin Allstate willpay |;

for any one motor vehicié accident regardless -

_of the number of:

a) - claims made;

h) vehicles or persons shown on the Policy
Declarations; or

£) vehicles involved in the accident.

The Uninsured Motorists Coverage limits
apply to each insured motor vehicle as
shown on the Policy Declarations.

The fimits for Coverage SS will be reduced by
all amounts paid by or on behalf of the owner
or operator of the underinsured motor
vehicle. —~

We are not obligated to make any payment for
hodily injury under this coverage which arises -
out of the use of an underinsured motor
vehicle until after the limits of liability for all
liability protection in effect and applicable at

the time of the accident have been exhausted

_ by payment of judgments or settlements.

Any loss payable under Coverage SS will be

reduced by: ,

a) allamounts payable under the bodily
Injury liability coverage provided by this
policy.

b) aljamounts payable under any workers
compensation faw.

Subject to the limits of liability, damages
payable will be reduced by any amount paid or
due under this or any other automobile policy
for; -

a) medical payments coverage; or —

bh) coordinated medical payments coverage;

or
ct) any similar medica! payments Insurance.

If There Is Other Insurance

lf the Insured person was in, on, getting into or out
of a vehicle yeu do not own which is insured for
this coverage under another policy, this coverage
will be excess. This means.that when the insured
person is legally entitled to recover damages in
excess of the other policy timit, we will only pay the
amount by which the limit of llability of this poticy
exceeds the limit of liability of that policy.

If more dtyan, ege policytapplie’ to efig accident on a
primaiy Basis, the tatabbenefits payable to any one

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Allstate Insurance Come) .

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Patt Vil ae
Protection Against Loss To The
Auto

The following coverages apply when Indicated on
the Policy Declarations. Additional payments, autos
insured, definitions, exclusions, and other
information applicable to all these coverages
appear beginning on page 19.

COVERAGE DD
Auto Collision Insurance
Allstate will pay for direct and accidental loss to

your insured auto or a non-owned auto (including ;

insured loss to an attached trailer) from a colfision
with another object or by upset of that auto or
trailer. The deductible amount won't be subtracted
from the loss payment in collisions involving your
insured aute and another auto insured by us.

Waiver Of Collision Coverage
Deductible Option

Thé following applies only when the Policy
Declarations indicate the Waiver of Collision
Coverage Deductible Option:

The Auto Collision Insurance deductible will be
waived to the extent that you are legally entitled to
recover damages from the owner or operator of an
uninsured auto if:

1. the damage is caused by direct physical
contact between an uninsured auto as defined
in Part Vi—Uninsured Motorists Insurance of
the policy, and a vehicle owned by you which
is Insured for Auto Collision Insurance under
this policy; and

2. the owner or operator of the uninsured aute
has been identifled or the vehicle itself has
. been identified by its license number; and

3. we have been notified of the accident within 10
business days.

The Auto Collision Insurance deductible will not be
waived when the damage is caused by an
underinsured motor vehicle as defined in Part

Vi-—Uninsured Motorists Insurance.of this policy. .

if We Cannit Agree

if you oF we cannot agree on the amount of the
Auto Collision Insurance deductible to be waived,
then upon the written request of either, the
disagreement will be settled by a single neutral
arbitrator. Arbitration will be conducted within one
year from the date of the accident. No cause of
action shail exist against either you or Allstate from
exercising the right to request arbitration for a
claim for the Waiver of Collision Coverage
Deductible.

COVERAGE HH

Auto Comprehensive Insurance

Allstate will pay for direct and accidental loss to
your insured auto or a non-owned auto not caused
by collision, Loss caused by missiles, falling
objects, fire, theft or larceny, explosion,
earthquake, windstorm, hail, water, flood,
malicious mischief or Vandatism, and riot or civil

’ commotion is covered. Glass breakage, whether or

not caused by collision, and collision with a bird or
animal is covered.

The deductible amount will not be subtracted from
the loss payment when the loss is caused by a peril
listed under Coverage HE.

By agreement between you and Allstate, the .
deductible amount will not be subtracted from a
glass breakage loss if the glass is repaired rather
than replaced.

COVERAGE HE

Auto Fire, Lightning and Transportation
Insurance

Allstate will pay for direct and accidental loss to
your insured auto or a non-owned auto due to:

1. fire or lightning.

smoke or smudge due to a sudden, unusual
and faulty operation of any fixed heating
equipment serving the premises in which the
aute is located.

3. stranding, sinking, burning, collision or
deraiiment of any conveyance in or upon
which the augo is qeing {ebspsied o on land or

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insured aitto or disablement of the auto i
your destination, if

a) the entire auto is stolen and you have 3.

comprehensive coverage under this
policy.
the auto is disabled by a collision or

- comprehensive loss, and you have the
coverage under this policy applicable to

b)

auto or utility auto you acquire ownership of
during the policy period will be covered for 30
days immediately after you become the
owner.

However, we will-provide this coverage only if
Allstate or one of its affiliates insure all other
private passenger autos or utility autos you
own, and you pay the additional premium.

Coverage willbe continued beyond this 30 day 4.

period only if:

a) yot ask us to continue coverage within 30
days after you acquire the auto or utitity
auto you; .
we agree to continue coverage for this

b)
additional auto or utility auto;

c) you pay the cicitional premium.:

A substitute four wheel private passenger auto
or utitity auto, not owned by you ora
resident, temporarily used with the permission
of the owner while your insured auto is being
serviced or repaired, or if your insured auto is
stolen or destroyed.

the loss.
: gens ‘4. Anon-owned four wheel private passenger
This eee nt apply if the insured auto, a utility auto, a motor home or.
. travel-raler jused by you or a resident
. relative with the owner's permission. These
3. the vchan Ailstate wil repay apie #t0e day - vehicles must not be available or furnished for
but not more than $300 for each less for the the regular use of you orany resident.
cont of This coverage reins 48 enti e auto is 5. Atrailer while attached to an insured auto.
youl report the theft to us, but ends when we This trailer must be designed for use with a
offer settlement or your auto is returned to private passenger auto. This trailer can't be
use. used for business purposes with other than a
. private Pete auto or utility auto. Home,
. toré, display, or passenger trailers,
4. If you have purchased collision or Onice, :§
comprehensive Insurance under this policy, travel trailers of anibed anit on, wot
Allstate will pay general average and salvage Declarations. eSer nine Folcy
charges imposed when your insured auto is .
being transported. Definitions
Insured Autos 1. “Allstate”, "We", "Us", or “Our’—means the
1. Any auto described on the Policy Declarations. Declarations. ' indicated on the Policy.
This includes the four wheel private passenger oe
oth Allstate wine sO Gace ifyou 2. “Auto"—means a land motor vehicle designed
replacement and pay the additional premium. for use on public roads.
Coverage will not continue after 30 days if we ‘ape u
are not notified of the replacement auto. 3. "Camper Unit"—means a demountable unit
designed to be used as temporary living
2. An additional four wheel private passenger quarters, including all equipment and
accessories built into and forming a

permanent part of the unit. A camper unit does
not include:

caps, tops, or canopies designed for use
as protection of the cargo area of a utility
auto; or

radio or television antennas, awnings,
cabanas, or equipment designed to create
additional off highway living facilities.
“Motor Home"—means a self-propelled —
vehicle equipped, designed or used as a living
quarters.

a)

b)

“Resident"—~means a person vt b physically
regkigs jn yodr hodsehold with tpe intention of
contipuinggrepidente théres Yqurs unmarried

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Allstate Insurance Con

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the agreet or anpraiseis value. We may séttle any
claim or Joss either with you or the owner. of the

property.
if aloss or damage occurs which may require

repair of the insured auto or replacement of any
part(s) while the auto is in Mexican territory, the

basis for adjustment of the claim will be as follows:

The repair or replacement costs will not exceed
the cost of having the repairs or replacement
made at the nearest point in the United States
where the repairs or replacements can be made,
The cost for towing, transportation and salvage
operations of the auto while within Mexican
territory are not covered under this policy.

Limits Of Liability

Allstate's limit of liability is the actual cash value of
the property or damaged part of the property at the
time of loss. The actual cash value will be reduced
by the deductible for each coverage as shown on
the Policy Declarations. However, our liability will
not exceed what it would cost to repair or replace
the property or part with other of like kind and
quality. The limit for loss to any covered trailer not
described on the Policy Declarations is $500.

An auto and attached trailer are considered
separate autos, and you must pay the deductibie,
if any, on each. Only one deductible will apply to an
auto with a mounted camper unit. If unmounted, a
separate deductible wilt apply to the auto and
camper unit.

The limit for toss to any non-owned motor home
or travel-trailer is $10,000.

If There (s Other Insurance

If there is other insurance covering the loss at the
time of the accident, we will pay only our share of
any damages. Our share Is determined by adding
the limits of this insurance to the limits of all other
insurance that applies on the same basis and
tinding the percentage of the total that our limits

represent.

When this insurance covers a substitute auto or
non-owned auto, We will pay only after all other
collectibfe insurance has been exhausted.

When this insurance covers a replacement auto or
additional auto, this policy won't apply if you have
other collectible insurance.

OC

af more than one folicy applies’ son an excess basis,
we will bear our proportionate share with other
collectible excess insurance.

When more than one coverage is applicable to the
loss, you may recover under the broadest coverage
but not both. However, any Coverage ZA deductible
will always apply.

Action Against Allstate
No one may sue us under this coverage unless
there is full compliance with all the policy terms.

Subrogation Rights

When we pay, your rights of recovery from anyone
else become ours up to the amount we have paid.
You must protect these tights and help us enforce

them.

What You Must Do If There is A Loss
As soon as possible, any person making claim
must give us written proof of loss. It must
include all details reasonably required by us.
We have the right to inspect the damaged
property. We may require any person making
claim to file with us a sworn proof of loss. We
may also require that person to submit to
examinations under oath. .

2. Protect the auto from further loss. We will pay
reasonable expenses to guard against further
foss. {f you don’t protect the auto, further loss
is not covered. .

3. Report all theft losses promptly to the police.

IN WITNESS WHEREOF, Allstate has caused this
policy to be signed by its Secretary and its
President at Northbrook, Hlinois, and, if required by
state aw, this policy shall not be binding untess
countersigned on the Policy Declarations by an
authorized agent of Allstate.

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Secretary
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Policy Endorsement
Tne folfowing endorsement changes your pollc 'y. Please read this document carefully and Keep it with your
policy. . ‘

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California
Amendatory Endorsement — avz2so-6

L inthe General provisions, the following changes are made:
A The following provisions are added:

Fraud
This policy will not apply to any claim in which an insured person has concealed or
misrepresented any material fact or circumstance.

What Law Will Apply
This policy is issued in accordance with the laws of California and covers property or risks prinelpaily

located in Califomia. Subject to the following paragraph, any and all claims or disputes in any way
related to this policy shall be governed by the laws of California.

ff a covered loss to the auto, a covered auto accident, or any other occurrence for which coverage
applies under this policy happens outside California, claims or disputes regarding that covered loss to
the auto, covered auto accident, or other covered occurrence may be governed by the taws of the
jurisdiction in which that covered loss to the auto, covered auto accident, or other covered occurrence
happened, only if the laws of that Jurisdiction would apply in the absence of a contractual choice of law
provision such as this,

Where Lawsuits May 8e Brought . .
Subject to the following two paragraphs, any and all lawsuits in any way related to this policy shall be

brought, heard, and decided only in a state or federal court located in California, Any and all lawsuits
against persons not parties to this policy but involved In the sale, administration, performance, or
alleged breach of this policy or involved in any other way with this policy, shall be brought, heard, and
decided only in a state or federal court located in California, provided that such persons are subject to
or consent to suit in the courts specified In this paragraph.

ff a covered loss to the auto, a covered auto accident, or any other occurrence for which coverage
applies under this policy happens outside California, lawsuits regarding that covered loss te the auto,

covered auta accident, or other covered occurrence may also be brought in the judicial district where
that covered loss to the auto, covered auto accident, or other covered occurrence happened.

Nothing in this provision, Where Lawsuits May Be Brought, shall impair any party's right to remove a
state court lawsuit toa federal court. .

B. The Non Renewal provision is replaced by the following:

Non Renewal

if we don’t intend to continue the policy beyond the current policy period, we will mail you notice at
least 30 days before the end of the policy period. .°, ,*, 2 s+ 323
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Short Rate Table

Percentage: Percentage ~ Percentage
Days of Days of Days _ of
Policy Semi-Annual Policy Semi-Annual Poticy Semi-Annual
in Force - Premium — In Force Premium In Force Premium
1 6% 61-62 44% 121-123 14%
2 7 63 45 124-125 75
3 8 64-65 46 126-127 76
4 9 66-67 47 128-130 7
5 10 68-69 48 131-132 78
6 11 70-71 49 133-134 79
7 12 72-73 . 50 135-136 80
8 13 74 51 137-139 81
] 14 75-76 52 140-141. 82
10 15 77-78 53 142-143 83
11 16 79-80 54 144-145 84
12 17 81-82 55 146-148 85
13-14 18 83 . 56. 149-150 Gmos.) 86
15-16 19 84-85 . oF .
17-18 20 86-87 58 151-152 87
19-20 21 88-89 59 153-155 88
21 22 90-91 @ mos.) 60 156-157 89
22-23 : 23 158-159 90
24-25 24 92-93 61 160-161 91
26-27 25 94-95 . 62 162-164 92
28-29 26 96-98 63 165-166 93
30-31 (1 mo.) . 27 99-100 64 167-168 94
101-102 | 65 | 169-171 95
32 28 103-104 66 172-173 | 96
33-34 29 105-107 67 174-175 97
35-36 30 108-109 68 176-177 98
37-38 31 110-111 69 178-180 99
39-40 32. s«142-114 70 181-183 (6 mos.) 100
41 33 115-116 . 71 .
42-43 34 117-118 72
44-45 35 119-120 (4 mos.) 73
46-47 36
48-49 . 37
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59-60 (2 mos.) 43

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vy ; : a : vy .
6. bodily injury to an insured person or bodily infury to an insured person whenever the ultimate
benefits of that indemnification accrue directly. or indirectly to an insured person. This exclusion
applies only to you and resident relatives. ‘

bodily injury oF property damage which may reasonably be expected to result from the intentional
or criminal acts of the insured person or which are in fact intended by the insured person.

F. in the Exclusions— What fs not covered provision, item 10. is added:

10. bodily injury or property damage arising out of the participation in any prearranged, organized, or
spantaneous:racing contest; speed contest; or use of an auto at a track or course designed or used

for racing or-high performance driving, or in practice or preparation for any contest or use of this
type.

G. The following provision is added:

_Child Passenger Restraint System

Allstate will pay for the replacement of a child passenger restraint system in use by a child at the time
of an accident for which coverage under this Part is applicable due to the liability of an insured person..
The child passenger restraint system must meet applicable federal motor vehicle safety standards.

in Part U, Automobile Medical Payments — Coverage CC, the following changes are made:

A. The insuring Agreement provision is replaced by the following:

{nsuring Agreement

Allstate will pay to or on behalf of an insured person all reasonable expenses the insured person
becornes legally obligated to pay for necessary medical treatment, medical services or medical ,
products actually provided to the insured person. Covered expenses may include ambulance, hospital,
medical, surgical, X-ray, dental, orthopedic and prosthetic devices, pharmaceutical, eyeglasses, .
hearing aids, funeral service expenses, and professional nursing services. Payments will be made only
when such expenses retate to bodily Injury caused by an auto accident.

The treatment, services, or products must be rendered within one year after the accident. This will be
extended to five years If the amount of insurance shown on the Policy Declarations for this coverage Is
more than $5,000.

This coverage does not apply to any person to the extent that the treatment is covered under any
worker's compensation law.

In the Definitions provision, item 6., fs replaced by the following:

6. "You" or "Your" —means the policyholder named on the Policy Declarations and:
a) that policyholder’s resident spouse; or ,
bh) a party who has established with that policyholder a registered domestic partnership under
Califomia state law if a resident of the same household.

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in Part (V, Automobile bpath indemnity Insurance —Coverage CM, under the Exclusions + What Is not
covered provision, item 5. is added: ‘

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5. toany person arising out of the participation in any prearranged, organized, or spontaneous:
a) racing contest;
b} speed contest; or . -
c) use of an auto at a track or course designed or used for racing or high performance driving, or
in practice or preparation for any contest or use of this type.

In Part V, Automobile Disability Income Protection —Coverage CW, under the Exclusions —What Is not
covered provision, item 5. is added: . . . .

5. arising out of the participation in any prearranged, organized, or spontaneous:
a) racing contest; .
b) speed contest; or :
c) use of an auto at a track or course designed or used for racing or high performance driving, or
In practice or preparation for any contest or use of this type.

In Part VI, Uninsured Motorists insurance ~Coverage SS, the following changes are made:
A. Inthe An uninsured auto Is provision, items 2. and 4. are replaced by the following:

2. amotor vehicle-for whjch the insurer denies coverage, becomes insolvent within one year of the
accident, or refuses to admit coverage except conditionally or with reservation.

4. anunderinsured motor vehicle which has a bodily injury lability bond or bodily injury liability
insurance in effect at the time of the accident, but in an amount less than the applicable bodily
injury limit of liability for UnInsured Motorists Bodily Injury coverage shown on your Policy
Declarations.

B. Inthe An uninsured auto fs not provision, item 3. is replaced by the following:

3. ametor vehicle insured for bodily injury under Part | of this policy. However, this does not apply
when the Insured is in, on, getting into or out of or when struck and injured by a. motor vehicle
owned by the insured while itis being operated or caused to be operated by a person without the
insured’s consent in connection with criminal activity that is documented in a police report and in
which the Insured Is not involved.

C. Inthe Definitions provision, the following is amended:
1. item 4. is replaced by the following:
4. Property damage means damage to or destruction of the insured auto, but does not include:
a) loss of use of the insured auto;
bh) ‘damage caused by an underinsured motor vehicle; or: -

cs) damage to personal property contained in the insured auto other thana child passenger
restraint system in use by a child in the insuyed, auto atghe tig®tot ahaccident to which.
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eae action can be brought: against us under this coverage if within two years from tHe date if the

accident: , , 7

1. suit for bodily injury has been filed against the uninsured motorist in a court of competent
jurisdiction; or

2. agreement as to the amount due under this coverage has been concluded: or
3. formal arbitration proceedings have been instituted and notice provided us.

if a suit has been filed against the uninsured motorist, the insured-person must provide us notice of the
Suit. The notice must be in writing and be provided withina reasonable time after the insured knew or

. should have known the motorist was uninsured. If we are prejudiced by a fallure to give notice the
claim will be denied. .

The if We Cannot Agree provision Is reptaced by the following:

if We Cannot Agree ; .
f-you and we disagree on your right to receive any damages or on the amount of damages, then upon
written request of either party, the disagreement will be settled by a single neutral arbitrator. ,

if arbitration is used, any arbitration award will be binding up to your policy limits and may be entered
as a judgment ih a proper court. All expenses of arbitration will be shared equally, However, attorney
fees and fees paid to medical or other expert witnesses are not considered arbitration expenses and

are to be paid by the party incurring them. ,

No cause of action shall exist against either you or Allstate as a result of exercising the right to request
arbitration of a claim.

Vill. in Part Vil, Protection Against Loss To The Auto, the following changes are made:

A The Coverage DD—Auto Collision Insurance provision Is replaced by the following:

Allstate will pay for direct and accidental loss to your insured auto or a non-owned auto (neluding
Insured loss to an attached trailer) from a collision with another object or by upset of that auto or
trailer. The deductible amount won't be subtracted from the loss payment in collisions involving your
ifsured auto and another aute insured by us. In addition, Allstate will pay for the replacement of a child
passenger restraint system in use by a child in the insured auto at the time of a collision. The child
passenger restraint system must meet applicable federal motor vehicle safety standards.

The Walver Of Collision Caverage Deductible Option provision is replaced by the following:

Walver Of Collision Coverage Deductible Option

The following applies only when the Policy Declarations indicate the Waiver of Collision Coverage
Deductible Option:

The Auto Collision insurance deductible will be waived if:

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‘ "You" or "Your" —neans thé Aoticyholder named an the Policy Declarations and:
a) that policyholder’s resident spouse; or
b) a party who has established with that policyholder a registered domestic partnérship
under Califomia state law if a resident of the same household.

E. ‘tn the Exclusions —What is not covered provision, item 1. is replaced by the following: .

1. loss which may reasonably be expected to result from the intentional or criminal acts of an insured
person or which is in fact intended by an insured person.

F, Inthe Exclusions — What is not covered provision, items 13. 14. and 15. are added:
13. loss to any auto due to confiscation by any government authority.

14. loss or damage arising out of the participation ina prearranged, organized, or spontaneous:
a) racing contest;
bh) speed contest; or
c) use of an auto ata track or course designed or used for racing or high performance driving,
or in practice or preparation for any contest or use of this type.

15. loss to any custom parts or equipment designed for racing which is installed in your insured auta.
This includés, but is not limited to, nitrous oxide systems; roll cages, and air intake modifications.

G. The Limits Of Liability provision is replaced by the following:

Limits Of Liability
Allstate's limit of liability is the least of:

1. the actual cash value of the property or damaged part of the property at the time of loss, which
may include a deduction for depreciation; ar .

2. the cost to repair or replace the property or part to its physical condition at the time of loss using
parts produced by ar for the vehicle's manufacturer, or parts from other sources, including, but not
limited to, non-original equipment manufacturers, subject to applicable state faws and regulations;
or

3. $500, if the loss is toa covered trailer not described on the Policy Declarations.

Any applicable deductible amount is then subtracted.

ff Allstate, at its option, elects to pay for the cost to repair or replace the property or part, Allstate's
liability does not include any decrease in the property's value, however measured, resulting from the
loss and/or repair or replacement. If repair or replacement results i in the betterment of the property or _

part, you may be responsible, subject to applicable state Jaws and regulations, for the amount of the
betterment.

The maximum Allstate will pay for foss to any custom parts or equipment is $1000, unless otherwise
excluded. .

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We may cancel this policy according to its terms. We will notify thé Lienholder andor Lessor at least

ten days prior to the date of cancéllation that the cancellation is effective ‘as to the interest of the
Lienholder and/or Lessor. ‘

Whenever we pay the Lienholder and/or Lessor any sum for loss or damage under thls policy, we will
be subrogated to the extent of payment to the rights of the party to whom payment was made.

However, these subrogation provisions must in no way impair the rights of the Lienholder and/or Lessor
to recover the full amount of its claim from the insured.

The Lienholder and/or Lessor has no greater rights under the provisions of the policy than the insured.
All other policy terms and conditions apply.

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' Policy Endorsement |
The following endorsement changes your policy. Please read this document carefully and keep It with your
polfey.

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Allstate Amendment of Policy Provisions —auzes | .

This endorsement amends all of the following Allstate Insurance Company policies: Automobile, Motorcycle, and
Motorhome. This endorsement is in addition to.all other endorsements which apply to these policies.

Itis agreed that the following provision is added to the General Provisions:

A. The following replaces the provision titled Where And When The Policy Applies:

Your policy applies only during the policy period. During this time, it applies to losses to the auto, accidents
and occurrences within the United States of America, its territories or possessions or Ganada, or between
their ports.

If we offer to renew your policy and your required premium payment isn't received when due, you will have
rejected our renewal offer. This means that the insurance coverage described in the renewal offer and any
endorsements to the renewal offer will not become effective.

B. The following replaces the provision titled Termination:

if we offer to renew your policy and your required premium payment isn't received when due, you will have
rejected our renewal offer. This means that the insurance coverage described in the renewal offer and any

endorsements to the renewal offer will not become effective.

G. The following provision is added:

Conditional Reinstatement

If we mail a cancellation notice because you didn't pay the required premium when due and you then tender
payment by check, draft, or other remittance which is not honored upon presentation, your policy will
terminate on the date and time shown on the cancellation notice and any notice we issue which waives the
cancellation or reinstates coverage is void. This means that Allstate will not be fiable under this policy for
claims or damages after the date and time indicated on the cancellation notice.

D. Under the provision titled Cancellation, the following is added:
Any uneamed premium amounts under $2.00 will be refunded only upon your request.

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: Allstate Indemnity Com(y

Summary

NANIED INSURED(S)
Anna & Richard Tang

364 Maoney Drive
Monteray Park CA 91755-4140

Riggio Ins Agy Inc
(805) 604-0675

300 E Esplanade
Oxnard CA 93036

POLICY NUMBER POLICY PERIOO

- YOUR ALLSTATE AGENT iS

: RENEWAL
Auto Policy Declarations

©

YOUR BILL
lists your payment options.

Jan. 28, 2009 ta July 28, 2009 at 12:01 a.m. standard time

 

 

 

9 14 906559 07/28
ORIVER(S) LISTED DAIVER(S) EXCLUDED
Anna Richard None
VEHICLES COVERED - VEHICLE ID NUMBER LIENHOLDER
1. 00 Honda r-V JHLAD2841YC011441 None
" 2. 03 Mercedes-B MI350 4JGAB57E23A412251 _ Chase Auto Finance

 

 

 

 

Total Premium

Premium far 00 Honda Cr-V $442.47
Premium for 03 Mercedes-B MI350 $428.64
TOTAL $871.11

 

¥ _Your total premium reflects a combined discount of $370.68

See the impartant Payment and Coverage Information section for details about payment options and

installment fees.

Your Policy Effective Bate ts Jan. 28, 2009

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Allstate Indemnity Company : :
Polley Number : 9 14 906559 07/28: Your Agent: Rigglo Ins Agy inc} (805) 604-0675 }
Policy Effective Date: Jan, 28, 2009 ' ‘

+ tee

COVERAGE FOR VEHICLE #.1

 

 

 

 

 

 

 

 

 

2000 Honda Cr-V
COVERAGE ; LIMITS OEDUCTIBLE PREMIUM
Automobile Liability Insurance Not Applicable $267.95
® Bodily injury - $100,000 each person —
$300,000 each occurrence
© Property Damage : $100,000 each occurrence
Uninsured Motorists Insurance $50,000 each person Not Applicable $26.75
for Bodily Injury $100,000 each accident
Auto Collision insurance Actual Cash Vatue $500 $96.96
Waiver of deductible applies ‘
Auto Comprehensive Insurance Actual Cash Value $500 $23.77
Towing and Labor Costs Coverage = $50 each disablement Not Applicable ; $2.48
Rental Relmbursement Coverage up to $30 per day for Not Applicable $24.56
a maximum of 30 days
Total Premlum for 60 Honda Cr-V $442.47
DISCOUNTS Your premium for this vehicle reflects the following discounts:
Good Driver 20% Multiple Policy $7.19
Distinguished Driver $57.53 Loyalty Discount $13.63

RATING INFORMATION Your premium ts determined based on certain information, including the following:

The estimated number of miles that this vehicle is driven annually is 10, 000 - 10,999. This vehicle Is driven
3-9 miles to work/school, married maie licensed 29 years

if any of the information shown above Is Incorrect or if it changes in the future, please notify Allstate promptly. A change in
the Information could result in a premium adjustment. .

Information as of Page 4
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Allstate Indemnity Compdiy O
Paticy Number : 9 14 906559 07/28 : Your Agent: Rggle ins Agy Inc (006) 604-0675

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Policy Effective Oate: Jan. 28,2009 :

sowed,

COVERAGE FOR VEHICLE # 2

 

 

 

 

 

 

 

 

 

2003 Mereedes-B MI350
COVERAGE . LIMITS " DESUCTIBLE PREMIUM
Automobile Liability Insurance Not Applicable $229.00
© Bodily injury $100,000 each person
$300,000. each occurrence
© Property Damage $100,000 each occurrence
Uninsured Motorists Insurance $50,000 each person Not Applicable $34.74
for Bodily Injury $100,000 each accident .
Auto Collision Insurance Actual Cash Value $500 $106.34
Waiver of deductible applies .
Auto Comprehensive Insurance Actual Cash Value _ $500 $31.52
Towing and Labor Costs Coverage $50 © each disablement Not Applicable $2.48
Rental Reimbursement Coverage up to $30 per day for Not Applicable $24.56
a maximum of 30 days .
Total Premium for 03 Mercedes-B MI350 $428.64
DISCOUNTS — Your premium for this vehicle raflects the following discounts: -
Anti-iheft $1.66 Good Driver 20%
Multiple Policy $8.08 Distinguished Driver $63.78
Loyalty Discount $15.30

RATING INFORMATION Your premium is determined based on certain information, including the following:
The estimated number of miles that this vehicle Is driven annually is 10,000-- 10,999. This vehicle Is driven
3-9 miles to work/school, married female licensed 21 years

i{any of the information shown above is incorrect or if it changes in the future, please notify Allstate promptly. A change in
the information could result In a premium adjustment.

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Allstate Indemnity Company.
Polley Nutnber :'9 14 906559 07/28 Your Agent: ?Riggla ins Agy inc (885) 604-0675 i og
Polley Effdctive Date: Jan. 28, 2009 sO ms ss
Your Policy Documents
Your auta policy consists of thls Policy Declarations and the dacuments listed below. Please keep them together.
- Allstate Automobile Policy form AU104-3 - Amendment of Policy Provisions form AU2250-6

~ Amendment of Policy Provisions term AU2285

Important Payment and Coverage Information

Your rate Is tower because you ara insuring multiple cars.

Your bill will be sent to you in a separate mailing and will list any payment option(s). avallable to you. If you are
eligible to pay your premium in installments, your first bill will reflect your available payment options, including
the option to pay In full or to pay in monthly Installments, Please note that any amounts payable for the first
renewal bill will not Inciude an installment fee (uniess you have an unpaid balance from a previous policy period,
in which case the Minimum Amount Due will include an installment fee, or unless you are participating in the

Allstate Easy Pay Plan). . .
Subsequent bills, ifany, will provide the following options if you are eligible to pay your premium in Installments:

Option 1 — You can pay your premlum in full. The *To Pay In Full’ amount will be shown on your bill.
Option 2 —- You can pay the Minimum Amount Due shown on your bill. If you choose this option, you will be

sent a bill each month and the Minimum Amount Due will Include a $3.50 Installment fee for each monthly
payment (the monthly installment fee Is $1.00 for the Allstate Easy Pay Plan). :

Option 3 — You can pay less than the full amount but more than the Minimum Amount Due. You will be charged
a $3.50 Installment fee each time you choose this payment option (the monthly installment fee is $1.00 for the
Allstate Easy Pay Plan).

Please note that the Allstate Easy Pay Plan allows you to have your insurance payments automatically deducted
from your checking or savings account. ,

IN WITNESS WHEREOF, Allstate has caused this policy to be signed by its Secretary and its President at Northbrook,
illinois, and if required by state law, this policy shall not be binding unlass countersigned on the Policy Declarations by

an authorized agent of Allstate.

FH: marvA Con (1) ) i
Frederick F. Cripe (Yar 4 \ ¢
President Mary J. McGinn
Secretary

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December §, 2003 CAQTISASD

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Riggio Ins Agy Inc .
300 E Esplanade .
Your Quick lasurance Check

Oxnard CA 93036
Verify the vehicles and drivers listed on
the Policy Declarations and {D cards.

V Check the vehicle identification number
(VIN) listed on these documents; Its
accuracy could affect your premium,
Now you can pay your premium even
before your bill [s Issued - visIt
allstate.com or call 1-800-Allstate®.

Ih Feascelldorsls l lah beabsslersdls FealMbensadDarsbeal sad Important: Please note that this mailing is
our policy renewal offer. Your coverage

 

 

Anna & Richard Tang
364 Mooney Drive. won't continue unless we receive the
Monteray Park CA 91755-4140 required payment before the policy

: effective date and time listed on the

enclosed Policy Declarations. -

 

 

Here’s your policy renewal offer — with new opportunities to be rewarded for safe
driving like never before.

. We’re pleased to offer to renew your Allstate Indemnity Company auto policy for another
six months. Enclosed are your renewal materials, including new Proof of Auto Insurance
cards and your Policy Declarations —- which describes the coverage choices you’ve made,

-any discounts you may be receiving and your premium.

Allstate” Your Choice Auto Insurance —a different kind of car insurance
Want to be rewarded in new and different ways for safe driving?

eo

@ How about a feature that helps: ‘limit the amount of an accident-related rate
increase?*

¢ Want to help limit a premium increase due to a minor violation?*

Allstate” Your Choice Auto Insurance offers new auto insurance packages with great
features that can reward you like never before. And you can get these features on top of
what you already get from Allstate, such as quality coverage and 24/7 claim service.

With Your Choice Auto® , you can get**:
e Animmediate $100 off your collision coverage deductible.
Accident Forgiveness — Limits the amount your rates could go up just because of

an accident, even if it’s your fault.*
e A Safe Driving Bonus* — For every six months of accident-free driving, earn up

to 5% off your next renewal premium.***

 

  

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Allstate indemnity comfy - : OG

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Your Savings and Opportunities a

 

Your discount savings for this policy Your premium for this policy period is:

perlod Is:

$370.68 $871.11

(For an Itemized Ilst of your discounts, refer This amount reflects the discount savings shown. ,
. onleft.

to your Policy Declarations)

 

 

 

 

Allstate Offers You Innovative Choices
We'd like to introduce you to Allstate® Your Choice Auto Insurance, a different kind of car insurance that can

reward you like never before. Now, with a Gold or Platinum Protection Package * you can get a range of
innovative features, including:

© An immediate $100 off your collision coverage deductible.
Accident Forgiveness -—— Limits the amount your rates could will go up just because of an accident, even if

e
it’s your fault.*
¢ A Safe Driving Bonus * of up to 5% which can be applied toward your next renewal premium.**
* Ticket Mitigation -- Limits the amount your premium could go up just because of a minor violation (one

minor violation per policy in a three year period).*
“Under California law, you could stil! lose the 20% Good Driver Discount, **Safe Driving Bonus is based on eligible premium for prior policy
petiod.
Your Choice Auto bundles together the kind of features you want most in car insurance. You simply choose the

package that you like best. And you get these great features on top of what you already get from Allstate, such
as quality coverage and 24/7 claim service. Consider whether one of the following-optional Your Choice Auto

packages is right for you: :

Platinum Protection Package

e Safe Driving Deductible Reward (Deductible Rewards)
@ Safe Driving Bonus
e Accident Forgiveness

© Ticket Mitigation ©

Gold Protection Package

® Safe Driving Deductible Reward (Deductible Rewards)

e Ticket Mitigation

You can add a Your Choice Auto package to your policy, rightayay. Your don't aged to wait for your current
insurance to expire. Call your Allstate representative forsa Quotestogay! 0 *,¢ ¢ s

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Policy Number: 9 44 906559 07/28 Your Agelit:  niggia ins Agy-tnc (608) 604-0675
Policy Effective Date: Jan. 28, 2009 *

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COVERAGE FOR VEHICLE # 2
2003 Mercedes- B M1350
COVERAGE LIMITS , DEDUCTIBLE PREMIUM
" Automobile Liability insurance . Not Applicable $229.00
® Badly injury $100,000 each person ‘
$300,000 each occurrence
® Property Damage - $100,000 each occurrence
Uninsured Motorists Insurance ° «$50,000 — each person Not Applicable $34.74
for Bodily injury $100,000 each accident
Auto Collision Insurance Actual Cash Value $500 $106.34
Waiver of deductible appliles
Auto Comprehensive Insurance Actual Cash Value $500 $31.52
Towing and Labor Costs Coverage $50 "> each disablement Not Applicable $2.48

 

Rental Reimbursement Coverage upto$30 per day for ; . Not Applicable $24.56 ©
a maximum of 30 days : .

 

 

Tatat Premium for 03 Mercedes-B MI350 "$428.64
DISCOUNTS Your premium for this vehicle reflects the following discounts:

Anti-theft $1.66 Good Driver 20%

Multiple Policy $8.08 . Distinguished Driver $63.78

Loyalty Discount ’ $15.30 . .

RATING INFORMATION |Your premium is determined based on certain information, including the following:

The estimated number of miles that this vehicle is driven annually is 10,000 - 10, 999. This vehicle is driven
3-9 mites to work/school, married female licensed 21 years

\f any of the information shown above is incorrect or if it changes in the future, please notify Allstate promptly. A change in
the information could result in a premium adjustment.

 

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“Paticy Number: 91490655907/28 - Your Agent: srigglo ins Agy Inc "(805) 604-0675 Ne
’ ; Polley Eftectve Date: dan. 28, 2009 : : : .
: ! : t

~ Important Notice ee |

Important Information About Your Auto Policy

The enclosed Policy Declarations lists important information aboit your policy, such as your address, the
vehicles you've insured, the vehicle identification numbers (VIN).assigned to your insured vehicles, the
drivers insured, and the coverages and coverage limits you've chosen. Your Policy Declarations also lists any.

discounts and surcharges applied to your policy.

Because much of the information found on your Policy Declarations is used to help us determine your
premium, please be sure to review your Policy Declarations carefully each time you receive one. You may
want to add coverage, delete coverage or change your coverage limits— or you may want to change the

information concerning the vehicles or drivers your policy insures.

Another thing to keep in mind is that you may now qualify for discounts that you previously were not eligible
to receive. For instance, Allstate offers discounts for.

« young drivers, including students under the age of 25;
+ — drivers who have completed approved driver training courses; and
« drivers who afso insure their homes with Allstate.

Please contact your Allstate representative for additional information about discount qualifications, as well as
other discounts that may be available. ,

Making changes to your paltey
Ifyou need to make a change to any of the information listed on your Policy Declarations, please notify your

Allstate representative of the change as soon as possible. With a few exceptions, any changes will be
effective as of the date you notify us.

Ifyou have any questions about this notice, or ifyou need to update any of the information listed on the
enclosed Policy Declarations, please contact your Allstate agent or call our Customer Information Center at

- 1-800-ALLSTATE (1-800-255-7828).

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Palicy Nurnber : 9 14 906559 07/28 Your AGRE * piggio ins Agy Inc (805) 604-0875
Policy Effective Date: Jan, 28, 2009 . , :

important Notice
Congrduktions, You’veReceived Your Loyaty Discaint
Allstate Appreciates Your Loyalty!

Thank you for choosing Allstate. We truly appreciate your business and the opportunity to: serve you.

We understand that in today’s marketplace you have many options. So as a way of showing our appreciation for
your continued business, we'd like to fet you know about a Loyaity Discount that you will be receiving.

As an Allstate auto insurance customer, we will give you a Loyalty Discount every time you renew your policy. To
see how much money you're saving with the Loyalty Discount, please see the enclosed Policy Declarations.

The Longer You Stay with Us, the More You Save
One of the benefits of your Allstate Loyalty Discount is that it grows over time. We will automatically increase the

amount af your discount on your first, third, fifth, and fifteenth policy anniversaries, making it more and more
valuable.

What’s more, your Allstate Loyalty Discount isn’t tied into your driving record. So even if you have an occasional
accident or receive a speeding ticket, you could still qualify.

This Is Our Way of Saying "Thanks!"
We value your business and want you to stay with us. We icok forward to continuing to provide you with great

products and services that will help you feel better protected today and better prepared for tomorrow.

Have Questions? Please Contact Us
Your Allstate agent can give you additional information about this discount, as well as other discounts and

deductible options that we offer. If you do not currently have an Allstate agent, please contact 1-800 ALLSTATE.
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Exhibit B

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 59o0f152 Page ID #:59

* 4 Mae
| ‘
. Diamond Bar Casualty .
Allstate.22°%:
® DIAMOND BAR CA 91765

Youte In good hands.

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_DAW OFFICE OF LO AND ASSOCIATES
2440 S HACIENDA BLVD STE 103
HACIENDA HTS CA 91745-4763

September 03, 2009
INSURED: RICHARD TANG : PHONE NUMBER: 888-358-8415
DATE OF LOSS: July 13, 2009 - FAX NUMBER: 909-612-2888

CLAIM NUMBER: 0143198462 OFFICE HOURS: Mon - Fri-8:00 am - 5:30 pm,
‘ Sat 8:00 am - 2:00 pm
Your Client: Richard Tang .

Dear LAW OFFICE OF LO AND ASSOCIATES,

Allstate's file concerning your client's potential uninsured motorist claim has been assigned to me. You can reach me at the
.address above, by fax at 909-612-2888, or by telephone at 909-612-6572.

We are attempting to determine if the defendant had liability insurance in effect for this loss. If you have already been in
touch with his carrier, please let me know the name of that carrier, the claim number and adjuster contact information. If you
have already determined that he was uninsured, please send me a copy of the UM Certificate (SR19).

Since the attorney for the other driver has told us he is uninsured, I have issued a check to your client returning the collision
deductible under the uninsured motorist waiver. It will arrive at your office under separate cover. However, I have sent to
DMV for an SR19 form to confirm his lack of liability coverage. .

T look forward to working with you to resolve your client’s claims, and to your continued courtesy and cooperation in this
matter,

Sincerely,

DAVID JOHNS

DAVID JOHNS
888-358-8415 Ext. 26572
Allstate Indemnity Company

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GENI00} 0143198462 Pee

 
 

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Exhibit C

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 61o0f152 Page ID#:61

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Diamond Bar Casualty
Allstate. 22
®DIAMOND BAR CA $1765

YouTe in good hands!

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MADISON LAW GROUP INC

9000 W SUNSET BLVD STE 704

LOS ANGELES CA 90069-5807

September 28, 2009

 

INSURED: RICHARD TANG PHONE NUMBER: 888-358-8415

DATE OF LOSS: July 13, 2009° FAX NUMBER: 909-612-2888

CLAIM NUMBER: 0143198462 OFFICE HOURS: Mon - Fri 8:00 am - 5:30 pm,
- Sat 8:00 am - 2:00 pm

Your Client: Carlos Madrigal
VIA FAX & MAIL

Dear MADISON LAW GROUP INC,

s

This confirms receipt of your faxcd letter dated Semptember 24, 2009 with a statement totalling $34,395.00: As noted, you
will forward the reports and itemized billing statement.

Enclosed is a copy of my Ictter dated September 24, 2009 which outlines our current position, Please provide any evidence
which reveals any liability on behalf of our insured. We would like to consider your clicnts statement of facts, please Iet me
‘know when we can schedule an appointment to do so.

We have also obtained a statement from an independent witness Naomi Galaviz, who was in a wheélchair when she
witnessed the accident. She confirms she was almost struck by your clicnts motorcycle who was speeding on Vernon. [will
forward you a copy of the transcribed recorded statement upon receipt. Kindly provide the witness dinformation which you
referred in our last conversation.

Our insured’s attomey is pursuing an uninsured motorist claim. tn the event your client has a valid liability policy, kindly
forward the appropriate information.

In response to your request for policy limit information, this is to advise our insured has $100,000.00 auto liability policy

Timit.

Sincerely,

TERESA VARELA.

TERESA VARELA
888-358-8415 Ext. 26571
Allstate Indemnity Company

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GENTO01 0143198462

 

 

 

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Exhibit D

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AW ROUP Svere 704 SAMIEN Ke RAt Vat

Los ANGELES, CALMPORNES 9OUO9 DvD AL Ce scitiens
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TRLPIONE (310) 201-7676 6 EF vcsimite (310) 550-7878

KYLE K. MADISON, Esc.

ENVENSION: 7676

FAX TRANSMISSION SHEET

 

 

 

 

 

To: ALISTATE INS. / AP PN: LORD MARCO DAE: 9.29.19
Fax #: 909-612-2888 PAGES 36. INCEEDING 'FHIs PAGE
| FROM: MADISON LAW GROUE Conus: | Noxt

 

 

 

 

 

 

 

SUBJECT: MADRIGAL V. "FANG CLAIM #: 0143195462 DOL: 7/13/09
Dear Lori:

As you know, we are in the process of receiving the medical records and bills we ordered for Mr.
Madrigal. We are sending vou these records and bills as they come into our office. Enclosed please find
medical records from LA County USC Medical Center where he was an in- patient for 3 weeks.

Please call our office upon your review at (310) 201-7676, ‘Fhank vou.

Very truly yours,
MADISON LAW GROUP

je tI
: Manager

    

PLEASE DELIVER
IMMEDIATELY

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CONFIDENTIALITY NOE: (FUE INFORM VFION CONTAINED IN THIS FACSIMILE TRANSAUSSION IS LEGALLY
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NAMED ABOVE. DTHE READER OF THISTRANSMISSION IS NOT ITE INTENDED RECUBIENT, YOU MUI TIEREBY NOTIFIED
WHAT ABY USE, DISSEMINATION, DISTRIBUTION OR COBY OF THIS TRANSAIRSION ES STRICTLY PROEESTEED. EF YOU TAVE
RECEIVED AHS TRANSMISSION EN ERROR, PLEAS IMMEDIVIELS NOTIFY US BY TELEPHONE AND RETURN FLEE
ORIGINAL TRANSMISSION TO GS VE THE ADDRESS ABOVE VIA THECOUNTTED STATES POSTAL SERVICE. THANK YOU.

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 64 of 152

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310-550-7878
Sep-29-2009 10:17AM

Fax Call Report

Job Date
11199 9/29/2009

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Time

*10:09:30AM Send

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FAX TRANSMISSION SHEET

 

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Dear Lors

A you know, we sce in the process of regeting the enedksal recurd and billy we ordered for Mer
We ace cexckng you these cesorda and bis 20 thoy come sans cur ofBce, Enclosed pleste Eine
mecca seconds from 1A Couey US Mecca! Cemerwhee te wes an mpanent for S weeks,

Preise call our office ygron your pewrerwas (S303 22-' 2676, ‘Vhink jou.

Very tray pours,
MADISON LAWGROUP
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PLEAST DELIVER

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 650f152 Page ID #:65

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\ Page 1
LAC+USC Medical Center Live
SINGLE ASSESSMENT
e--PFinted: Mon Sep 21, 2009 12:11 PM By Jorge Stopani
For: 08/06/2009 0758
Patient: MADRIGAL,CARLOS 24Y M Fac/Camp: G/G MRUN: 480-09-17
DOB: 10/18/1984 Loc: Acct #:9194552
Admit: 07/14/2008 0414 LOS: 24 Adm Phys: Charalampos Zalavras
Disch: 08/07/2009 2030 Diagnosis: Ed Re 09/trauma Complications
08/06/2009 0758 ONGOING Tien Nguyen, RN
ADULT MED/SURG/GYN NURSING RECORD
Assessment - Baseline
NEUROLOGICAL
* LOC/Orientation: Awake and alert, oriented to person, place, time
and purpose. Alert
* Limb Movement/Strength: RUE = Normal power LUE = Moderate
weakness RLE = Trace movement LLE = Trace movement
* Pupil Size: Right Pupil = 3 mm = Left Pupil = 3 mm
*  Pupillary Reaction: Right = Brisk Left = Brisk
CARDIOVASCULAR

WNL = Skin warm and dry to touch, no chest pain, pulses palpable and
reguiar in all extremities, brisk capillary refill, no edema.

VENOUS ACCESS

Saline Lock Location: Patient has two saline lock on RUE patent and
intact with no signs of infiltration noted Site checked

RESPIRATORY

WNL = Breathing even and unlabore@ on room air.

GASTROINTESTINAL

WNL = Abdomen soft, non- tender, absence of N/V, constipation, diarrhea,
and no tubes or drains.

*® Nutrition: Consumes 75% or more of diet

* Tubes/Drains: Jackson Pratt

* Bowel Function/Pattern: Patient had BM this morning

* Bowel Sounds: Present

* Other: Patient has JP to bulb suction on left shoulder, currently
_patent currently draining moderate amounts of serous sanguinous fluids.
GENTTOURINARY

* Mode of Urination: Foley catheter

* Urine Characteristics: Clear

* Urine Color: Yellow

INTEGUMENTARY |

Pressure sore risk assessment:

* Sensory Perception: 4 No impairment

* Skin Moisture: 3 Occasionally moist

* Activity: 3 Bedtast

* Mobility: very limited

* Nutrition: 3 Adequate page

* Friction and Shear: 2 Potential problem 64

* GRAND TOTAL: 15 NO RISK = > 13

*  Rash/Lesion/Wound: Patient has multiple lacerations that are in the
Case 2:14-cv-04242-SS Document 1

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For: 08/0

Patient: MADRIGAL,CARLOS 24Y¥ M
DOB: 10/18/1984

Admit: 07/14/2009 0414 jLOS: 24
Disch: 08/07/2009 2030

 

08/06/2009 0758 (Cont.)

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Filed 06/02/14 Page 66 of 152 Page ID #:66

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SINGLE ASSESSMENT

Page 2
6/2009 0758
Fac/Camp: G/G MRUN: 480-09-17
Loe: Acct #:9194552
Adm Phys: Charalampos Zalavras

Diagnosis: Ed Re 09/trauma Complications

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'
ADULT MED/SURG/GYN NURSING RECORD (Cont.)

Assessment - Baseline (Cont. )
process of healing on left side
drainage, or infection noted.

* Dressing Patient has ary dre
knee, and spinal column. Curren

of neck, hands, and arm. No erythema,
ssing on left shoulder, left hip, left
tly dry and intact with no drainage

drainage noted on upper spinal column.

Pratt

noted. Moderate amounts of old

te Tubes and Drains: Jackson
BEHAVIORS

WNL = Interactive, calm, and cooperative

LEARNING/ TEACHING

* Readiness to Learn:
* Daily Learning Needs:
Nutrition/feeding
MOBILITY / ACTIVITY

* Range of motion:

* Patient has Full Range of Mo
unable to move from ‘diaphragm do
and cannot feel sensation on BLE.
* Functional Limitation/Needs:

Pati
* Me

 

ent demonstrates readiness to learn
dication (s) * Disease process

*

tion in all Extremities except: Patient
wn to toes. Patient is a T5 paraplegic

Moderate assistance needed Patient

needs moderate assistance with ADL's and hygiene care.

* Other: Patient has sling on

to both foot.

COMFORT

WNL = Denies pain/reports accept
Falls Risk Assessment

left arm, SCD's to BLE, heel protectors

able levels of comfort

* 3  °-Unstable gailt /balance/motor impaixment

* 2 General weakness, sided weakness, or malnourished
* 1 Antiemetics

* 1 Analgesics

* 3 Narcotics

* 2 GI motility meds, including enemas

* i Foley catheter or tube connections

* TOTAL 13

* AT RISK = Score (6 or greater.

Nutrition Risk Assessment

 

NO RISK

Patient/ Family Instruction
PATIENT
- Side rails * Call light
Pain Management Reinforced .

* Smoking policy

Page
65

* Visiting hours

Disease process * Nutrition/feeding
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 67 of152 Page ID #:67

Patient:
DOB:
Admit:
Disch;

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Page 3
SINGLE ASSESSMENT
For: 08/06/2009 0758
‘MADRIGAL, CARLOS 24Y M Fac/Camp: G/G MRUN; 480-09-17
10/18/1984 | Loc: Acct #:9194552
07/14/2009 0414 LOS: 24 Adm Phys: Charalampos Zalavras
08/07/2009 2030 Diagnosis: Ed Re 09/trauma Complications

08/06/2009 0758 (Cont.)

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ADULT MED/SURG/GYN NURSING RECORD (Cont.)
Patient/ Family Instruction (Cont.)
* Incentive spirometer * Other: Inform patient that he is on fall
precaution and to call nursing staff when needing assistance. Patient
verbalize understanding.
Treatment/ Observation

* + 6 F HF

Venous Access Saline Lock Location: Flushed Site checked
Awake

Neuro. and circulation check completed

Spirometry

Sequential Compression Device SCD's on BLE
Reposition: Patient will be repositioned from back to right lateral

every 2 hours, patient currently on back

PAIN ASSESSMENT
- Pain Site #1

*
*
*

Pain Score:
Numerical 0/10
Education: Other: Patient indicated he does not have pain at the

moment, but inform patient to notify nursing staff when pain occur.
Patient verbalize understanding.

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66

 
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Page 1
LAC+USC Medical Center Live
SINGLE ASSESSMENT
Printed: Mon jSep 21, 2009 12:11 PM By Jorge Stopani
For: 08/06/2003 1200

Patient: MADRIGAL,CARLOS 24Y M Fac/Camp: G/G MRUN: 480-09-17
DOB: 10/18/1984 Loc: Acct #:9194552
Admit: 07/14/2009 0414 {LOS: 24 Adm Phys: Charalampos Zalavras
Disch: 08/07/2009 2030 Diagnosis: Ed Re 09/trauma Complications
08/06/2009 1200 ONGOING Tien Nguyen, RN

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ADULT MED/SURG/GYN NURSING RECORD
Reassessment

eR ee ew me ee

Partial Assessment. No changes noted.
COMFORT
WNL = Denies pain/reports acceptable levels of comfort
Notes

FORMATIVE NOTE

Notes: Patient is on wheelchair and being pushed around by mother.

Patient is content.
Preatment/ Observation

 

* Venous Access Saline Lock Location: Two saline lock on right
forearm both patent and intact with no signs of infiltration noted
Flushed Site checked

* Neuro. and circulation check completed

* Awake

PAIN ASSESSMENT
Pain Site #1

* Pain Score:

* Numerical 0/10
* Education: Other: Patient indicated he does not have pain at the
moment, but inform patient to notify nursing staff when pain occur,
Patient verbalize understanding.

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Case 2:14-cv-04242-SS

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GAC+USC Medical Center Live
SINGLE ASSESSMENT
Printed: Mon |Sep 21, 2009 12:12 PM By Jorge Stopani
For: 08/06/2009 1942

Patient: MADRIGAL,CARLOS 24Y M Fac/Camp: G/G MRUN: 480-09-17
DOB: 10/18/1984 Loc: Acct #:9194552
Admit: 07/14/2009 0414 LOS: 24 Adm Phys: Charalampos Zalavras
Disch: 08/07/2009 2030 Diagnosis: Ed Re 09/trauma Complications

08/06/2009 1942

 

ONGOING Evelyn N Omisore, RN

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ADULT MED /SURG/GYN NURSING RECORD
Reassessment {

* 3 Unstable gai

* 2 Incontinence

* 2 General weakness,

* 1

* 1 Analgesics

* 1 Antiemetics

* 3 Narcotics

* TOTAL 13

* AT RISK = Score
Notes .

Patient/ Family Instruc
PATIENT
* Side rails * Cal

fTreatment/ Observation

WNL
COMFORT
WNL

FORMATIVE. NOTE
pt has drsg to the left hip, knee, and spinal area and no

Complete Reassessmen
GENITOURINARY

*
* Urine Characteri:
* Urine Color:
INTEGUMENTARY

* Tubes and Drains
JP to the left shoul
BEHAVIORS
Interactive, ¢

Notes:

Mode of Urination:

t. No changes noted
Foley catheter

sties: Clear

Yellow

: Jackson Pratt
der infusing serosanginous drain

alm; and cooperative

Denies pain/reports acceptable levels of comfort
Palls Risk Assessment

t/balance/motor impairment
/diarrhea
sided weakness, ‘or malnourished

Foley catheter or tube connéctions

6 of greater.

sensation from diaphragm down, Iue neéd to be elevated.

* Venous Access
Site checked
* Neuro. and circu

tion

h light * Disease protess

Saline Lock Location: pt has 2 s/1 on the rue patent

lation check completed
Page

 

* Awake

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Page 2
SINGLE ASSESSMENT
For: 08/06/2009 1942
Patient: MADRIGAL,CARLOS 24Y M Fac/Camp: G/G MRUN: 480-09-17
DOB: 10/18/1984 . Loc: Acct #:9194552
Admit: 07/14/2009 0414 |LOS: 24 Adm Phys: Charalampos Zalavras
Disch: 08/07/2009 2030 Diagnosis: Ed Re 09/trauma Complications
08/06/2009 1942 (Cont. )
ADULT MED/SURG/GYN NURSING RECORD (Cont. )
PAIN, ASSESSMENT
Pain Site #1
* Pain Score:
* Numerical 0/10
Page
69

 
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 710f152 Page |ID#:71

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Page 1
LAC+USC Medical Center Live
SINGLE ASSESSMENT
Printed: Mon Sep 21, 2009 12:12 PM By Jorge Stopani
For: 08/07/2009 0838
Patient: MADRIGAL,CARLOS 24Y M Fac/Camp: G/G MRUN: 480-09-17
DOB: 10/18/1984 Loe: > Acct #:9194552
Admit: 07/14/2009 0414 LOS: 24 Adm Phys: Charalampos Zalavras
Disch: 08/07/2009 2030 Diagnosis: Ed Re 09/trauma Complications
08/07/2009 0838 ONGOING Tien Nguyen, RN
ADULT MED/SURG/GYN NURSING RECORD
Assessment - Baseline

NEUROLOGICAL

* Loc/Orientation: Awake and alert, oriented to person, place, time

and purpose. Alert

* Limb Movement /Strength: RUE = Normal power LUE = Normal

power RLE = Trace movement LLE = Trace movement

* Pupil Size: Right Pupil = 3 mm Left Pupil = 3 mm

*  Pupillary Reaction: Right = Brisk Left = Brisk

CARDIOVASCULAR

WNL = Skin warm and dry to touch, no chest pain, pulses palpable and
regular in all extremities, brisk capillary refill, no edema.

VENOUS ACCESS
Saline Lock Location: Saline lock on right wrist patent and intact with
no signs of infiltration noted. Saline lock on right ac was removed
because patient states that it hurts and was bloody underneath dressing.
Site checked
RESPIRATORY
WNL = Breathing even! and unlabored on room air.
GASTROINTESTINAL
WNL = Abdomen soft, non-tender, absence of N/V, constipation, diarrhea,
and no tubes or drains.

* Nutrition: Consumes 75% or more of diet

* Bowel Function/Pattern: Patient states having BM yesterday without
any diarrhea or constipation noted.

 

* Bowel Sounds: Present
GENITOURINARY

* Mode of Urination: Foley catheter

* Urine Characteristics: Clear

* Urine Color: Yellow

INTEGUMENTARY

Pressure sore risk assessment:

* Sensory Perception: 4 No impairment

GRAND TOTAL: 15 | NO RISK = > 13
Rash/Lesion/Wound: Patient has multiple laceration noted on LUE,

* Skin Moisture; E Occasionally moist

* Activity: 1 Bedfast

* Mobility: 2 Very limited

* Nutrition: 3 Adequate Page
* Friction and Shear: 2 Potential problem 70
*

*

 

 

 
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 72 0f152 Page ID#:72

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Page 2
SINGLE ASSESSMENT
For: 08/07/2009 0838
Patient: MADRIGAL,CARLOS 24Y¥ M Fac/Camp: G/G MRUN: 480-09-17
DOB: 10/18/1984 Loc: Acct #:9194552
Admit: 07/14/2009 0414 Los: 24 Adm Phys: Charalampos Zalavras
Disch: 08/07/2009 2030 Diagnosis: Ed Re 09/trauma Complications

08/07/2009 0838 (Cont.)

ADULT

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MED/SURG/GYN NURSING RECORD (Cont.)

Assessment - Baseline (Cont. )

Falls Risk Assessment

LLE, and left neck which is in the stages of healing. No drainage or
infection noted.

* Dressing Patient has dry dressing noted on left shoulder (change by
md), left knee, left hip, and spinal column. Currently all dressing are
dry and intact with no signs of drainage noted. Dressing on left
shoulder had been changed by MD twice.

* Tubes and Drains: Jackson Pratt

* Other: JP to left shoulder patent and intact with moderate amounts
of serosanguinous drainage noted.

BEHAVIORS

WNL = Interactive, calm, and cooperative

LEARNING/ TEACHING

* Readiness to Learn: Patient demonstrates readiness to learn

* Daily Learning Needs: * Medication (s) + Disease process .
Nutrition/feeding |

MOBILITY / ACTIVITY

* Range of motion:

® Patient has Full! Range of Motion in all Extremities except: Patient
has paralysis from diaphragm down to toes and cannot feel any sensation.
PT has been working with patient yesterday. Patient will work with pT
again today.

* Other: Patient has sling to left arm

COMFORT
WNL = Denies pain/reports acceptable levels of comfort

Unstable gait/balance/motor impairment

General weakness, sided weakness, or malnourished
Antiemetics
Analgesics
Narcotics
TOTAL 10

* AT RISK = Score 6 or greater.

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+ + tH

Nutrition Risk Assessment

NO RISK Page
Patient/ Family Instruction 71
PATIENT

+ Side rails * Call light + Smoking policy * Visiting hours .

 

Pain Management Reinforced - Disease process + Nutrition/feeding
* Other: Inform patient that he is on fall risk precaution and to notify
Case 2:14-cv-04242-SS

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SINGLE ASSESSMENT
For: 08/07/2009 0838
Patient: MADRIGAL,CARLOS 24Y M Fac/Camp: G/G - MRUN: 480-09-17
DOB: 10/18/1984 Loc: Acct #:9194552
Admit: 07/14/2009 0414 ILOS: 24 Adm Phys: Charalampos Zalavras

Disch: 08/07/2009 2030

08/07/2009 0838 (Cont.)

Diagnosis: Ed Re 09/trauma Complications

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ADULT MED/SURG/GYN NURSING

RECORD (Cont.)

Patient/ Family Instruction (Cont .)
nursing staff when needing assistance. Patient verbalize understanding.

Treatment/ Observation

* Venous Access Saline Lock Location: Flushed Site checked

* Neuro. and circu
* Awake

PAIN ASSESSMENT
Pain Site #1

Pain Score:
Numerical 0/10
* Education: ot
moment, but inform p.

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lation check completed

er: Patient indicated he does not have pain at the
atient to notify nursing staff when pain worsen.

Patient verbalize understanding.

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72

 
Case 2:14-cv-04242-SS

Patient: MADRIGAL, CARLOS
DOB: 10/18/1984
Admit: 07/14/2009 0414

Document 1 Filed 06/02/14 Page 74 0f152 Page ID#:74

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UAC+USC Medical Center Live
SINGLE ASSESSMENT
Printed: Mon |Sep 21, 2009 12:12 PM By Jorge Stopani
For: 08/07/2009 1200

24Y M Fac/Camp: G/G MRUN: 480-09-17
Loc: Acct #:9194552

LOS: 24 Adm Phys: Charalampos Zalavras
Diagnosis: Ed Re 09/trauma Complications

Disch: 08/07/2009 2030

 

08/07/2009 1200 ONGOING Tien Nguyen, RN

|
ADULT MED/SURG/GYN NURSING RECORD

Reassessment.

Partial Assessment.
COMFORT

a

No changes noted.

WNL = Denies pain/réports acceptable levels of comfort

Treatment/ Observation

* Venous Access

 

Saline Lock Location: Saline lock on right wrist

patent and intact with no signs of infiltration noted. Flushed Site

checked Dressing

¢ flanged

* Neuro. and circulation check completed

* Awake
* Other: Patient
since 0900

PAIN ASSESSMENT
Pain Site #1

* Pain Score:

* Numerical 0/10

is currently on wheelchair and has been on there

 

* Education: Other: Patient indicated he has no pain at the moment,

but inform patient

to notify nursing staff when pain occur. Patient

verbalize understanding.

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LAC+USC Medical Center Live
SINGLE ASSESSMENT
Printed: Mon ‘Sep 21, 2009 12:13 PM By Jorge Stopani

For: 08/25/2009 1153
Patient: MADRIGAL, CARLOS 24Y M Fac/Camp: G/G MRUN: 480-09-17
DOB: 10/18/1984 i Loc: ROR Acct #:9384879
Admit: 08/25/2009 1030 LOS: 27 Adm Phys: Physician Ro
Disch: Diagnosis: V65.0 Healthy Person W Sick

08/25/2009 1153 VA INITIAL Ryan Spivak, MD

wwe me

Fe ne me oe ae oe ee ee oe ome me mn om ee mm ow am ofa om on am ew am me me aE ah on ah we OF Om me om ae mn Se St Om ae on OF Oe we a te ee me me ee me mt oe Om in th oe Oe eh ee ae am me Ob te on oe ee oe

SURGERY (RECONSTRUCTION)
Reconstruction Exam

SUBJECTIVE

* Allergies:

* Medication: No active medications.

* Reason For Visit/History: Carlos Madrigal is a 24 yo male no past
medical or surgical history who wasriding his motorcycle when he was hit
by a car (+L0C). Date of injury

was 07/14 and he was, admitted on 07/14 to LAC. Pt. came in with open L
clavicle £x, L scapula fracture, T4 TP fx, T5 facet fx, T6 chance £x
---> paraplegic (with loss of sensation from T5 dermatome down), and L
3rd rib fx. On DOA,| neurosurgery took patient to OR for laminectomy

of T3 thru TS. ortho was consulted intraop for management of open L
clavicle fracture and L scapula £x, wound was washed out and wound
vacuum was placed. Wound was grossly contaminated, with bits of
asphalt/concrete embedded throughout. Wound approx 14cm x 7 cm, with
a smaller upper pole! measuring 6 x 4 cms. Fractured clavicle was
grossly visible in wound bed, believed to have lost an approximately
3-5cem fragment. L carotid, L subclavian vein, L subclavian artery were
grossly intact.

Plastic surgery performed local tissue advancement in the area of the
clavicle, concomitant with bone grafting and scapula/clavical repair
with orthopedic surgery. Since the surgery he has been afebrile and
without complaint. He continues to have limited ROM and strength of the

R UE limited by pony, and neural damage unrelated to tissue at the

operative site at the clavicle. He denies pain associated with this

wound. NKA

FOR NEW PATIENTS ONLY

* Social History: Denies current or previous use of alcohol, tobacco,
or illegal drugs.
* Past Med/Surg History: No past medical or surgical history.
OBJECTIVE
* Physical Examination:

* General Appearance:

* Chest: - Left clacicular incision well healed, clean, dry and
intact with pebbling.. Nontender along incision. The scar extends
approximately from his LUSB along the clavicular border to his left
shoulder, and then towards his scapula along his lower cervical border.

No fluctuance/erythema/exudate. ‘No acute distress

ASSESSMENT/ PLAN Page
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SINGLE ASSESSMENT

For: 08/25/2009 1153
Patient: MADRIGAL,CARLOS 24Y M Fac/Camp: G/G MRUN: 480-09-17
DOB: 10/18/1984 Loc: ROR Acct #:9384879
Admit: 08/25/2009 1030 LOS: 27 Adm Phys: Physician Ro
Disch: Diagnosis: V65.0 Healthy Person W Sick
08/25/2009 1153 (Cont.)

 

SURGERY (RECONSTRUCTION) (Cont.)
Reconstruction Exam (Cont.)
* Narrative Description: Patient has healed well from his surgery. He
will follow up with the orthopedics and neurosurgery teams regarding his
comorbidities from the accident and related surgeries. He should follow
up in the plastic cliinine in approximately one month to re-evaluate the
healing of this clavicular wound.

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LAC+USC Medical Center Live
SINGLE ASSESSMENT
Printed: Mon Sep 21, 2009 12:14 PM By Jorge Stopani
For: 08/28/2009 1326
Patient: MADRIGAL, CARLOS aay M Fac/Camp: G/G MRUN: 480-09-17
DOB: 10/18/1984 Loc: ROR Acct #:9384879

Admit: 08/25/2009 1030
Disch:

08/28/2009 1326 ONGO

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ORTHO - TRAUMA WHITE
Fracture Clinic Note

Assessment
* 24yo RHD M s/p L

LOS: 27 Adm Phys: Physician Ro
Diagnosis: V65.0 Healthy Person W Sick

ING Ryan Dellamaggiora, MD

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clavicle, scapula, multilevel T-spine fx. DOI

07/13/09, MCA. L clavicle ORIF DOS 08/04/09; T3-T10 fusion 07/14/09. No
F/C. Paraplegic secondary to accident, in wheelchair. No OT.

PE: wheelchair
Gen - NAD
LUE -

 

NTTP clavicle, scapula

well-healed scars over scapula (and L hip) - no drainage/ e/o infection
AROM shoulder - minimal

PROM shoulder - FF 1
by pain)

0/5 strength shoulde:
FROM, 5/5 strength e

40, abd 40 (limited by pain), minimal IR/ER (limited

xr
lbow, hand

SILT over deltoid, FDWS, IF, SF

brisk CR

XR- L clavicle - HWI:

A/P
24yo RHD s/p L clavi

L scapula - £x healing

cle ORIF 08/04/09, L scapula fx, multilevel T-spine

fusion 07/14/09. DOI 07/13/09 MCA. Loss of ROM and strength L shoulder.

-OT to see pt today

‘cor L shoulder ROM and strengthening: ROM to 90

degrees, no overhead activity

-RTC 3wks with L sho

ulder and scapula series

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716

 
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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 78 0f 152 Page ID#:78

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{ Page 1
LAC+USC Medical Center Live
SINGLE ASSESSMENT
Printed: Mon Sep 21, 2009 12:14 PM By Jorge Stopani
For: 09/01/2009 1755
Patient: MADRIGAL,CARLOS 24Y M Fac/Camp: G/G ‘MRUN: 480-09-17
DOB: 10/18/1984 Loc: ROR Acct #:9384879
Admit: 08/25/2009 1030 LOS: 27 Adm Phys: Physician Ro
Disch: Diagnosis: V65.0 Healthy Person W Sick
09/01/2009 1755 ONGOING Brian Lee, MD

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NEUROSURGERY (BLUE)
Physician Exam

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PATIENT ID
* Patient ID 24 yo s/p MCA T-spine fx at T5. DOI 07/13/09. 3-T10
fusion 07/14/09. Paraplegic secondary to accident, in wheelchair. Pt
went to Rancho for rehab after discharge for 1 week. Did well.
Currently unable to move legs and sensation ends just below the nipples
T5 dermatome.

 

wheelchair

A&Ox3, NAD

P3-2b, EOMI

RUE 5/5

LUE 4/5

well-healed scars over scapula

0/5 strength L shoulder

SILT

incision healing welll, no draining, intact

A/P

24 yo s/p T3-T10 fusion 07/14/09, paraplegic, sensory to T5 level.

- Pt doing well

- several nylon sitches removed from incision

- RTC in 6 months with XR thoracic AP and lateral on same day as clinic

- G/w Dr. Farin

Lee 112254

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LAC+USC Medical Center Live

| SINGLE ASSESSMENT

Printed: Mon Sep 21, 2009 12:15 PM By Jorge Stopani
For: 09/11/2009 1055

Patient: MADRIGAL,CARLOS 24Y¥ M Fac/Camp: G/G MRUN: 480-09-17
DOB: 10/18/1984 Loc: ROR Acct #:9384879
Admit: 08/25/2009 1030 LOS: 27 Adm Phys: Physician Ro
Disch:

09/11/2009 1055

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ORTHO - TRAUMA WHITE

Diagnosis: V65.0 Healthy Person W Sick

ONGOING Rey N Ramirez, MD

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Fracture Clinic Note

* ORTHO - TRAUMA WHITE
Fracture Clinic Note
Assessment
*  24yo RHD M s/p L clavicle, scapula, multilevel T-spine fx. DOI

07/13/09, MCA. L clavicle ORIF DOS 08/04/09; T3-T10 fusion 07/14/09. No
F/C. Paraplegic secondary to accident, in wheelchair. due to start

rancho soon :

PE: wheelchair
Gen - NAD

LUE - .

NTTP clavicle, scapula

well-healed scars over scapula (and L hip) - no drainage/ e/o infection
ABROM shoulder - minimal

PROM shoulder - FF 140, abd 40 (litiited by pain), mininial IR/ER (limited
by pain)

2/5 strength shoulder

nontender over clavicle

FROM, 5/5 strength elbow, hand

SILT over deltoid, FDWS, IF, SF

brisk CR

 

XR- L clavicle - HWI with healing; L scapula - fx healing

A/P
24yo RHD s/p L clavicle ORIF 08/04/09, L scapula fx, multilevel T-spine
fusion 07/14/09. DOI! 07/13/09 MCA. Loss of ROM and strength L shoulder.
-continue rom, begin strengthening

«RTC 6wks with L shoulder and scapula series

- okay for all rehab activites at rancho

page

 
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 80 0f 152 Page ID #:80

a ny ©

Name=MADRIGAL, CARLOS | MRUN=4 80-09-17
DOB= 10/18/1984 Sex=M Acct #=9194552
Loc/Svc=/GORTHO Admit Date=07/14/2009
FINAL REPORT Discharge Date=08/07/2009

GH DISCHARGE SUMMARY

FSSSS SS SAS SS SSS SSS SSS SSR RSS aera esses seems eens

esses

** REVISED on 08/12/2009 1837 by SR **
Date of Admission: 07/14/09 Department:

Date of Discharge: 08/07/09

 

Hospital Course: The patient is a 24-year-old male who was involved in
a motor vehicle accident on 07/14/09. He was brought in to the
Emergency Department and admitted to the Intensive Care Unit with the
injuries: T4 transverse process fracture, T5, T6 fracture with anterior
pulsion fracture into the spinal canal, resulting in paraplegia-loss of
sensation and motor from the T5 dermatome down, left open clavicle
fracture with large wound defect, scapula fracture, left second
posterior rib Fracture:

The patient was moni tored in the Intensive Care Unit and taken to the
operating room by Neutosurgery on 07/14/09 for T5-T7 laminectomies, T6
reduction, fusion of T3- -T10, repair of dural tear. He had a lumbar
drain placed for cerebrospinal fluid leak. A wound vac was applied to
the left clavicle fracture and wound defect after I&D and washout. The
patient continued to have regular q3 day wound vac changes to the left
clavicle. The patient was deemed stable for transfer from the Intensive
Care Unit to the floor by Neurosurgery. The lumbar drain was pulled.

The patient was transferred to Orthopedics White Trauma Team for surgery
to the left clavicle,| left scapula fracture was deemed nonoperative.
Collaboration with the Plastics Team was made to coordinate repair of
the clavicle with repair of the wound defect. On 08/04/09 the patient
was taken to the operating room for left clavicle open reduction
internal fixation with left hip iliac crest bone graft and skin flap
placed by Plastics Team. The operation went well without complications.

The patient did well| for the postoperative course and was ready to be
transferred to rehab on 08/07/09.

At the time of discharge, the patient was afebrile, vital signs stable,
pain well controlled.| He had been seen by both Physical Therapy and
Occupational Therapy who both believed that he could benefit from a
rehabilitation center, and he was accepted to Rancho Los Amigos
Rehabilitation Center, At the time the patient left, he was scheduled
to return with follow-up appointments with Neurosurgery, Orthopedics
White, and Plastics. He was instructed to wear his TLS brace per
Neurosurgery. He was to be non-weight-bearing on the left upper
extremity. The patient had full understanding of all discharge
instructions and treatment plan at the time of discharge.

The Discharge Plan was discussed with the attending physician, and

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Page 2
Name=MADRIGAL, CARLOS | MRUN=480-09-17
DOB= 10/18/1984 Sex=M Acct #=9194552
Loc/Sve=/GORTHO | Admit Date=07/14/2009
FINAL REPORT Discharge Date=08/07/2009
GH DISCHARGE SUMMARY
SSPSSE RRS RS RSS SRM MSS SSeS KAUR BRR SKS S eS ees R STS ses Ese Sse sees Sse
he/she concurs with this discharge plan.
Dictated By: Shelby Resnick, M.D.
Job#/Transcriber's Initials: 083115/mm
Page
80
 Dictatea By=RESNICK, SHELBY (MD) D/T=08/09/2009 1145
Text Status=REVISED FINAL
Elec Signed By= (Electronic Signature) D/T=08/12/2009 1837

RESNICK, SHELBY (MD) |
Transcribed By=METHENY , MAUREEN D/T=08/10/2009 1145

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 82 0f 152 Page ID #:82

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Name=MADRIGAL, CARLOS MRUN=480-09-17

DOB= 10/18/1984 Sex=M Acct #=9194552
Loc/Svc=/GORTHO i Admit Date=07/14/2009
FINAL REPORT Discharge Date=08/07/2009
REPORT OF OPERATION-GH OPS

SRS SSSR SSS SM SS RSS CMS SSCS S SSS tee see eee SSS reese sss srs sess ssw

REPORT OF OPERATION

DEPARTMENT : Surgery | DATE OF OPERATION: 08/04/09.
ATTENDING: Dr. Kim
PRIMARY SURGEON: Joseph Carey, MD -
ASSISTANT (S): Ali soitani, MD

ANESTHESIA: General endotracheal anesthesia.

PREOPERATIVE DIAGNOSIS: Open wound, left clavicular region, open
clavicular fracture. | Status post motorcycle accident.

POSTOPERATIVE DIAGNOSIS: Open wound, left clavicular region, open
clavicular fracture. | Status post motorcycle accident.

 

PROCEDURE (S): Mobilization of deltopectoral advancement flap,
approximately 40 square centimeters. Mobilization of neck advancement
flap, fasciocutaneous approximately 20 square centimeters. Mobilization
of posterior neck advancement flap from trapezial region,
fasciocutaneous approximately 20 square centimeters. Primary closure of
layer complex closure in the left neck.

INDICATIONS: This is a 25-year-old male who is status post motorcycle
accident, during which he suffered an open clavicular fracture. Based
on the patient's history of a paraplegia, secondary to the accident, and
open clavicle, the orthopedic surgeons deemed him a good candidate for
open reduction and internal fixation of the clavicle. Based on the fact
there is an open wound as well, the consideration was for coverage of
the wound. Plastic surgery was consulted for coverage of the wound.

RISK NOTE: The patient had an opportunity to discuss the indications
for the procedure, including, but not limited to, pain, bleeding, risks
of the anesthesia, and risk of death, also risk of wound failvre,
possible need for future free flaps, or other reconstructive options.

We had an opportunity, to discuss at length prior to the surgery, the
possibilities for closure of the wound, including primary closure,
versus local rotational flaps, versus possible free flaps. He
understood the reconstructive hierarchy and agreed to allow us to make a
judgment in the operating room.

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Page 2
Name=MADRIGAL, CARLOS MRUN=480-09-17
DOBe 10/18/1984 Sex=M Acct #=9194552
Loc/Svc=/GORTHO Admit Date=07/14/2009
FINAL REPORT Discharge Date=08/07/2009
REPORT OF OPERATION-GH OPS

OPERATIVE FINDINGS: (Upon completion of the part of the operation by the
orthopedic surgeons, we entered the operating room and evaluated the
wound. We found that due to the local tissue forces, would be likely
salvageable wound by /local tissue advancement flaps. The deltopectoral
flap was designed and mobilized without rotational configuration.
Primary closure was achieved using multiple layers under minimal
tension. \

 

PROCEDURE: The attending, Dr. Kim, was present for the case. Upon
completion of the open reduction and internal fixation of the clavicle
by the orthopedic surgeons, we entered the operating room. We began the
operation by assessment of the wound, and found that the deltopectoral
region could be mobillized. The Geltopectoral region was mobilized in
the subpectoral fascial plane, for an area of approximately 40 square
centimeters. This area was then able to be mobilized towards the neck.
The sternocleidomastoid region was then mobilized in the fasciocutaneous
plane. It was able to be pulled towards the deltopectoral flap, with
minimal tendon. Finally, a posterior neck trapezial fasciocutaneous
advancement flap was ‘dissected. All dissection was carried out in the
subfascial plane. Care was taken to avoid damage to nerves, and deeper
structures. Care was! taken to avoid damage to the accessory nerve,
which was visualized during the case. Once all flaps were mobilized in
their full positions,| a test stitch was placed and found to be able to
close the 3 corners of the wound without difficulty. A JP drain, size
7, was left in position, and the tissues were closed under minimal
tension with the deepest layer of 0 Vicryl, followed by a subdermal
layer of 2-0 Maxon, followed by a superficial layer of running 5-0 fast
gut suture. The wound was then dressed in a sterile dressing, with
placement of Bactroban and Xeroform over the dressing, and then secured
with an ABD pad. The left upper extremity was placed ina sling. All
sponge, needle, and instrument counts were correct at the end of the
case for the plastic surgery part, and there were no complications.

COMPLICATIONS: None.

ESTIMATED BLOOD LOSS: Will be dictated in a separate part by the
pediatric surgeons.

Dictated By: Joseph carey. MD

Job ID#: 082431/sag

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82
Sema Peete Sse SRS SSS STE Me Se CNB RST SSS SCS SS SOCKS SKS ES SSK SSS SSS SS SS SSS SSS SSS SSS
Dictated By=CAREY,UOSEPH N (MD) D/T=08/04/2009 1424
Text Status=FINAL
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CAREY,JOSEPH N (MD)
Transcribed By=GARO, SUE D/T=08/05/2009 1424
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 840f152 Page ID #:84

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Name=MADRIGAL, CARLOS ” MRUN=480-09-17
DOB= 10/18/1984 Sex=M Acct #=9194552
Loc/Svc=/GORTHO Admit Date=07/14/2009
FINAL REPORT Discharge Date=08/07/2009

REPORT OF OPERATION-GH OPS

we REVISED on 07/16/2009 2012 by CHB **
REPORT ‘OF OPERATION
DEPARTMENT: ACUTE CARE SURGERY SERVICE
DATE OF OPERATION: 07/13/2009
SURGEON: Kenji Inaba, MD

ASSISTANTS: Benjamin Chen, MD; Paul Sanders, MD; also present
orthopedic service

ANESTHESIA: General endotracheal anesthesia.

PREOPERATIVE DIAGNOSES: Open left clavicular fracture, open left neck
wound.

POSTOPERATIVE DIAGNOSES: Open left clavicular fracture, open left neck
wound, small venous tributary avulsion in the clavicular area.

PROCEDURES PERFORMED:| Left neck wound exploration, ligation of small
venous tributaries, washout, left chest tube placement.

 

INDICATIONS: The patient is a 24-year-old male who presented to LAC+uSC
medical center status post a motorcycle accident. The patient arrived
in the resuscitation bay in C-collar with a large open left clavicular
fracture and large neck wound. Initial venous bleeding seen from the
wound site was controlled with ligation of the external jugular vein.

No active bleeding or expanding hematoma was seen in the open neck
wound. The patient was insensate with loss of motor function below the
T5-T6 region and no anal tone. Neurosurgery RB'd the patient to the
operating room for repair of the thoracic spine injuries. The trauma
team was present for the RB.

PROCEDURE: The neck wound was explored by extension of the laceration
laterally. A portion of the pectoralis major was divided, and 2 bony
fragments of the mid clavicle were removed. The left subclavian artery
was exposed with good! arterial pulse palpable. No left subclavian
arterial injury was seen, which confirmed CT findings. The left carotid
pulse was palpable. A small venous tributary in the posterior neck area
as well as adjacent to the pectoralis major muscle was ligated with 0
silk ties. The internal jugular vein was ligated with an 0 silk tie on.
the left side. The field was hemostatic. At this time, the orthopedic

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 85 of 152 Page ID #:85

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; Page 2
Name=MADRIGAL, CARLOS: MRUN=480-09-17
DOB= 10/18/1984 Sex=M Acct #=9194552
Loc/Svc=/GORTHO | Admit Date=07/14/2009
FINAL REPORT Discharge Date=08/07/2009
REPORT OF OPERATION-GH OPS
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service joined. A washout of the open left clavicular fracture as well
as the left neck wound was done. This portion of the operation will be
dictated by the orthopedic service. The left chest was re-draped
following the orthopedic washout and wound V.A.C. placement on the open
left clavicular fracture as well as the left neck open wound. A
32-French chest tube |was placed in the 5th intercostal space on the left
side and put to Pleur-evac suction. Approximately 50 mL of venous blood
was evacuated. No evidence of air leak. The needle count, lap count,
and instrument count was correct for this portion of the operation. The
neurosurgical intervention and, again, the orthopedic interventions will
be dictated by their|respective services. The patient maintains a
palpable left carotid pulse and a strong left radial pulse following
intervention.

COMPLICATIONS: None.
FLUIDS: Please see anesthesia records.

ESTIMATED BLOOD LOSS: Please see anesthesia records.
Dictated By: Benjamin Chen, MD

Job ID#: 79199/saf

 

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84
Sree oRM SSR SRK KS Seer Ses as ees Me SRR SMHS ROS SSS SS RM SRS KK SSMS SSS SSSR SSS SSH SR
Dictated By=CHEN, BENJAMIN (MD) D/T=07/14/2009 1330
Text Status=REVISED FINAL . |
Blec Signed By= (Electronic Signature) D/T=07/16/2009 2012

CHEN) BENJAMIN (MD) . .
Transcribed By=FARGUS|, SHARON A D/T=07/14/2009 1330
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 86 of 152 Page ID #:86

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Name=MADRIGAL, CARLOS ‘ MRUN=480-09-17
DOB= 10/18/1984 Sex=M Acct #=9194552
Loc/Svc=/GORTHO Admit Date=07/14/2009
FINAL REPORT Discharge Date=08/07/2009
REPORT OF OPERATION-GH OPS ,
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cc: CHEN,B

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Name=MADRIGAL, CARLOS MRUN=480-09-17
DOB= 10/18/1984 Sex=M Acct #=9194552
Loc/Svc=/GORTHO Admit Date=07/14/2009
FINAL REPORT | Discharge Date=08/07/2009
REPORT OF OPERATION-GH OPS

REPORT OF OPERATION

DEPARTMENT : NEUROSURGERY DATE OF OPERATION: July 14, 2009

ATTENDING: AZADEH FARIN, M.D.

SURGEON: AZADEH FARIN, M.D.
ASSISTANT (S): JESSE (IL. WINER, M.D.
ANESTHESIA: General jendotracheal anesthesia.

PREOPERATIVE DIAGNOSES: TS fracture of posterior elements. T6
three-column injury, jtrans fracture with injury to 3 columns. Spinal
cord compression. Complete spinal cord injury. Spinal canal compromise.
Instability. Kyphotic deformity at T6.

POSTOPERATIVE DIAGNOSES: TS fracture of posterior elements. T6
three-column injury, |jtrans fracture with injury to 3 columns. Spinal
cord compression. Complete spinal cord injury. Spinal canal compromise.
Instability. Kyphotic deformity at T6é.

PROCEDURE(S): 15, T6, T7 laminectomies. T6 reduction of kyphotic
deformity. Fusion from T3 to T10 with Theken system. Repair of traumatic
dural tear.

 

INDICATIONS: The patient is a 24-year-old male who was the unfortunate
victim of a motorcycle accident. He suffered what appears to be a
3-column fracture through T6 causing canal compromise, cord compression,
and complete spinal cord injury as well as resulting in an unstable
kyphotic deformity. He had a corresponding level on examination. He was
. t . eos
considered to be a complete spinal cord injury; however, because of the
remote possibility he would regain any function if decompressed acutely,
we decided to decompress him immediately and give him this possibility.
We explained to him that the chances were extremely unlikely that he
would ever have any tleaningful motor function but we were willing to
operate on him immediate to aid with this possibility.

RISK NOTE: The risks), benefits, alternatives, complications, hazards,
and expectations of the surgical procedure were described to the patient
and his family in great detail. They understood and accepted the risks
to include but not be] limited to bleeding, stroke, infection, death,
coma, neurological deterioration, paralysis, numbness, failed surgery,

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Page 2
Name=MADRIGAL, CARLOS | MRUN=480-09-17
DOB= 10/18/1984 Sex=M Acct #=9194552
Loc/Svc=/GORTHO Admit Date=07/14/2009
FINAL REPORT Discharge Date=08/07/2009
REPORT OF OPERATION-GH OPS
SSS SST SSS STS TASK SoS S SSCS RS SST KS SSS SSS SRS SSeS ST SS SSS ST Tee Sr SSS sss sss sss

need for further surgery, failed instrumentation, need for revision
surgery. The patient and his family understood and accepted the risks;
they desired to proceed with surgery; informed consent was obtained. No
guarantees were given or implied. All questions were answered to their
satisfaction.

PROCEDURE: After the satisfactory induction of general endotracheal
anesthesia, a central line was placed. First, trauma surgery addressed
the left shoulder wound . After that, the patient was maintained in spine
precautions and turned over onto a Jackson table. His back was shaved
and prepped. Fluoroscopy was used to determine an incision from
approximately T3 to T9-T10. All pressure points were padded on the
Jackson table; his gonads were free. After surgical pause was carried
out, local was injected into the wound. Incision was carried out from T3
to approximately T9-T10 in the midline. Self- -retaining retractors were
placed. Subperiosteall muscle dissection was carried out bilaterally to
expose the facets at f2-T3 all the way down to T8-T9. Then the Theken
system was used to place pedicle screws at T3, T4, T5, T7, T8, and T9
bilaterally. This was’ done freehand with fluoroscopic guidance to check
screw placement. At this point a temporary rod was placed on the left
side and secured. Unfortunately, because of the nature of the kyphotic
deformity, the temporary rod caused the T8 screw on the left side to
pull out. Therefore, the fusion was extended down to the T10 level on
the left side. The temporary rod was removed from the left side and
placed on the right side but with a greater kyphotic angle to it so
screw pullout would not be an issue with the temporary rod placed on the
right side. With the temporary rod in place and the patient somewhat
stable at this point,}| we began the decompression laminectomies at T5,
T6, and T7. Copious amounts of cerebral spinal fluid were encountered.
The thecal sac was widely decompressed and shrunken because of the
extent of CSF that had already left the canal due to the traumatic
injury. There were large amounts of epidural bleeding because of the
small size of the thecal sac. Adequate decompression was carriéd out at
T5, T6, and T7. All bone fragments were removed from the canal. The
epidural space was hemostatic. The traumatic dural tear from the injury
was sealed first with! a fat graft and then a piece of DuraGen and
finally Tisseel. At this point compression was used to correct the
kyphotic deformity resulting in a Cobb angle of 15 degrees instead of
the preoperative Cobb) angle of 27 degrees between T5 and T7. The set
screws were torqued. Irrigation was carried out. The laminar transverse
spinous processes were decorticated. A Theken crosslink was placed
across approximately T6. Four syringes of Actifuse followed by a mix of
autograft were placed! in the fusion bed to help with the fusion process.

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87
Case 2:14-cv-04242-SS

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Name=MADRIGAL, CARLOS °
DOB= 10/18/1984
Loc/Svc=/GORTHO
FINAL REPORT

oO

Sex=M

Document 1. Filed 06/02/14 Page 89 of 152 Page ID #:89
Page 3

MRUN=480-09-17
Acct #=9194552
Admit Date=07/14/2009
Discharge Date=08/07/2009

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REPORT OF OPERATION-GH OPS

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cIKKctK tm emer emir ere eer ee ee eee eS sees
SSS SS SSS SSK SSK SSS SS SSS SS SSS SS VSS SSK SSS SSeS

Two #7 flat lumbar Jackson-Pratt drains were placed in the wound. The
- Muscles were approximated followed by the fascia with 1-0 Vicryl

interrupted stitches.

The dermal layer was closed with 3-0 Vicryl

interrupted buried stitches. The skin was closed with running Biosyn.
The drains were sutured in place. Hardware placement was confirmed with
fluoroscopy and demonstrated excellent hardware placement. The patient
was taken to the intensive care unit in stable condition.

SPECIMENS: None.
COUNTS: Sponge, lap,
COMPLICATIONS: None.

ESTIMATED BLOOD LOSS:
Dictated By:

Job ID#: 079284/ems

Dictated By=FARIN,
Text Status=FINAL
Elec Signed By= (Elec

FARI

Transcribed By=SCHWAR

needle, and instrument counts correct.

See anesthesia record.

AZADEH FARIN, M.D.

Page
88
MZADEH (MD) D/T=07/14/2009 1306

tronic Signature)
N,AZADEH (MD)
TZENBERGER, EILEEN M

D/T=08/18/2009 1826

D/T=07/14/2009 2146

 
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 90o0f152 Page ID #:90

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LaC+USC Medical Center Live
RESULTS FOR DATE & VIEW, SUMMARY
Date=07/13/2009, Result View=NET WORK VIEW
Printed Mon Sep 21, 2009 12:18 PM By: JS,IS

MRUN: 480-09-17
Acc#: 9384879

Name :MADRIGAL, CARLOS Sex:M DOB: 10/18/1984
_ Loc:ROR Adm: 08/25/09 Att:
Unresulted Orders Across Visits: -
07/13/09 1837s CANCELLED ROIWDFW-1
CT/ER ABDOMEN/PELVIS W/CONTRAS
07/13/09 1837 s CANCELLED ROLWDFZ-1
CT/ER CHEST W/CONTRAST
07/13/09 1907 p COMPLETED ROLWDG3-1

XR/ER PELVIS AP

Resulted Orders for 07/13/,
Acct#: 9194552 GORTHO Adm:

Ord #= LODPHNQ-1

i

2009, Across Visits:
07/14/09-08/07/09

*ASAP* /RESULTED

BLOOD GAS,ARTERIAL (CORE LAB)

Collect D/T= 07/13/2009 2300

(1 of 8)
pH UNITS
MM HG
MM HG

 

 

Modifiers:
PH ARTERIAL, CORRECTED: 7.27
PCO2 ARTERIAL, CORRECTED: 44
PO2 ARTERIAL, CORRECTED: 436
PO2 (A-a), CORRECTED: 83
PH ARTERIAL, RAW: L:7.27 (7.35 - 7,45)
‘CO2 ARTERIAL, RAW: 44 {35 ~ 45)
PO2 ARTERIAL, RAW: 436 (>75)
HCO3 ARTERIAL: L 20 (22 - 27)
BASE DEFICIT: 6.1

Comment :

REFERENCE RANGE 0-2 .

O2 SAT,ARTERIAL: H 99 (94 - 98)
APPROX O02 CONTENT, ARTERIAL: 14

Comment :

REFERENCE RANGE NOT ESTABLISHED, LOCAL AND/OR NATIONAL.

TOTAL HB: L 10.4 (13.8 - 16.9)
HEMATOCRIT: L 31.0 (41.0 - 50.0)
OXY HB: 98.6 (>95.0)
CARBOXY HB (ARTERIAL): 0.5 (<2.5)

Comment:

<2.5 NON-SMOKERS

MET HB: L 0.1 (1.1 - 2.4)
ANION GAP: 13 (10 - 20)
SODIUM: 145 (135 - 145)
POTASSIUM: H 5.0 (3.3 - 4.9)

Comment :

NOTE: Whole Blood Pot
specimen is hemolyzed.

reference ranges are| different:

Whole blood: 3.3-4.9

mmol/L serum: 3.5-5.1 mmol/L.

 

MM

pH
MM

MM

HG
UNITS
HG
HG

mmol/L
mmol/L

mmok/L
mmol/L
mmol/L

assium levels may be falsely elevated if the
In addition, whole blood and serum potassium

Page
89
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 91 0f152 Page ID #:91

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; Page 2
LAC+USC Medical Center Live
RESULTS FOR DATE & VIEW, SUMMARY
Date=07/13/2009, Result View=NET WORK VIEW
Printed Mon Sep 21, 2009 12:18 PM By: Js,Is

Name: MADRIGAL, CARLOS Sex:M DOB:10/18/1984 , MRUN: 480-09-17
Loc:ROR Adm: 08/25/09 Att: Acc# : 9384879
Acct#: 9194552 GORTHO Adm: 07/14/09-08/07/09

CALCIUM, LONIZED: | L 4.3 (4.5 - 5.3) mg/dL
‘CHLORIDE: H 117 (100 - 110) mmol/L
GLUCOSE: H 178 (65 - 99) mg/dL
UREA NITROGEN (BUN): 20 (8 - 22) mg/dL
CREATININE: 0.9 (0.5 - 1.3) mg/dL
BUN/CREAT RATIO: H 23 (12 - 20)
LACTATE: H 2.6 (0.5 -~ 1.6) mmol/L
PT TEMP: 37.0 DEG C
FIO2: 80 %
SAMPLE SITE: ARTERIAL

POSITION: SUPINE

LAB LOCATION: CORE LAB
Ord #= LODPHFL-1 *ASAP* /RESULTED Collect D/T= 07/13/2009 2204
BLOOD GAS,ARTERIAL (CORE LAB)

Modifiers: (2 of 8)
PH ARTERIAL, CORRECTED: . 7.32 PH UNITS
PCO2 ARTERIAL, CORRECTED: 31 MM HG
p02 ARTERIAL, CORRECTED: 386 MM HG
PO2 (A-a), CORRECTED: 216 MM HG
PH ARTERIAL, RAW: L 7.32 (7.35 - 7.45) pH UNITS
PCO2 ARTERIAL, RAW: B 31 (35 - 45) MM HG
P02 ARTERIAL, RAW: 386 (>75) MM HG
HCO3 ARTERIAL: L.1i5 (22 - 27) mmol/L
BASE DEFICIT: 9,3 mmol/L

Comment :
REFERENCE RANGE 0-2
02 SAT,ARTERIAL: H99 (94 ~ 98) %
APPROX 02 CONTENT, ARTERIAL: 12 mL&
Comment :
REFERENCE RANGE NOT ESTABLISHED, LOCAL AND/OR NATIONAL.
TOTAL HB: L 8.4 (13.8 - 16.9) g/dL
HEMATOCRIT: L 25.0 . (41.0 - 50.0) %
OXY HB: 98.8 (>95,.0) %
CARBOXY HB (ARTERIAL) : 0.3 (<2.5) %
Comment :
<2..5 NON-SMOKERS
MET HB: L 0.2 (L.1 - 2.4) &
ANION GAP: 12 (10 - 20) mmol/L
SODIUM: H 146 (235 ~ 145) mmol/L
POTASSIUM: 3.9 (3.3 - 4.9) mmol/L
Comment:

NOTE: Whole Blood Potassium levels may be falsely elevated if the
specimen is hemolyzed. In addition, whole blood and serum potassium
reference ranges are} different: Page

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 92 0f152 Page ID #:92

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LAC+USC Medical Center Live
RESULTS FOR DATE & VIEW, SUMMARY

Date=-07/13/2009, Result View=NET WORK VIEW
Printed Mon Sep 21, 2009 12:18 PM By: J3S,IS

Name : MADRIGAL, CARLOS
Loc:ROR

Adm: 08/25/09 Att:

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Sex:M MRUN: 480-09~-17

Acc#: 9384879

DOB:10/18/1984

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Acct#: 9194552 GORTHO adm! 07/14/09-08/07/09

 

Whole blood: 3.3-4.9 |mmol/L serum: 3.5-5.1 mmol/L.
CALCIUM, IONIZED: L 3.9 (4.5 - 5.3) mg/dL
CHLORIDE: H 122 (100 - 110) mmol/L
GLUCOSE: H 3124 (65 - 99) mg/dL
UREA NITROGEN (BUN): 15 (8 - 22) mg/dL
CREATININE: 0.6 (0.5 - 1.3) mg/dl
BUN/CREAT RATIO: H 24 (12 - 20)
LACTATE: 1.5 (0.5 - 1.6) mmol/L
PT TEMP: 37.0 DEG C
FIO2: 90 &
SAMPLE SITE: ARTERIAL
POSITION: SUPINE
LAB LOCATION: CORE LAB
Ord #= ROLWDG2-1 *ASAP* /SIGNED Perform D/T= 07/13/2009 1922
XR/ER CHEST PORTABLE
Modifiers: (3 of 8)
XR/ER CHEST PORTABLE:
Location: MEDICAL CENTER
Rev Phys: John Park,| M.D.
Ref Phys: MATTHIEU PB DE CLERCK, MD
Clinic/Ward: ED
Date Dict: 07/13/2009 19:22:07
Date Trans: 07/14/2009 09:00:17
Dict Job #: 17072 / (379627492
Tran ID: dJP:MedQ R:
Date of Exam: 07/13/2009
Acct#: 9194552 Ordér#: RO1WDG21 Interface Code: 15955
CHEST X-RAY AND PELVIS STUDY
CLINICAL HISTORY: Auto versus motorcycle.
COMPARISONS: None available.
FINDINGS: Chest: No, pneumothorax or focal contusion is
identified. The cardiomediastinal contours are grossly within
normal limits. There are fractures involving the posterior left
second and possibly first ribs as well as the mid clavicle with
associated bony left beape There is cortical irregularity of the
glenoid of the lef capula likely related to a fracture.
Unclear if the left scapular body is also injured. Correlation
Page
91

 
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 93 0f152 Page ID#:93

LAC+USC Medical Center Live
RESULTS FOR DATE & VIEW, SUMMARY

-Date= 07/13/2009, Result View=NET WORK VIEW
Printed Mon Sep 21, 2009 12:18 PM By: JS,IS

Page 4

Name :MADRIGAL, CARLOS DOB:10/18/1984 MRUN: 480-09-17
Loc:ROR Adm: 08/25/09 Att: Acc#: 9384879

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Sex:iM

with CT scan is recommended.

The
No dislocations are

Pelvis: No definite ildisplaced fractures are identified.
bones demonstrate normal mineralization.
seen.

No acute cardiopulmonary processes.
and scapular fractures. 2.
s.

IMPRESSION: 1.
left rib, clavicle,
injuries to the pelvil

Multiple
No acute osseous

Edited on:
Previous Result:

The Staff Physician a
Electronically signed
John Park, M.D.

SIGNED BY STAFF PHYSTI

kkk kk eK ek

07/14/2008

riginated this document.
on 07/19/2009 22:00:32 PDT

CIAN

END OF REPORT* *# # * *¥ 8 ¥ *

@ 2212 by SYS, IS

Location: MEDICAL CENTER

Rev Phys: John Park, M.D. _

Ref Phys: MATTHIEU B DE CLERCK, MD
Clinic/Ward: ED

Date Dict: 07/13/2009 19:22:07
Date Trans: 07/14/2009 09:00:17
Dict Job #: 17072 / 379627492

Tran ID: JP:MedQ R:

Date of Exam: 07/13/2009

Acet#: 9194552 Orde

CHEST X-RAY AND PELVI

CLINICAL HISTORY: Au

COMPARISONS: Norie av
Chest: No
The card

There

FINDINGS:
identified.
normal Limits.

beet :

ROIWDG21 Interface Code: 15955

S STUDY
to versus motorcycle.
Ailable.

pneumothorax or focal contusion is
iomediastinal contours are grossly within
are fractures involving the posterior left

Page
92

 
Name: MADRIGAL, CARLOS
Loc: ROR Adm: 08/25/09

Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 94o0f152 Page ID#:94

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Page 5
LAC+USC Medical Center Live
RESULTS FOR DATE & VIEW, SUMMARY
Date=07/13/2009, Result View=NET WORK VIEW
Printed Mon Sep 21, 2009 12:18 PM By: JS,IS
Sex:M DOB:10/18/1984 MRUN: 480-09-17

Att:

Acct#: 9194552 GORTHO Aam: 07/14/09-08/07/09

Acc#: 9384879

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second and possibly first ribs as well as the mid clavicle with

n There is cortical irregularity of the
glenoid of the left |scapula likely related to a fracture.
Unclear if the left scapular body is also injured. Correlation
with CT scan is reconmended.

associated bony fragments.

Pelvis: No definite j|displaced fractures are identified. The

bones demonstrate normal mineralization.

seen.

No dislocations are

IMPRESSION: 1. No acute cardiopulmonary processes. Multiple
left rib, clavicle, and scapular fractures. 2. No acute osseous

injuries to the pelvis.

Dictated by John Park, M.D.

UNVERIFIED - UNSIGNED

* & ke kK eK ke Kk *

Ord #= LODPGHF-1
PROTHROMBIN TIM
Modifiers:
PRO TIME:
INR:

Ord #= LODPGHG-2

BASIC METABOLIC
Modifiers:

ANION GAP (STAT):
SODIUM (STAT) :
POTASSIUM (STAT):
CHLORIDE (STAT):
CARBON DIOXIDE (STAT):
GLUCOSE (STAT):

UREA NITROGEN (BUN) (STAT
CREATININE (STAT):
CALCIUM (STAT):

Ord #= LODPGHH-1
CBC WITH DIFFER
Modifiers:

*ASAP* /RESULTED

0.97

*ASAP* /RESULTED

16
145
4.1
106
27
89
d: 17
1.21
9.3

*ASAP* /RESULTED

 

END OF REPORT *® * * * * ¥ x &

Collect D/T= 07/13/2009 1837

(4 of 8)
(12.4 - 14.8) sec
(0.89 - 1.11)

Collect D/T= 07/13/2009 1837

(5 of 8)

(10 - 20) mmol/L
(135 - 145) mmol/L
(3.5 - 5.1) mmol/L
(100 - 110) mmol/L
(20 - 30) mmol/L

(65 - 99) mg/dL

(8 - 22) mg/dL
(0.50 - 1.30) mg/dL
(8.5 - 10.3) mg/dL

Collect D/T= 07/13/2009 1837

(6 of 8)

Page
93
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 95o0f152 Page ID#:95

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LAC+USC Medical Canter Live |
RESULTS FOR DATE & VIEW, SUMMARY
Date=07/13/2009, Result View=NET WORK VIEW
Printed Mon Sep 21, 2009 12:18 PM By: JS,IS

Name :MADRIGAL, CARLOS
Loc:ROR

Adm: 08/25/09

Sex:M
Att:

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DOB: 10/18/1984

Page 6

7480-09-17
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Acct#: 9194552 GORTHO adam!
WBC:

RBC:

HEMOGLOBIN:
HEMATOCRIT:

MCV:

MCH:

MCHC:

RDW:

PLATELET COUNT:

MPV:

DIFF TYPE:
NEUTROPHIL:
LYMPHOCYTE:

MONOCYTE:

EOSINOPHIL:
BASOPHIL:

ABSOLUTE NEUTROPHIL:
ABSOLUTE LYMPHOCYTE:
ABSOLUTE MONOCYTE:
ABSOLUTE EOSINOPHIL:
ABSOLUTE BASOPHIL:

Ord #= LODPGHD~1

TYPE AND SCREEN
Modifiers:

ABO/Rh-Type and Screen:

Ab Screen/Ind Coombs:

(1).

Ord #= LODQONN-1

SURGICAL PATHOL
Modifiers:
AS09-6594&rpt:

07/14/09-08/07/09

10.2
4.96
14.4

42.5

85.9

29.21

33.9

13.2

215

8.3

AUTOMATED RESULTS REPORTED

70.8

24.3

3.9

0.9

0.2

7.2

2.5

0:4

0.1

0.0
*ASAP* / RESULTED
B POs
NEGATIVE

(3.7

(4.10

(13.8
(42.0
(82.0

- (28.0
(33.0

(22.0
(150
(7.0

(42.0
(26.0
(1.0
(0.0
(0.0
(2.8
(1.2
(0.3
(0.2
(0.0

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+ 52.0)
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K/cumm
K/cumm
K/cumm
K/ecumm

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Collect D/T= 07/13/2009 1830

(7 of 8)

(NEG)

State law requires that women be notifi (1)

RESULTED

Surgical Pathology Report

Specimen(s) Recéived

Portions of left clavicle

Clinical History

 

State law requires that women be notified of their Rhesus (Rh) type.

Collect’ D/T= 07/13/2009 0000

(8 of 8)

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 96 o0f152 Page ID #:96

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Page 7
LAC+USC Medical Center Live
RESULTS FOR DATE & VIEW, SUMMARY
Date= 07/13/2009, Result View=NET WORK VIEW
Printed Mon Sep 21, 2009 12:18 PM By: JS,iS
Name : MADRIGAL, CARLOS Sex:M DOB:10/18/1984 MRON : 4480-09-17
Loc: ROR Adm: 08/25/09 Att: Acc# : 9384879

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Acct#: 9194552 GORTHO Adm: 07/14/09-08/07/09

Not stated

Gross Description

Portions of left clavicle: Received in formalin and consists of
three tan white to red brown fragments of bone and adherent
hemorrhagic tissue measuring in aggregate 3.1 x 2.1 x 0.3 om.
Representative sections are submitted in cassette A after
decalcification. (ns)

Date of Dictation: 07/15/09

Gross Description By: Megan Holden, MD
gce/7/16/2009

Microscopic Description
Performed.

Final Pathologic Diagnosis
Portions of left clavicle: Fragments of benign bone and skeletal

muscle.
Attending Pathologist: Nancy Klipfel, MD

***Electronically Signed Out By Nancy Klipfel, MD***

hing /7/21/2009

Patient Name: MADRIGAL, ‘CARLOS

Case #: ASO9- 6594

Med. Rec. #: 4800917

Location: 5B, ICU/Surg (LAC)

Date Coklected:7/13/2009 Page

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 97of152 Page ID#:97

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, Page 8
LAC+USC Medical Center Live
RESULTS FOR DATE & VIEW, SUMMARY
Date= 07/13/2009, Result View=NET WORK VIEW
Printed Mon Sep 21, 2009 12:18 PM By: JS,IS
Name: MADRIGAL, CARLOS . Sex:M DOB: 10/18/1984 MRUN: 480-09-17
Loc: ROR Adm: 08/25/09 Att: Acc#: 9384879
Acct#: 9194552 GORTHO na! 07/14/09- -08/07/09°
Page
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Case 2:14-cv-04242-SS |

LAC+USC Medical Center Live
RESULTS FOR DATE & VIEW, SUMMARY
Date=07/26/2009, Result View=NET WORK VIEW
Printed Mon Sep 21, 2009 12:18 PM By: JS,IS

Name :MADRIGAL, CARLOS
Loc: ROR Adm: 08/25

Sex:M DOB;10/18/1984

/09 Att:

oy 1 Filed 06/02/14 Page 98o0f152 Page ID#:98

MRUN: 480-09-17
Acc#: 9384879

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Unresulited Orders Across Visits:

None found

Resulted Orders for 07/26/
Acct#: 9194552 GORTHO Adm:

t

Ord #= LODVIMP-1
GLUCOSE (POCT)

Modifiers:
GLUCOSE (POCT) :
Comments:
OPERATOR ID:

LAB LOCATION:

(1) POINT OF CARE TEST-PE

Ord #= LODVIMF-1
GLUCOSE (POCT)
Modifiers:
GLUCOSE (POCT):
OPERATOR ID:
LAB LOCATION:

(1) POINT OF CARE TEST-PE

Ord #= LODV4N5-1
PARTIAL THROMBO
Modifiers:
APTT:
Comment :

FOR PATIENTS RECEIVING "UNFRACTIONATED"

ANGELES COUNTY-DHS R

2009, Across Visits:
07/14/09-08/07/09

RESULTED Collect

141

Repeat

509215

POINT OF CARE TEST-PERFORMED BY

RFORMED BY WARD PERSONNEL

RESULTED Collect

111
159278
POINT OF CARE TEST-PERFORMED BY

RFORMED BY WARD PERSONNEL

*ASAP* /RESULTED Collect

33.9

HEPARIN, THE
ECOMMENDED THERAPEUTIC RANGE IS

D/T=

(26.0 - 39.

D/T= 07/26/2009 1718

(1 of 6)
(65 - 99) mg/dL

(1)

07/26/2009 1223

(2 of 6)
(65 - 99) mg/dL

(1)

D/T= 07/26/2009 0351

(3 of 6)
0) sec

CURRENT LOS
65-100 SECONDS.

D/T= 07/26/2009 0351

(4 of 6)

-8) sec

Ord #= LODV4N5-1 *ASAP* /RESULTED Collect
PROTHROMBIN TIM

Modifiers:

PRO TIME: 14.6 (12.4 - 14

INR: 1.09 (0.89 - 2.112)
Ord #= LODV4N6-1 *ASAP* /RESULTED

BASIC METABOLIC
Modifiers:

 

 

Collect D/T= 07/26/2009 0351

(S of 6)
Page
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Case 2:14-cv-04242-SS oo 1 Filed 06/02/14 Page 99 o0f152 Page ID #:99

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Page 2
LAC+USC Medical Center Live
RESULTS FOR DATE-& VIEW, SUMMARY
Date=07/26/2009, Result View=NET WORK VIEW
Printed Mon Sep 21, 2009 12:18 PM By: JS,I8S

Name: MADRIGAL, CARLOS Sex:M DOB:10/18/1984 MRUN: 480-09-17
Loc:ROR Adm: 08/25/09 Att: Acc#: 9384879
Acct#: 9194552 GORTHO Adm:| 07/14/09-08/07/09

ANION GAP (STAT): 17 (10 - 20) mmol/L
SODIUM (STAT): 136 (135 - 145) mmol/L
POTASSIUM (STAT): 4.4 (3.5 - 5.1) mmol/L
CHLORIDE (STAT) : 110 (100 - 110) mmol/L
CARBON DIOXIDE (STAT): L 13 (20 - 30) mmol/L
GLUCOSE (STAT): H 106 (65 - 99) mg/dL
UREA NITROGEN (BUN) (STAT): H 26 (8 - 22) mg/dL
CREATININE (S'TAT) : H 1.47 (0.50 - 1.30) mg/dL
CALCIUM (STAT) : 8.7 (8.5 - 10.3) mg/dL
Ord #= LODV4N7-1 *ASAP* /RESULTED Collect D/T= 07/26/2009 0351
COMPLETE BLOOD

Modifiers: {6 of 6)
WBC: H 18.8 (3.7 - 210.3) K/cumm

RBC: L 3.74 (4.10 - 5.90) M/cumm
HEMOGLOBIN: L 11.4 {13.8 - 16.9) g/dL
HEMATOCRIT: L 32.9 (41.0 - 50.0) %

MCV: 88.1 (82.0 - 99.0) £L

MCH: 30.4 (28.0 - 33.0) pg

MCHC: 34.5 (33.0 - 35.0) g/aL

RDW: 13.8 (11.0 - 14.0) &

PLATELET COUNT: 283 (150 - 350) K/cumm

MPV: 7.3 (7.0 - 211.0) £L

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Exhibit E

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11111 SANTA MONICA BOULEVARD FRANK HUTTING
. WALTER BATT
Law Group SUITE 100 MaRTIN WOLE
LOS ANGELES, CALIFORNIA 90025 SEAN TABIRIAN
ATTORNEYS SAMIRA KERMANI
DAVID M. ‘TAGRIOFF
TELEPHONE (310) 201-7676 ¢ FACSIMILE (310) 744-0111 Jere P. Vone

KYLE K. MADISON, Esq.

EXTENSION: 7676

FAX TRANSMISSION SHEET

 

 

 

 

 

 

 

 

 

 

 

 

To: ALLSTATE INs. / ATTN: TERESA VARELA DATE: | 1-15-10

Fax #: | 909-612-2888 Paces | 5, INCLUDING THIS PAGE
FROM: MADISON Law Group Corigs: | NONE

SUBJECT: . 1. : :

 

Dear Ms. Varela:
Please find attached PlaintifPs policy demand which was sent today by certified mail.
Please contact our office with any questions at (310) 201-7676.

Very truly yours,
MADISON LAW GROUP

 

Paralegal to Kyle Madison

‘ IMPORTANT

PLEASE DELIVER
IMMEDIATELY

 

CONFIDENTIALITY NOTE: THE INFORMATION CONTAINED IN ‘THIS FACSIMILE TRANSMISSION IS LEGALLY
PRIVILEGED AND CONFIDENTIAL INFORMATION INTENDED ONLY FOR THE USE OF THE INDIVIDUAL OR ENTITY
NAMED ABOVE. IF THE READER OF ‘THIS TRANSMISSION 15 NOT THE INTENDED RECIPIENT, YOU ARE HEREBY NOTIFIED
‘THAT ANY USE, DISSEMINATION, DISTRIBUTION OR COPY OF ‘TIITS TRANSMISSION IS STRICTLY PROHIBITED. IF YOU HAVE
‘RECEIVED THIS TRANSMISSION IN ERROR, PLEASE IMMEDIATELY NOTIFY US BY TELEPHONE AND RETURN THE
ORIGINAL TRANSMISSION TO US AT THE ADDRESS ABOVE VIA THE UNITED STATES POSYIAL SERVICE. THANK YOU.

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310-744-0111
Jan-15-2010 4:23PM

    

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Job Date Time Type Identification Duration Pages Result
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Kris K, Manuon, Esq.

 

 

 

 

 

 

 

 

 

 

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Piexte find ntached Phintife policy demand abich was cent today by certified ens’
Please conniet our office wich any quertioes at (310) 202-7676.
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AW ROUP LOS ANGELES, CALIFORNIA 90025 SEAN TABIDIAN
. . SAMIRA KERMANI
ATTORNEYS Davin M. TaGniore
TELEPHONE (310) 201-7676 ¢ FACSIMILE (310) 744-0111 Jere P. Vou

KYLE K. MADISON, Esq.

JANUARY 15, 2010 EXTENSION: 7676

TERESA VARELA

ALLSTATE INSURANCE COMPANY
P.O. BOX 6517

DIAMOND Bar, CA 91765

RE: CARLOS MADRIGAL .
DATE OF LOSS: JULY 33, 2009
CLAIM NO.; 0134198462,

Dear Ms. Varela:

This letter will confirm that Plaintiffs have made a policy limits demand to Defendant RICHARD TANG
and his insurance carrier, Allstate Insurance Company, by way of a C.C.P. §998 offer for $100,000.00. We

have been advised (and relying on the assumption) that RICHARD TANG only had $100,000.00 in policy
limits and that it had no other coverage (whether by umbrella or excess.)

Allstate’s Duty to th li imit:

As you know, the implied covenant of good faith and fair dealing imposes on both insurance carriers a duty
to settle within the policy limits if it would be unreasonable not to do so. Johansen v, Cakfornia State Auto. Assn.
Inter-Las. Burea (1975) 15 Cal. 3d 9, 14-16. If a carrier unreasonably refuse to settle, it is liable for the entire
amount of any subsequent judgment against the insured, even if that judgment is in excess of the policy
limits. Id.

A duty to accept reasonable settlement demands is implied in order to protect the insured's reasonable
expectations in purchasing the insurance: "(I)n light of the common knowledge that settlement is one of the
usual methods by which an insured receives protection under a liability policy, it may not be unreasonable for
an insured... to believe that a sum of money equal to the limits is available and will be used so as to avoid
liability on his part..." Crisci v. Security Ins. Co. (1967) 66 Cal.2d 425, 431.

In this way, an insured is protected from liability in excess of the policy limits as a result of an insurer's
gamble on the outcome of the case--a gamble that only the insured stands to lose. Murphy v. Farmers Ins. Co.
(1976) 17 Cal. 3d 937, 941. As one court succinctly stated the rule, "[a]n insurer cannot unreasonably refuse
to settle within policy limits and thus gamble with its insured’s money to further its own interests.” Western
Polymer Technology, Inc. v. Reliance Ins. Co. (1995) 32 Cal. App. 4th 14, 26 citing Crisc/ v. Security Ins. Co. (4967) 66
Cal. 2d 425, 431.

Whether an insurer acted reasonably in rejecting a settlement demand is a question of fact. Cain v. Farmers
Mut. Auto. Ins. Co. (1975) 47 Cal. App. 3d 783, 792. The standard is whether a prudent insurer, after having
made an honest, intelligent, and knowledgeable evaluation of the claim on its merits, (Merritt v. Reserve Ins. Co.

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(1973) 34 Cal. App. 3d 858, 872-873) would have accepted the settlement demand if it alone were liable for
the entire judgment. Betts v, Farmers Ins. Co. (1984) 154 Cal. App. 3d 688, 706.

The reasonableness of a settlement offer depends on facts known or available to the insurer (knowledge of
which is imputed to the insuter) at the time of the proposed settlement: "The reasonableness of a settlement
offer is to be evaluated by considering whether, in light of the victim's injuries and the probable liability of the

insured, the uldmate judgment is likely to exceed the amount of the settlement offer." Isaacson v. California Ins.
Guar. Ass'n (1988) 44 Cal.3d 775, 792, fn. 12.

The factors to be considered in determining whether the insurer reasonably evaluated the settlement demand
include: (Meritt, 34 Cal. App. 3d at 876)

(1) The strength of the injured claimant's case on the issues of liability and damages;

(2) Attempts by the insurer to induce the insured to contribute to a settlement;

(3) The failure of the insurer to properly investigate the ciccumstances so as to ascertain the
evidence against the insured;

(4) The insurer's rejection of advice of its own attorney or agent;

6) The failure of the insurer to inform the insured of a compromise offer;

(6) The amount of financial risk to which each party is exposed in the event of a refusal to
settle;

7) The fault of the insured in inducing the insurer's rejection of the compromise offer by
misleading it as to the facts; and

(8) Any other factors tending to establish or negate bad faith on the part of the insurer.
Such additional factors have been held to include the extent of settlement negotiations and the timing

of the insurer's rejection of the settlement demand. Critg » Farmers Ins. Group (1964) 230 Cal. App. 2d 788,
797.

Insurers have been found to have acted unreasonably:

- when they placed blind faith in the expectation that expert testimony would
overcome the plaintiff's claims; Crisa, 66 Cal. 2d at 431-432 (insurer acted unreasonably when it rejected a

$10,000 demand while recognizing that $100,000 award might follow if the jury rejected the insurer's expert
testimony);

- when they unquestioningly relied on the insured's statements regarding liability
when mounting evidence was to the contrary. Befts, 154 Cal. App. 3d at 707; and

- when they relied on the advice of defense counsel even though their own personnel
predicted high odds that the plaintiff would win and that a substantial excess judgment would be entered.
Allien v. Farmers Ins. Co. (9th Cir. 1981) 656 F.2d 487, 489.

The amount of an excess judgment raises an inference that the value of the claim was equal to the amount of

the judgment, and therefore that the insurer's refusal to setde within policy limits was unreasonable. Johansen,
15 Cal. 3d at 17.

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January 15, 2010 .

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“We strongly recommend interviewing the following witnesses who we determined to be favorable to the

Plainuf€ by our investigator and though accident reconstruction:
1. Francisco Basan, 2445 Oak, Huntington Park, CA 90255, 323-371-8094
2. Francisco Herrera, 4867 Long Beach Ave, Los Angeles, CA 90058, 323-641-2115
3. Jose, (last name and address unknown), 323-216-7508
4. Feresa Hernandez, (address unknown), 323-527-3581

Through statements we have taken and representations from your insured, we believe that your insured is
100% Hable for this accident.

The basis foe this position is that your insured was in the center lane, and tumed suddenly and without
warning to the left and into a parking lot, failing to look at the lane on his left where out client was driving his
motorcycle. When your insured turned left, he hit our client, which places sole liability on your insured.

Damages

Plaintiff's damages far exceed your insured’s policy limits. Enclosed you will find pertinent medical records
for plaintiff indicating the severity of Mr. Madrigal’s life-altexing injuries that he sustained as a direct result of
the subject accident. Plaintiff is confined to a wheelchair and may never walk again. Please note that you are
in possession of photographs we have previously produced to you.

Before this letter’s conditional policy limits settlement offer can be accepted by you on behalf of your insured,
you must comply completely, not just substantially, with the following conditions precedent, and those

conditions precedent must be completely performed by you within and only within 30 days ftom the date of
this letter.

1. You must timely deliver to ‘my office legible photocopies of all available liability insurance
policies maintained by your insured;

2. You must timely deliver to my office the appropriate release of all clatrns forms;

3. You must timely deliver to my office a declaration under penalty of perjury, signed by your

insured, specifically stating that no other liability insurance policies exist for the subject accident,
(including an umbrella policy) that he was not in the coutse and scope of employment, and an asset
sheet of all assets or lack thereof;

4. You must deliver to my office a settlement draft, équal to the total amount of all available
liability insurance policy limits along with a certified copy of the policy revealing limits;

5. The purpose of this letter is to give you, on behalf of your insured, an opportunity within the
next thirty (30) days to legally effectuate a permanent, binding and enforceable settlement contract
and at an amount of rnoney that does not require any payment by you insured of monies above and
beyond your insured’s total available liability insurance policy limits. Therefore, if you do not
understand any portion of this letter or if you believe that any portion of this letter cannot be
complied with for any reason, then this instant conditional policy limits settlement offers requires
you, as another condition precedent to be performed by you, at or within thirty (30).days from the
date of this letter, to communicate in writing to my office, whatever, “problems” you deem to exist.
If your written problems establish good cause, then my office will grant you an extension of time
within which you may accept my client’s conditional policy limits settlement offer;

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January 15, 2010 ;

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6. Any effort on you part to comply with any of the above conditions precedent orally or
telephonically will be deemed by this letter to a rejection of this conditional policy limits settlement
offer. In other words, complete compliance with this instant letter could only be achieved by written
responsive letters from you. No one in our office is authorized to orally or telephonically modify any
of the terms of this instant policy limits settlement offer letter. For the next thirty (30) days from the
date of this letter, our office will only respond in writing to written communication initiated by you
of your carrier.

Time is of the essence. Therefore, failure on your part to completely perform all of the above conditions
precedent at or within thirty (30) days from the date of this letter will be deemed to be a rejection of this
letter’s conditional policy limits settlement offer. In other words, performance on your part of some, but not
all, of the above condition precedent will be deemed by this instant letter to be a counter offer. You are
hereby put on notice that any counter offers by you will hereby be rejected by this office. Our client’s claims
against your insured represent one of certain liability against your insured. The damages suffered by my client
substantially exceed my understanding of your insured’s total available liability insurance policy limits.
Liability is reasonably clear in that your insured caused this accident.

If the above matter settles per the above conditions precedent for all available policy limits within thirty (30)
days from the date of this letter, then my client hereby agrees to remain exclusively responsible for any and all
liens of any kind, known or unknown.

In the matter of Botcourt u. Amex Assurance Co., (2000) 78 Cal. App. 4th 1390, the California Supreme Court in
upholding a verdict in excess of policy limits and finding affirmative bad faith of an insurance company

cautioned the insurance industry that “an insurance company plays with fire by refusing to disclose policy
limits.”

Thank you for your immediate attention to this matter and your written response to the same.

Very truly yours,
MADISON LAW GROUP

Kyte K. Madison, Esq.
KKMet

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Exhibit F

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@ All Diamond Bar Casualty ”
PO BOX 6517
Si DIAMOND BAR CA 91765 FEB O1 20

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MADISON LAW GROUP INC

11111 SANTA MONICA BLVD STE 100
LOS ANGELES CA 90025-3378

January 29, 2010

INSURED: RICHARD TANG PHONE NUMBER: 888-358-8415

DATE OF LOSS: July 13, 2009 FAX NUMBER: 909-612-2888

CLAIM NUMBER: 0143198462 RTV OFFICE HOURS: Mon - Fri 8:00 am - 5:30 pm,

Sat 8:00 am - 2:00 pm
Your Client: Carlos Madrigal
VIA FAX & MAIL
RESPONSE TO POLICY LIMIT DEMAND

Dear MADISON LAW GROUP INC,

This shall serve as a response to your policy and timed limit demand received via fax on January 15, 2009 and via mail on
January 22, 2010 and due on February 13, 2010 (30 days).

We are extending our $100,000.00 policy limit offer to resolve this claim. Enclosed is a release for your client to sign and
retum so we may forward the settlement check immediately. Although your conditions to accept our offer include:

4. “You must deliver to my office a settlement draft, equal to the total
amount of all available liability insurance policy limits along
with a certified copy of the policy revealing limits;”

I’m sure you understand in order to forward the settlement check, we must receive the signed release. Therefore, we are
faxing and mailing the release so we may immediately process the same,

Enclosed is a copy of the declaration of insurance. The certified declaration will be forthcoming.
Our records reflect Richard Tang did not possess any excess and/or umbrella policy with Allstate Insurance Company,

Our insured, Richard Tang has filed a claim with the commercial carrier, Topa Insurance to determine whether any excess
coverage is applicable to this loss. The adjuster is Sherri Bank, her phone number is (310}272-7063 and her claim number is

77644-SB.

Pursuant to a voice mail | received from Sherri on January 27, 2010, her preliminary investigation reveals there is no
coverage due to the “auto exclusion”. You may contact her directly regarding her completed investigation.

I have forwarded a declaration under penalty of perjury, (see copy enclosed) for our insured to complete and return. We are
awaiting receipt of the same. In the event you have your own declaration which meets your standards and which you wish us

to forward to our insured, please provide it.

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Your policy limit demand requests:
3. Lee and an asset sheet of all assets or lack thereof:”

We have provided a copy of your letter to our insured and must allow our insured to make the decision regarding providing
confidential information with respect to their assets.

We look forward to resolving this claim timely. If you have any questions, please contact me. Please note, attached to this
letter of an offer are the following: 1) policy declaration; 2) release; and 3) declaration under penalty of perjury (unsigned). -

Sincerely,

TERESA. VARELA

TERESA VARELA
888-358-8415 Ext. 26571
Allstate Indemnity Company

Copy: ANNA & RICHARD TANG
RIGGIO INSURANCE AGEN
DOBBIN LO AND ASSOCIATES

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"Allstate Indemnity Compa’ *

 

 

 

 

 

 

 

 

 

 

RATING INFORMATION Your premium is determined based on certain information, including the following:

The estimated number of miles that this vehicle Is driven annually is 10,000 - 10,989. This vehicle is driven
39 milas to work/school, married male licensed 29 years .

Itany of the information shown above is Incorrect or if it changes in tha fature, please notify Allstate promptly. A change in
tha Mormation could result in a premium adjustment. 4 a P 9

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Polley Number : 9 16 906989 07/28 Your Agent: Righialns Agy tac (803) 604-0875 we . °
Paney Effective Date: Jan. 28, 2008
COVERAGE FOR VEHICLE 9 1
2000 Honda Cr-V
nec EEDD
COVERAGE ups DEDUCTIBLE PREMIUM
Automobile Liability Insurance Not Applicable $267.85
® Bodily Injury $100,000 each person

$300,000 each occurrence
© Property Damage $100,000 each occurrence
Uninsured Motosists Insurance §50,000 each person Not Applicable $26.75
for Bodily Injury $100,000 each accident
Auto Collision insurance. Actual Cash Value $500 $96.96
Weivar of deductible applies
Auto Comprehensive Insurance Actual Cash Value 8500 $23.77
Towing and Labor Costs Coverage $50 each disablement Not Appitcable $2.48
Rental Relmbursement Coverage upto$30 par day for Not Applicable $24.56
a maximum of 80 days
Total Premium for 00 Honda Cr-¥ $442.47
DISCOUNTS Your pramium for thig veiete reflects the “itp cigoaunts $719
Policy .

Cibtinguished Driver $57.53 ty Discount $13.63

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Allstate indemnity Company

Polley Number : $ 14 906559 07/28 Your Agent: Alggto ins Agy Inc (805) 604-0675
Polfcy Effective Gate: Jan. 28, 2009

 

 

 

 

 

 

 

 

 

 

COVERAGE FOR VEHICLE # 1
2000 Honda Cr-V.
COVERAGE LIMITS . OEOUCTIBLE PREMIUM
Automobile Liability Insurance Not Applicable $267.95

® Bodily injury $100,000 each person

. $300,000 each occurrence -

® Property Damage $100,000 each occurrence
Uninsured Motorists Insurance $50,000 each person Not Applicable $26.75

Aor Bodily Injury $100,000 each accident
Auto Collision insurance Actual Cash Value $500 $96.86

Waiver of deductible applies .
Auto Comprehensive fnsurance Actual Cash Value $500 $23.77
Towing and-Labor Costs Coverage $50 each disablement Not Applicable $2.48
Rental Reimbursement Coverage upte$30 per day for Not Applicabie $24.56

a maximum of 30 days

Totat Pramium for 00 Honda Cr-V $442.47 ‘
DISCOUNTS — Your premium tor this vehicle reftects the following discounts:
Good Driver 20% Multiple Policy $7.19
Distinguished Driver $57.53 Loyalty Discount $13.63

RATING INFORMATION Your premium is determined based on certain information, including the foltowing:

The estimated number of miles that this vehicle is driven annually is 10,000 - 10,999. This vehicle is driven
3-9 miles to work/school, married male licensed 29 years

if any of the information shown above Is incorrect or if it changes in the future, please notify Alistate promptly, A change in
the information coutd result in a premium adjustment.

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 112 of 152 Page ID #:112

 

 

Allstate Indemnity Compa: > : | aval)

Polley Number : 9 14 906559 07/28 Your. .a. diggla ins Agy Ine (805) 604-0575
Policy Effestiva Date: Jan. 28, 2009

 

 

 

 

 

 

 

 

 

COVERAGE FOR VEHICLE # 1
2000 Honda Cr-V
COVERAGE . LIMITS DEDUCTIBLE PREMIUM
Automobile Liability Insurance Not Applicable $267.95
© Bodily Injury $100,000 each person
$300,000 each occurrence
® Property Damage $100,000  . each occurrence
Uninsured Motorists Insurance $50,000 each person Not Applicable $26.75
for Bodily Injury $100,000 each accident
Auto Coltiston Insurance Actual Cash Value $500 $96.96
Waiver of deductible appiies
Auto Comprehensive tnsuranca Actual Cash Value $500 $23.77
Towing and Labor Costs Coverage $50 each disablement Not Applicable $2.48
Rental Reimbursement Coverage upto$30 per day for Not Applicable $24.56
a maximum of 30 days
Total Premium for 00 Honda Cr-V $442.47
DISCOUNTS Your premium for this vehicle reflects the following discounts:
Good Driver 20% Multiple Poticy $7.19
Distinguished Driver $57.53 Loyalty Discount $13.63

RATING INFORMATION Your premium is determined based on certaln Information, including the following:

The estimated number of miles that this vehicle is driven annually fs 10,000 - 10,999. This vehicle is drivan
3-9 milas to work/school, married male licensed 29 years

If any of the information shown above fs incorrect or If it changes in the future, pleasa notify Allstate promptly. A change in
the information could result in a premium adjustment.

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DECLARATION
UNDER PENALTY OF
PERJURY

I, Anna Tang, verify under penalty of perjury that there is is not any
other liability insurance policy(ies), ( included but not limited to an umbrella policy),
which existed for the subject accident on July 13, 2009.

Signed: Dated:
I, Richard Tang, verify under penalty of perjury that there is is not any

other liability insurance policy(ies), ( included but not limited to an umbrella policy),
which existed for the subject accident on July 13, 2009.

 

 

Signed: Dated

I Richard Tang, (driver), under penalty of perjury confirm that I was was not
in the course and scope of employment on the date of the subject accident, July

3, 2009.

Signed Dated

 

 

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RELEASE OF ALL CLAIMS
CLAIM # 0143198462

This Indenture Witnesseth that, in consideration of the sum of one hundred thousand dollars ($100,000.00), receipt whereof is hereby
acknowledged, for myself and for my heirs, personal representatives and assigns, | do hereby release and forever discharge Richard Tang
and Anna Tang and any other person, firm or corporation charged or chargeable with responsibility or liability, their heirs, representatives
and assigns, from any and all claims, demands, damages, costs, expenses, loss of services, actions and causes of action, arising from any
act or occurrence up to the present time and particularly on account of all personal injury, disability, property damages, loss or damages of
any kind already sustained or that I may hereafter sustain in consequence of an accident that occurred on or about this 13th day of July,
2009, at or near vemon street, Los Angeles, , CA.

To procure payment of the said sum, | hereby declare: that I am more than 18 years of age; that no representations about the nature and
extent of said injuries, disabilities or damages made by any physician, attomey or agent of any party hereby release, nor any representations
regarding the nature and extent of legal liability or financial responsibility of any of the parties release, have induced us to make this
settlement; that in determining said sum there has been taken into consideration not only the ascertained injuries, disabilitics and damages,
but also the possibility that the injuries sustained may be permanent and progressive and recovery therefrom uncertain and indefinite, so
that consequences not now anticipated may result from the said accident.

I hereby agree that, as a further consideration and inducement for this compromise settlement, that it shall apply to all unknown and
unanticipated injuries and damages resulting from said accident, casualty or event, as well as to those now disclosed.

1 further understand that such liability as | admit no lability of any sort by reason of said accident and that said payment and settlement in
compromise js made to terminate further controversy respecting all claims for damages that We have heretofore asserted or that we or our
personal representatives might hereafter assert because of said accident.

1 further understand that such liability as 1 may or shail have incurred, directly or indirectly, in connection with or for damages arising out
of the accident to each person or organization, release and discharge of liability herein, and to any other person or organization, is expressly
reserved to each of them, such liability not being waived, agreed upon, discharged nor settled by the release.

For your protection Callfornia law requires the following to appear on this form: Any person who knowingly
presents false or fraudulent claim for the payment of a loss is guilty of a crime and may be subject to fines and
confinement in state prison.

(CAUTION-READ BEFORE SIGNING)

 

 

 

 

 

 

 

SIGNED AND SEALED THIS DAY OF .
Witnessed by:
STATE OF }
COUNTY OF
On this day of . , before me personally appeared
, tome known to be the persons who executed the foregoing
instrument, and acknowledged that they executed the same astheir___free act and deed.

My commission expires

 

Notary Public

Page

C53-9 115
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Exhibit G

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iDiamond Yar Casualry
i BOX 6517
{DIAMOND BAR CA 9176S

   

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MADISON GROUP| INC i
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Febniicy 04; 201
INSURED: ' RICHARD TANG PHONE NUMBER: 888-358-8415
DATE OF! LOSS: July 13, 2009 FAX NUMBER: 909-612-2888
CLAIM IBER: 0143198462 RTV OFFICE HOURS: Mon - Fri 8:00 am - 5:30 pm,
' Sat 8:00 am - 2:00 pm
véir Chi it: Catlos: ‘Madrigal
VIA: FAX & MAIL !
+ '
Dear Mabrson LAW GROUP INC,

This confirms: our conversation this afternoon wherein you provided a response advising your client did not have a valid
Liability policy at the time of this loss.

When: we, entended the sib, 000.00 on January 29, 2010, we evaluated the case with the consideration that your client had
proof, of liability insurance. Given the fact you have now confirmed there was no valid liability insurance, effective for the
loss of July 13, 2009 on Behalf of your client, Carlos Madrigal, we must withdraw our offer immediately. Proposition 213
would be applicable w this loss,

We ar are extending. a settlement offer of 2$34,398.00 to resolve your client's bodily injury claim. This also confirms you
indicated that was the total sum of medical bills you had to date. In the event you have any additional medical bills, relating
to this lo, Which you wish me to consider, kindly forward them so I may re-evaluate this claim.

if ou believe this claim was 5 wrongfully denied or rejected, you may contact the California Department of Insurance,
Consumer Services at 300 S: Spring Street, Los Angeles, CA 90013 or contact them by phone at (800)927-4357.

Since :
TERESA VARELA
TERESA‘ VARELA

888-358-8415 Ext. 26571.
Allstare Indemmity Company
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Uy _-
CEN i 0143198462 RTV

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Exhibit H

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ADORESS, TELEPHONE NUMBER OF Al OR PARTY WITHOUT ATTORNEY ; STATE BAR NUMBER Reserved for Cerk’s File Stamp
{LEAVE BLANK IF NOTICE (5 BY CLERK OF THE COURT) .

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| ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

H SOURTHOUSE ADDRESS:
COURTHOUSE ADDRESS: STANLEY MOSK, 114 N HILL ST, L.A, CA 90012

 

 

 

 

HaCRINTFF
CARLOS MADRIGAL
 OBFENDANT:
RICHARD TANG
NOTICE OF ENTRY OF: JUDGMENT L] DISMISSAL = | “SEN NSE
BY ORDER OF THE COURT BC445794

 

 

 

 

To the above named parties and to their attorneys of record, you are hereby given notice of entry of:
[¥] Judgment in the above-entitied matter, entered on (date): OCTOBER 4, 2012
[] Order of Dismissal in the above-entitied matter, filed on (date):
CI = Order , filed on (date):

 

 

 

 

DECLARATION OF MAILING

1, (typed or printed name) DONALD BROSTOFF

, do hereby (check one):
(-] declare under penalty of perjury under the laws of the State of California that | am an active member of the
State Bar of California;

[7] declare under penalty of perjury under the laws of the State of Califqmj
(check one) [4 employed in / [7] a resident of CoB ANE LEE County,
{where mailing occurred) .,
over the age of 18 years, and not a party to the cause within; that my (check one) usinessi] residence
address is as shown above;

and that on the date shown below | served the notice of entry of the above-named document filed and entered

herein, by depositing true copies thereof in sealed envelope(s), wit prepaid, in the United States
Mail Service located at +9 ANGELES DREHER

 

 

 

 

(city) (state)
addressed to the parties named below: ,
r 1 r 1
ARASH HOMAMPOUR JAY S. McCLAUGHERTY
THE HOMAMPOUR LAW FIRM PLC McCLAUGHERTY & ASSOCIATES
45303 VENTURA BLVD, SUITE 1000 250 W. COLORADO BLVD, SUITE 250
, SHERMAN OAKS; CALIFORNIA 91403, L ARCADIA, CALIFORNIA 91007 5
[A Additional names and addresses on attached sheet.
Dated: OCTOBER 5, 2012 Signed:
~ {Signature of declarant)
Typed or printed name of declarant. DONALD BROSTOFF
LACIV 123 (Rev. 01/07) NOTICE OF ENTRY OF JUDGMENT/ Code Civ. Proc, §§ 684.5, 10132
LASC Approved 01-05 DISMISSALIOTHER ORDER Cal. Rules of Court, rules 8,104 & 8.754

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Lo O | O

SUPERIOR COURT OF CALIFORNIA

COUNTY OF LOS ANGELES, CENTRAL DISTRICT

_oalgrnre cor
STANLEY MOSK COURTHOUSE Superior Court of Califomi:
111 NORTH HILL STREET ounty geles
DEPARTMENT 89 OCT 042012
LOS ANGELES, CALIFORNIA 90012 antic.
Vs.
RICHARD TANG BC445794

 

JUDGMENT ON SPECIAL VERDICT

 

This action came on regularly for trial on September 18, 2012 and concluded on
October 4 , 2012, in Department 89 of the Superior Court, the Honorable William
A. MacLaughlin, Judge Presiding;

The plaintiff appearing by attorneys
Arash Homampour,
THE HOMAMPOUR LAW FIRM PLC, and

Kyle K. Madison,
MADISON LAW GROUP,

and the defendant appearing by attorneys
Jay S. McClaugherty, and
Christian E, Sanne
McCLAUGHERTY & ASSOCIATES

JUDGMENT ON SPECIAL VERDICT

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A jury of twelve (12) persons was regularly impaneled and sworn/acknowledged
and agreed to try the cause. Witnesses were sworn and testified. After hearing the
evidence and arguments of counsel, the jury was duly instructed by the Court and
the cause was submitted to the jury with directions to return a special verdict. The
jury deliberated and thereafter returned to court with its special verdict submitted
to the jury and the answers given thereto by the jury, which was in words and
figures as follow, to wit:

TITLE OF COURT AND CAUSE

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JPORNTIA
Sure Lira
OCT 0 4 2012
John A. Clarke, Executive Officer/Clerk
” __D
by DON 8A epuly
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT
CARLOS MADRIGAL, CASE NO: BC 445794
Plaintiff, , .
} SPECIAL VERDICT
Vv.
RICHARD TANG,
Defendant. }

 

We, the jury in the above entitled action, answer the questions submitted to us as follows:

Question No. 1: Was Defendant Richard Tang negligent in operating the vehicle?

Answer “yes” or “no”.

Answer (eS .

If your answer to Question No. | is “yes”, go to Question No. 2. If your answer to
Question No. 1 is “no”, then stop here, answer no further questions, and have the

presiding juror date, sign, and return this Verdict.

[go to next page]

 

Special Verdict - Page I

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Question No. 2: Was Defendant Richard Tang’s negligence a substantial factor in
causing harm to Plaintiff Carlos Madrigal?
Answer “yes” or “no”.

Answer é

If your answer to Question No. 2 is “yes”, then answer Question No. 3. If you
answered no, stop here, answer no further questions, and have the presiding juror sign and

date this form.

Question No. 3: What are Plaintiff Carlos Madrigal’s total damages? Do not reduce
the damages based on the fault (if any) of others.

a. Future medical expenses

Future medical expenses: st Ot4 F a )
b. Future loss of earings

Future loss of earnings: $ \ “e274 A 8

poet Ot

Question No. 4: Was Plaintiff Carlos Madrigal negligent?

Answer “yes” or “no”.

Answer: No .

‘

If your answer to Question No. 4 is “yes”, then go to Question No. 5. If your

?

answer is “no”, then please date and sign the form.

Question No. 5: Was Plaintiff Carlos Madrigal’s negligence (if any) a substantial factor
in causing harm to himself?
Auswer “yes” or “no”.

Answer:

 

Special Verdict - Page 2 Page

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1 If your answer to Question No. 5 is “yes”, then go to Question No. 6. If your
2 || answer to Question No. 5 is “no”, then please date and sign the form.
3
4 Question No. 6: What percentage of responsibility for Plaintiff Carlos Madrigal’s
5 damages do you assign to the following?
6 Richard Tang %
7 Carlos Madrigal %
8 TOTAL 100 %
9
10 Please date and sign the form.
Ml I
12.
13 | Dated: HM October, OLE
14
15
16 Foreperson

17 || When signed, this verdict form must be delivered to the clerk.
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Special Verdict - Page 3

 

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122

 
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The parties stipulated that Plaintiff's past medical expenses were $99,880.15 and
his past loss of earnings were $144,283.50 and that said damages are to be added
by the court to determine the total damages awarded in any verdict in favor of
Plaintiff Carlos Madrigal.

JUDGMENT ON SPECIAL VERDICT
NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that:

Plaintiff Carlos Madrigal have and recover from Defendant Richard Tang damages
in the sum of $9,349, 169.65 with interest thereon at the rate of ten percent per
annum from the date of the judgment until paid together with costs and
disbursements amounting to the sum of $

WILLIAM A. MACLAUGHLIN
Judge William A. MacLaughlin

 

Dated: October 4, 2012

 

JUDGMENT ON SPECIAL VERDICT

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Exhibit I
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af

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

   
  
   

 

 

DATB: 12/11/12 DEPT. 89
HONORABLE WILLIAM A. MacLAUGHLIN JupGE|| D. BROSTOFF . DEPUTY CLERK
ate ~ . , JUDGE PRO TEM : . ELECTRONIC RECORDING MONITOR :

D.VALENCIA, CRT ASST Deputy Sheriff] NONE Reporter

a eS
8:30 amj/BC445794 Plaintiff
Counsel’ ARASH HOMAMPOUR Y

CARLOS MADRIGAL

vs Defendant

RICHARD TANG Counsel JANET C, SONG V¥

NATURE OF PROCEEDINGS: .

MOTION OF DEFENDANTS, RICHARD TANG AND ANNA TANG TO
TAX/STRIKE COSTS;

PLAINTIFF'S MOTION FOR COSTS AND PRE-JUDGMENT INTEREST
PER CODE OF CIVIL PROCEDURE SECTION 998 AND CIVIL CODE
SECTION 3291. ;

The motions above are each called for hearing.
Counsel are heard.

The Court, having heard the oral argument of the
parties and read the moving papers, opposition and
reply, rules as follows:

Regarding the Defendants' Motion to Tax Costs:

As to item 1, Filing and motion fees are reduced by
$40.00, from $695.00 to $655.00;

As to item 4, Deposition costs, the motion is
.|denied;

As to item 5, Service of process, the motion is
ranted for the two rush assignments in the amount of
250.00, and otherwise denied. The item is reduced
from $2,559.14 to $2,509.14.

 

As to item 8, Witness fees. the motion is denied for —

 

MINUTES ENTERED
Page lof 4 DEPT. 89 12/11/12
COUNTY CLERK

 

 

 

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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE: 12/11/12

 
   
  

DEPT. 89
HONORABLE WILLIAM A. MacLAUGHLIN JUDGE] D. BROSTOFF DEPUTY CLERK
HONORABLE : “yupcerrotem|| Br geronte RECORDING MONITOR
ae D.VALENCIA, CRT ASST _Depuy sherit| NONE Reporter

     
    

8:30 am/BC445794 Plaintiff .
. Couns! ARASH HOMAMPOUR ¥
CARLOS MADRIGAL
VS Defendant
RICHARD TANG Counsel! JANET C. SONG VY

NATURE OF PROCEEDINGS:

the fees of Bennett Williamson, denied for the fees
of Robert Caldwell, granted for the entire fees of
Joseph Yates in the amount of $13,964.90, denied for
the fees of Lawrence Miller, denied for the fees of
David Fractor, denied for the fees of Jan Roughan,
and granted for the entire fees of David King in the
‘ jamount of $1,542.50. The item igs reduced in the
“ ~* Tamount of $15,507.40 fron $197,510.87 to $182,003.47.

As to item 11, Models, blowups, and photocopies of
exhibits, the motion is granted as to the v deoclips
in the amount of $9,306.00 and is reduced from
$26,508.93 to $17,202.93.

As to item 13, pre-judgment interest, the motion is
denied;

Total costs are reduced in the amount of $24,903.40
from $1,356,385.55 to $1,331,482.15.

Plaintiff's Motion for Costs and Pre-Judgment Interest
per Code of Civil Procedure section 998 and Civil
Code section 3291 is granted.

 

 

MINUTES ENTERED

Page 2o0of 4 DEPT. 89 12/11/12
COUNTY CLERK

 

 

 

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Case: 2:14-cv-04242-SS ee Page 128 of 152. Page ae

_ SUPERIOR COURT OF CALIFORNIA, ‘county. OF Los ANGELES |

 

 
  

 

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~ HONORABLE
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PRO TEM|| :

 

 

“D.VALENCIA, CRT ASST . | pepuy sterit| NONE

  
  

 

 

 

 

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” Deferidant
. Counset Ta

    
  
 

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not a party to the cause herein, ard that on this.
-|date I served the Minute Order of December 11, 20127
-/upoh each. party or counsel. named below: ‘by placing
{the document for collection: and mailing so’as to wt,
_ {eause it to be deposited. i he..United’ States mail
: “Jat the Stanley Mosk Cou: in Los*Angelés,;.

2) California, - ‘one copy:'ol ie “ofiginal, f a/éntered
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

   
   
   

DATE: 12/11/12 DEPT. 39°

. HONORABLE WILLIAM, A. _ MacEAUGHEAN dupes] D. BROSTOFF a «_ DEPOTY CLERK, a
‘HONORABLE , |  yuveeeroren|| 7 EuserRoNte RECORDING MONITOR

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D. VALENCIA, CRT ASST Reger

      

8: 30 am/BC445794

 

| * Coins) - ARASH HOMAMPOUR /
(CARLOS .MADRIGAL
vs o "7 Deéfendést

RICHARD ‘TANG ~ Couns! «=: JANET C. SonG ¥

 
   

NATURE OF PROCEEDINGS:

JArash Homampour - em

.|] THE HOMAMPOUR LAW FIRM PLC
15303 Ventura Boulevard, Suite 1000
Sherman Oaks, California 91403

gay 3 Neetetighbeey vrs mms

Janet C. Song

MCCLAUGHERTY & ASSOCIATES

250 W. Colorado Boulevard, Suite 250
Arcadia, ‘California 91007

 

 

. r MINUTES ENTERED
Page 40f 4 DEPT. 89 | 12/11/12
° . | COUNTY CLERK

 

 

 

 
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EXHIBIT B
Case 2:14-cv-04242-SS Document 1 Filed 06/02/14 Page 131 of152 Page ID #131

af) |/y

 

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a SUM-100
A) U MMO N S ‘ (SOLO PARA UnO DE ca ConTE

(CITACION JUDICIAL) cone,

NOTICE TO DEFENDANT: su, HISINAE PL GOPY

(AVISO AL DEMANDADO): ounty ea tt OF California
ALLSTATE INSURANCE COMPANY, a corporation; TERESA | angeles

VARELA, an individual; and DOES | through 60, inclusive APR 2] 2014

. Sherti .
harti R. Carter, Executive Officer/Clerk

YOU ARE BEING SUED BY PLAINTIFF: By Myrna Beltran, Deputy

(LO ESTA DEMANDANDO EL DEMANDANTE):

CARLOS MADRIGAL, RICHARD TANG, and ANNA TANG

 

 

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a
copy served on the plaintiff. A letter or phone cail will not protect you. Your written response must be in proper legal form If you want the
court to hear your case. There may be a court form that you can use for your response. You can find these court forms and more
Information at the Callfornia Courts Online Self-Help Center (www.courtinfo.ca.gov/selfheip}, your county law fibrary, or the courthouse
nearest you. If you cannot pay the filing fee, ask the court clerk for a fee waiver form. If you do not file your response on time, you may
lose the case by default, and your wages, money, and property may be taken without further warning from the court.

There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an
attorney referrai service. !f you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services
program. You can focate these nonprofit groups at the California Legal Services Web site (www.lawhe!pcalifornia.org}, the California
Courts Online Self-Help Center (www.courtinfo.ca.gov/seifhelp), or by contacting your local court or county bar association.

Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citacién y papeles legales para presentar una respuesta por escrito
en esta corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefénica no lo protegen. Su respuesta por
escrito tlene que estar en formato legal correcto si desea que procesen su caso en fa corte. Es posible que haya un formulario que usted
pueda usar para su respuesta. Puede encontrar estos formutarlos de la corte y mas [nformacién en el Centro de Ayuda de las Cortes de
California (www.courtinfo.ca.gov/selfheip/espanol/), en ia biblioteca de leyes de su condado o en Ja corte que fe quede mas cerca. Sino
puede pagar la cuota de presentaci6n, pida al secretario de la corte que fe dé un formulario de exencién de paga da cuotas. Si no presenta
Su respuesta a tiempo, puede perder ef caso por Incumplimiento y la corte le podré quitar su sueldo, dinero y bienes sin mas advertencia,

Hay otros requisitos legales. Es recommendable que llame a un abogado inmediatamente. Sino conoce a un abogado, puede Hamar aun
servicio de remisién a abogadas. Sino puede pagar a un abogado, es posible que cumpia con los requisitos para obtener servicios
fegales gratuitos de un programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de
California Legal Services, (www.lawhelpcalifornia.org), en ef Centro de Ayuda de las Cortes de California,
(www.courtinfo.ca.gov/selfhelp/espanol) o poniéndose en contacto con la corte o el colegio de abogados locales.

 

 

 

 

The name and address of the court is: :
(El nombre y direccion de fa corte es): there co fof 5429 6 8

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
111 North Hill Street
Los Angeles, CA 90012

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: ;
{El nombre, la direccién y el nimero de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):

 

 

Arash Homampour (Bar #165407) Phone No. (53) 658-8077
THE HOMAMPOUR LAW FIRM, PC Fax No. (323) 658-8477
15303 Ventura Boulevard, Suite 1000, Sherman Oaks, CA 91403

DATE: Clerk, by , Deputy
(Fecha) SHERRI A. CARTER (Secretario) MYRNA BELTRAN (Adjunto)

 

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)

(Para prueba de antrega de esta citation use al formulario Proof of Service of Summons, (POS-010)).
NOTICE TO THE PERSON SERVED: You are served

{SEAL 41. [__] as an individual defendant.

2. [__] as the person sued under the fictitious name of (specify):
fi, 7 ao
Kilstate Inserante Company A logorot} %
APR 21 201 3. X21 on behalf of (specify): . |
4 under: CCP 416.10 (corporation) (__] CCP 416.60 (minor)
CCP 416.20 (defunct corporation} ((~] CCP 416.70 (conservatee)
(__] CCP 416.40 (association or partnership) [__] CCP 416.90 (authorized person)

(_]. other (specify):
4. [7] by personal delivery on (date): aye tot 4
Code of Civ Procedure §§ 412.20, 465

 

 

 

 

Form Adopted for Mandatory Use

Judicial Couned of Califamia .
SUM-100 [Rov January 1, 2004) SUMMONS LexisNexis® Automated California FILE Caby
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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 132 of 152 Page ID #:132

—DO NOT FILE WITH THE COURT—
~UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585—

 

Arash Homampour (Bar # 165407) (323) 658-8077
The Homampour Law Firm, PC FAX NO:
15303 Ventura Boulevard, Suite 1000 (323) 658-8477

Sherman Oaks, CA 91403
aTrorey For (nomex: Plaintiffs Carlos Madrigal, Richard Tang and Anna Tang
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Jos Angeles
street aooress: | | 1 North Hill Street
erry anv zip cove: LOS Angeles, CA 90012
srancy name: Central District

PLAINTIFF: Carlos Madrigal, Richard Tang and Anna Tang
DEFENDANT: Allstate Insurance Company, et al.

 

 

FOR COURT USE ONLY

 

STATEMENT OF DAMAGES

 

 

CASE NUMBER:

 

 

(Personal Injury or Wrongful Death) BC542968
To (name of one defendant only): Allstate Insurance Company
Plaintiff (name of one plaintiff only): Carlos Madrigal
seeks damages in the above-entitled action, as follows: /
1. General damages AMOUNT
a. c] Pain, suffering, and inconvenience ... 2.0.0... 0.0... eee tee ce nee e ee ene $
b. [_] Emotional distress «06.0.0. 0 ccc eee eee cee b eee vee eeneneebetneaea $
Cc. Co Loss of consortiUM 2... ee ee ee ee eee ene ee eee e ene eee ee $
d. Ct] Loss of society and companionship (wrongful death actions only)... . 6-6. eee eee $
e. L] Other (specify) occ c cece ccc ceeeevueeeeeeuverseereeeeeey $e ne
f. Other (specify) Payment of Judgment, Costs & Interest $ 10,680,651.80
gC] Continued on Attachment 1.g.
2. Special damages
a. [__] Medical expenses (to date) 0 cece cece eve eeeesecuveeevveees $
b. [““] Future medical expenses (present value) 00... e eee e sees $
c. CJ Loss of earnings (to date) .............,.005.5 cbc bebe een veeneeuveueevenvees $
d. Cc] Loss of future earning capacity (present value) . 0... ee ene $
e. L_] Properly damage ©... 1... i ee ee eee eee $
f. Cc] Funeral expenses (wrongful death actions only)... ce ene $
g. | Future contributions (present value) (wrongful death actions only) ........... 02 ee ees $
h. | Value of personal service, advice, or training (wrongful death actions only) ...........6..55. $
L Other (specify). Payment, of Judgment, Costs & Interest... ee. $ 10:680.651.80
j. [27] Other (specify) 6 teens eect eect eee eee 3

k. [__] Continued on Attachment 2.k.

3. [] Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify) . . $

when pursuing a judgment in the suit filed against you.

Date: april 29, 2014

 

(TYPE OR PRINT NAME) .
(Proof of service on reverse)

Form Adopied by Rule 262 STATEMENT OF DAMAGES
Judicial Council of California

982(a}(24) (New January 1. 1997} Mandatory Form (Personal Injury or Wrongful Death)

(SIGNATURE OF PLAINTIFF OR ATTORNEY FOR PLAINTIFF)

Code of Civil Procedure, §§ 425.11, 425.115
JC Forms for HotDocs ™

Page
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Case. 2:14-cv-04242-SS Document1 Filed 06/02/14

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Page 133 of 152 Page ID #:133

 

ATTORNEY OR PARTY WITHOUT ATTORNEY Bar Slate Bar number, and sdcrass):

Arash Homampour (State Bar # 165407)
THE HOMAMPOUR LAW FIRM, PC
15303 Ventura B1., Ste. 1000, Sherman Oaks, CA 91403
TeverHone no: (323) 658-8077 raxno:(323) 658-8477
ATTORNEY FOR (Name): Plaintifis Carlos Madrigal, Richard Tang, and Anna Tang

 

CM-010

FOR COURT USE ONLY

CONFORMED C
ORIGINAL PILED *

Superior Court of Califomia
ounty of Los Angeles

 

SUPERIOR COURT OF CALIFORNIA, couNTY oF LOS ANGELES
street aporess: 1 {J North Hill Street
MAILING AODRESS:
city ano zp cone: Los Angeles, 90012
grancy name: Central District

APR 21 2014

herr R. Carter, Executive Officer/Clerk

nm

 

By Myrna Beltran, Deputy

 

 

 

 

CASE NAME:
Madrigal v. Allstate, et al.
CIVIL CASE COVER SHEET Complex Case Designation cASE a)
(Amount. Cj meant (3 counter [] Joinder C 2 4 2 9 6 8
demanded demanded is Filed with first appearance by defendant | “YS
exceeds $25,000) _ $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT:
items 1~5 below must be completed (see instructions on page 2).

 

 

1. Check one box below for the case type that best describes this case:

Auto Tort Contract
Auto (22) Breach of contract(warranty (06)
Uninsured motorist (46) [| Collections (09)

Other PUPDAWD (Personal Injury/Property Insurance coverage (18)

Damage/Wrengfut Death) Tort Other contract (37)
Asbestos (04) Real Property
Product liability (24) Eminent domain/laverse
Madical malpractice (45) condemnation (14)

CJ Wronoful eviction (33)
Other real property (26)

Unlawful Detainer
Commercial (31)
Residential (32)

CJ Drugs (38)

udictal Review

Asset forfelture (05)

LJ Patition re: arbliration award (11)
Writ of mandate (02)

(J other judicial review (38)

Other PYPD/WD (23)
Non-PUPD/IWD (Other) Tort
Business tortvunfair business practice (07)
[_} civit rights (08)
LI Defamation (13)
Fraud (16)
["] intellectual property (19)
{_] Professional negligence (25)
Other non-PI/PDIWD tort (35)

Employment
rj Wrongiu! larmination (35)

Cc] Other employment (15)

 

Provislonally Complex Civil Litigation
(Cal. Rules of Court, rulas 3.400+3.403)

ma) Antitrus/Trade regulation (03)
Constructlon defect (10)
Mass tort (40)
Securities fitigation (28)
Environmental/Toxic tort (30)

Insurance coverage claims arising from the
above listed provisionally complex case
types (41) ,

Enforcement of Judgment

Enforcement of Judgment (20)
Miscellaneous Civil Complaint
[—] rico (27)

Other complaint (not specified abova) (42}
Miscellangous Civil Petition

Partnership and corporate govemance (21)
{J Other patition (not specified above) (43)

 

 

2. This case J Is is not

factors requiring exceptional judicial management:
a L_] Large number of separately represented parties
b. (-] Extensive motion practice raising difficult or novel.
issues that will be time-consuming to resolve
c. {__] Substantial amount of documentary evidence
3. Type of remedies sought (check ail that apply):
a. Lx] monetary b. {J nonmonetary; declaratory or injunctive relief
4. Number of causes of action (specify):
5. This case is isnot aclass action suit.

Cc

6. Ifthere are any known refated cases, file and serve a notice of related case. (You may use fory

Date: April 17, 2014
Arash Homampour
{TYPE OR PRINT NAME}

complex under rule 3.400 of the California Rules of Court. if the case is complex, mark the

d. [_] Large number of witnesses

Coordination with related actions pending in one or more courts
in other counties, states, or countries, or in a federal court

f. Cc Substantial posijudgment judicial supervision

Cx) punitive

   

 

in sanctions. .
© File this cover sheet in addition to any cover sheet required by local court rule.

other parties to the action or proceeding.

 

NOTICE ; VU.
e Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except Small claims cases of cases filed
under the Probate Code, Family Code, or Welfare and institutions Code), (Cal. Rules of Court, rule 3.220.) Failure to file may result

© If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all

e Unless this Is a complex case, this cover sheet will be used for statistical purposes only.

Pago t of 2

 

 

Form jad for Maretatory Use
Juttetal Council of Calfornis
CM-010 (Rev. January 1, 2007)

CIVIL CASE COVER SHEET

Cal Rules of Court, rules 3,220, 3.400-3.403;
Standards of Judicla| Administration, § 19

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 134 0f 152 Page ID #:134

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pr
SHORT TITLE: ' CASENUMBER
Madrigal v. Allstate, et al.

CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

 

 

 

 

This form is required pursuant to LASC Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

 

 

 

item |. Check the types of hearing and fill in the estimated length of hearing expected for this case:

Jury TRA? ives ctass action? ves ummeocaserdves time ESTIMATED FOR TRIAL 7-10 LJHoursidloays.
Item II. Select the correct district and courthouse location (4 steps - If you checked "Limited Case", skip to Item Ill, Pg. 4):
Step 1: After first completing the Civil Case Cover Sheet Form, find the main civil case cover sheet heading for your case in
the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.

Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.
Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have checked.
For any exception to the court location, see Los Angeles Superior Court Local Rule 2.0.

 

 

Applicable Reasons for Choosing Courthouse Location (see Column C below)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Class Actions must be filed in the County Courthouse, Central District. 6. Location of property or permanently garaged vehicle.
2. May be filed in Central (Other county, or no Bodily Injury/Property Damage). 7. Location where petitioner resides. .
3. Location where cause of action arose. 8. Location wherein defendant/respondent functions wholly.
“4. Location where bodily injury, death or damage occurred, 9, Location where one or more of the parties reside.
5. Location where performance required or defendant resides. 10. Location of Labor Commissioner Office.
Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.
A B Cc
Civil Case Cover Sheet Type of Action Applicable Reasons -
e Category No. (Check only one) See Step 3 Above
°
5 Auto (22) (e} A7100 Motor Vehicle -Personal Injury/Property Damage/Wrongful Death 4.2.4.
g :
=z
< Uninsured Motorist (48) (3.47110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist 1.,2.,4.
(LJ Ago70 Asbestos Property Damage 2.
4 .
2 Asbestos (04) (ad A7221 Asbestos - Personal injuryWrongful Death 2.
t
a) .
S r Product Liability (24) CJ A7260 Product Liability (not asbestos or toxic/environmental) 1..2.,3.,4., 8,
& 2
2 . .
g6 Medical Matpractice (45) LI A7210 Medical Malpractice- Physiclans& Surgeons 4.,2.,4.
=o (3 A7240 Other Professional Health Care Malpractice 4.,2.,4.
5 8
g = Other | A7250 Premises Liability (e.g., slip and fall) 1.,2.,4
a 2 Personal Injury [3 A7230. Intentional Bodily Injury/Property Damage/Wrongful Death (e.g., 1.2.4
2 & Fjoperty Damage assault, vandallsm, etc.) 1 a
rongful Dea ; 2.3.
oa (23) CJ A7270 Inlentional infliction of Emotional Distress 4
(I A7220 Other Personal Injury/Property Damage/Wrongful Death vor
Fr
ge Business Tort (07) {2} A629 other CommercialBusiness Tort {not fraud/breach of contract) 1. 2..3.
£5
a0 +t Be
2a Civil Rights (08) [uk A600 Civil Rights/Discrimination 1,,2.,3.
23
=o Defamation (13) (J 6010 Defamation (slanderflibel) Ae, Bar,
as
ox °
3
2 = Fraud (16) CI AG013 Fraud (no contract) 1,2..3
é?
s 5 Intellectual Property (19) (3 A6016 _inteilectual Property 2., 3.
CW 109 3-04 CIVIL CASE COVER SHEET ADDENDUM LASC, rule 2.0
| TION - a
LASC Approved AND STATEMENT OF LOCATIO Lexisher® soem

Page
132
Non-Personal Injury/Property Damage/

Wongftul Death Tort (Contd.)

Employment

Contract

Real Property

Judicial Review Unlawful Detainer

Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 135 of 152

Page ID #:135

 

 

 

 

 

 

 

Other (35)

(36)

SHORT TITLE: . . CASE NUMBER
Madrigal v. Allstate, et al.
A
Civil Case Cover Typ B Appii be
Sheet Category No. ype ion pplicable Reasons
gory (Check only one) -See Step 3 Above
Professional (J 6017 Legal Malpractice 1.,2., 3.
Negligence Cy .
(25) A6050 Other Professional Malpractice (not, medical or legal) 1,2.,3.
2.,3.

LJ A6O25 Other Non-Personal Injury/Property Damage tort

Wrongful Termination 4.,2.,3

(2 46037. Wrongful Termination

 

Other Employment
(15)

 

a A6024 Other Employment Complaint Case
| A6109 Labor Commissioner Appeals

 

 

 

 

 

 

(33)

Breach of Contract/ 2., 5.
Watran . .
(06) y Ly A6008 ContractWarranty Breach -Seller Plaintiff (no fraud/negligence) 2., 5.
(not insurance) Cy asotg Negligent Breach of Contract/Warranly (no fraud) 4.,2., 5.
Lad A6028 Other Breach of Contract/Warranty (not fraud or negligence) 1.,2., 5.
Collections - A6002 Collections Case-Seller Plaintiff 2.,5., 6.
(09) Cy A6012 Other Promissory Note/Collections Case 2.,5.
Insurance Coverage b ,
(18) 9 A6015_ Insurance Coverage (not complex) 1.2 5., 8.
Other Contract Ls A6009 Contractual Fraud 4.,2., 3., 5.
37 : .
(37) Q A6031 = Tortious Interference 1.,2.,3.,5.
Ld A6027 Other Contract Dispute (not breach/insurance/fraud/negligence) 1.,2., 3., 8.
a
Eminent
Domain/Inverse lad A7300 Eminent Domain/Condemnation Number of parcels 2,
Condemnation (14)
Wrongful Eviction 2.6

| A&023 Wrongful Eviction Case

 

Other Real Property
(26)

_Unlawful Detainer-
Commercial (31)

Cd A6018 Mortgage Foreclosure
(a A6032 Quiet Title

: | A6060 Other Real Property(not eminent domain, land lord/tenant, foreclosure) 2.,6.

 

Cal A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)

2., 6.

 

Unlawful Detainer-
Residential (32)

Ca A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)

 

Unlawful Detainer- .

Ly A6022 Unlawful Detainer-Drugs

 

 

 

 

 

 

 

 

Drugs (38)
Asset Forfeiture (05) Ll A6108 Asset Forfeiture Case 2., 6.
Petition ate C3 A6115 Petition to Compel/ConfirmNacate Arbitration 2., 5.
CIV 109 3-04 CIVIL CASE COVER SHEET ADDENDUM LASC, rule 2.0
LASC Approved AND STATEMENT OF LOCATION Page 2 of 4

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n

Automated California County Forms
Enforcement

Miscellaneous Civil

Miscellaneous Civil Petitions

Provisionally Complex

Judicial Review (Cont‘d.)

Litigation

of Judgment

Complaints

Case 2:14-cv-04242-SS -Document 1 Filed 06/02/14 Page 136 of 152 Page ID #:136

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SHORT TITLE: CASE NUMBER
Madrigal v. Allstate, et al.
A B Cc
Civil Case Cover Sheet Type of Action Applicable Reasohs -
Category No. (Check only one) See Step 3 Above
Cd A6151_ Writ - Administrative Mandamus 2., 8.
Wat of Mandate LJ A6152 Writ - Mandamus on Limited Court Case Matter 2.
(02) Ly A6153 Writ - Other Limited Court Case Review 2
Other Judicial Review
(39) Cd A6150 Other Writ Judicial Review 2., 8.
Antitrust/Trade
Regulation (03) Ld A6003  Antitrust/Trade Regulation 1.,2.,8
Construction Defect (10
uction Defect (10) [Ll 6007 Construction defect 1.,2.,3
Claims Involving Mass
Tort (40). [28 6006 Claims involving Mass Tort 1.,2.,8
Securities Litigation (28
rites Litigation (28) [all A6035 Securities Litigation Case 1,28
Toxic Tort
Environmental (30) (J A6036 Toxic Tort/Environmental 1.,2.,3., 8.
Insurance Coverage
Claims from Complex Lal AG014_ Insurance Cove rage/Subrogation (complex case only) 1., 2.,5., 8.
Case (41)
Ld A6141 Sister State Judgment 2., 9.
Enforcement Cal A6160 Abstract of Judgment 2., 6.
of Judgment CI A6107 Confession of Judgment (non-domestic relations) 2.,9.
(20) Ld A6140 Administrative Agency Award (not unpaid taxes) 2., 8.
| A6114  Petition/Certificate for Entry of Judgment on Unpaid Tax 2.8. .
Cl A6112 Other Enforcement of Judgment Case 2., 8, 9.
Te a snnamntinesamenmmmeneun
—— = —
RICO (27) (I A6033 Racketeering (RICO) Case 4.,2.,8
Lal A6030 Declaratory Relief Only 4., 2., 8,
(Not Seecihed Above) Ly A6040 = Injunctive Relief Only (not domestic/harassment) 2., 8.
i A6011 Other Commercial Complaint Case (non-tort/non-complex) 1.,2., 8.
(42) [<} Aso00 Other Civil Complaint (non-tortnon-complex) 1., 2, 8.
EE AST
Partnership Corporation (Ly asi13 Partnership and Corporate Governance Case 2., 8.
Governance (21)
| A6121 Civil Harassment 2.,3., 9.
Cad A6123 Workplace Harassment 2.,3, 9.
. ly A6124 Elder/Dependent Adult Abuse Case 2,39. .
Other Petitions
(Not Specified Above) [J 46190 Election Contest 2.
(43) Ld A6110 Petition for Change of Name 2., 7.
Cal A6170 Petition for Relief from Late Claim Law 2.,3.,4., 8.
La A6100 Other Civil Petition 2.,9.
CIV 109 3-04 CIVIL CASE COVER SHEET ADDENDUM LASC, rule 2.0
AND STATEMENT OF LOCATION Page 3 of 4

LASC Approved

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 137 of 152 Page ID #:137

'

 

SHORT TITLE: CASE NUMBER

Madrigal v. Allstate, et al.

Item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or
other circumstance indicated in ItemII., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

 

 

 

 

 

REASON: CHECK THE NUMBER UNDER COLUMN C ADDRESS:
WHICH APPLIES IN THIS CASE

ods [xe (ys 4s 6 l7 Ss oio.

CITY: STATE: ZIP CODE:

 

 

 

 

 

 

 

Iter IV. Declaration of Assignment: | declare under penalty of perjury under the laws of the State of California that the foregoing is

true and correct and that the above-entitled matter is properly filed for assignment to the Superior courthouse in the
Central District District of the Los Angeles Superior Court (Code CW. Proc., § 392 et seq. nd LABC Local Rule 2.0,

subds. (b), (c) and (d)).

Dated: April 17,2014

 

(SIGNATURE OF ATTORNEYIFILING PARTY)

 

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO
PROPERLY COMMENCE YOUR NEW COURT CASE:

 

 

 

Original Complaint or Petition.

If filing a Compiaint, a completed Summons form for issuance by the Clerk.

Civil Case Cover Sheet form JC 982. 2(b)(1).

Complete Addendum to Civil Case Cover Sheet form CIV 109 _ (eff. Date).
Payment in full of the filing fee, unless fees have been waived.

Signed order appointing the Guardian ad Litem, JC form 982(a)(27), if the plaintiff or petitioner is a minor
under 18 years of age, or if required by Court.

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

oO A FW DN a

 

CIV 109 3-04 CIVIL CASE COVER SHEET ADDENDUN LASC, rule 2.0
LASC Approved AND STATEMENT OF LOCATION Page 4 of 4

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f. ote .
N SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
OTICE OF CASE ASSIGNMENT ~ UNLIMITED CIVIL CASE (NON-CLASS SEW, "4 2 9 6 8
Your case is assigned for all Dee One Ne oR ed CoE SUMMONS AND COMPLAINT the reverse side of this form.

ASSIGNED JUDGE DEPT ROOM ASSIGNED JUDGE DEPT ROOM
Hon. Daniel Buckley 1 534 Hon. Maicolm H. Mackey 55 515
Hon. Barbara A. Meiers 12 636 Hon. Michael Johnson 56 314
Hon. Terry A. Green 14 300 Hon Rolf M. Treu 58 516
Hon. Richard Frain 15 307 Hon. Michael L. Stern 62 600
Hon. Rita Miller 16 306 Hon. Mark Mooney 68 617
Hon. Richard E. Rico 17 309 Hon. William F. Fahey , 69 621
Hon. Kevin C. Brazile 20 - 310 Hon. Soussan G. Bruguera 71 729
Hon. Robert L. Hess ¢ 24 314 Hon. Ruth Ann Kwan 72 731
Hon. Yvette M. Palazuelos 28 318 Hon. Rafael Ongkeko 73 733
Hon. Barbara Scheper 30 400 Hon. Teresa Sanchez-Gordon 74 735
Hon, fry H. Strobel 32 406

yfion. Michael P. Linfield 34 D ‘408
Hon. Gregory Alarcon 36 410 Hon. Emilie H. Elias 324 | CCW
Hon. Maureen Dufty-Lewis 38 412 Hon. Elihu M. Berle* 323. | CCW
Hon. Michelle R. Rosenblatt 40 414 ,
Hon, Holly E. Kendig 42 416
Hon. Mel Red Recana 45 529
Hon. Frederick C. Shaller 46 500
Hon. Debre Katz Weintraub 47 507
Hon. Elizabeth Allen White 48 506
Hon. Deirdre Hill 49 509
Hon, John L. Segal 50 508
Hon. Mitchell L. Beckloff 51. 51]
Hon, Susan Bryant-Deason 52 510
Hon. Steven J. Kleifield 53 313 OTHER
Hon. Emest M. Hiroshige 54 512

“*Complex

All cases designated as complex (other than class actions) are initlally assigned to Judge Ellhu M. Basle In Department 323 of the Central Clvil West Courthouse (600 S.
Commonwealth Ave., Los Angeles 90005), This assignment is for the purpose of assessing whether or not the case Is complex within the meaning of Callfornia Rules of
Court, rule 3.400. Depending on the outcome of that acsessment, the case may bo reassigned to one of the kidges ofthe Compiox Litigation Program or reassigned
randomly toa court In the Central District. .

Given to the Plaintiff/Cross-Complainant/Attomey of Record on SHERRI R. CARTER, Executive Officer/Clerk
By , Deputy Clerk
LACIV CCH 190 (Rev09/13) NOTICE OF CASE ASSIGNMENT - Page | of 2
LASC Approved 05-06 Page

For Optional Use UNLIMITED CIVIL CASE : 136
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 139 of 152 Page ID #:139

INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.
APPLICATION

 

The Chapter Three Rules were effective January 1, 1994. They apply to all general civil cases.
PRIORITY OVER OTHER RULES

The Chapter Three Rules shall! have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE

A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to
a judge, or ifa party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS

Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standards:
COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their

answer is filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the
filing date.

A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the

complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE

The Court will require the parties at a status conference not more than 10 days before the trial to have timely filed and served all
motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and
special jury instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days
before this conference, counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief
statement of the case to be read to the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

SANCTIONS

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court,

and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party or if
appropriate on counsel for the party.

This is not a complete delineation of the Chapter Three Rules, and adherence only to the above provisions is therefore
not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is absolutely imperative. ,

LACIV CCH 190 (Rev09/13) NOTICE OF CASE ASSIGNMENT - , Page 2 of 2
LASC Approved 05-06 Page
For Optional Use UNLIMITED CIVIL CASE.

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VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

The Early Organizational Meeting Stipulation, Discovery
Resolution Stipulation, and Motions in Limine Stipulation are
voluntary stipulations entered into by the parties. The parties
may enter into ons, two, or ali three of the stipulations;
however, they may not alter the stipulations as written,
because the Court wants to ensure uniformity of application.
These stipulations are meant to encourage cooperation
between the parties and to assist in resolving issues in a

manner that promotes economic case resolution and judicial
efficiency.

The following organizations endorse the goal of
promoting efficiency in litigation and ask that counsel ~
consider using these stipulations as a voluntary way fo
promote communications and procedures among counsel
and with the court to fairly rasolve issues in thelr casas.

 

@Loa Angeles County Bar Association Ligation Section®

| @ Los Angeles County Sar Acecciation
Labor and Employment Law Section®

 

Rbeariation of

Buvinese Titel Lowyere @Consumer Attorneys Association of Los Angeles@
@Sautinem California Defense Counsel @
= Association of Gusiness Trial Lawyers@
Lomyers Assectotes:

@Callfomis Employment Lawyers Assceiationé

 

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 141 0f 152 Page ID #:141

 

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scan. so epONE NO: FAX NO. (Optianal}:
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

LAR "

Caran:

 

 

 

INFORMAL DISCOVERY CONFERENCE
| (pursuant to the Discovery Resohution Stipulation of the parties)
4. This decument relates to:
H Requact for informal Discovery Conference
Anwar to Request for Informal Discovery Conference

 

 

 

 

 

2 Deediine for Court to decide on Request: Gneer data 46 calender toys folloning fing af
3. Deadline for Court to hold inkirmal Discovery Conference: . Gaeert dete 20 calendar

 

deys fofoaing Ring of the Fiequesd.
4. For a Request for informal Discovery Conference, briefly describe the natuse of the
diacovery dispute, including the facts and legal arguments at fseue. For an Answer to
Request for informal Discovery Conference, briefly deacribe why the Court should deny
the requested Escovery, inctudhg ie facts and legal arguments at fesue.

Page
139

 

“TENOR bay ~~ TAF GRGMAL DISCOVERY CONFERENCE
VASE Apprmrsd Crit (oureuent to the Dlecevery Reealutan Gasulston of Gee partes)
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 142 of 152 Page ID #:142

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nn nH WO: FAXNO. (Opttenatt:

SVAOMGVOGR Sere
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

SCART:

SET

 

 

 

 

 

STIPULATION ~ DIGCOVERY RESOLUTION

 

This stipulation fe-intended to provide 2 fest end informa! resolution of diseavery lesuee
througn fmited peperverk and en infermel conference with the Court to ald in the
resotution of the issues.

The partles agree that:

1. Priory to the discovery cutoff In this action, no discovery motion shail be fled or heerd unless

the fret makes a written
the moving party f a request for an informe! Discovery Conference pursuant

2. Ai tha informei Discovary Confarence tha Court wid consider the dleputs presented by pertisa
and determine whether it cen be reacived informally. Nothing set forth herein wil preclude o
party from making @ record ef the conclusion of cn Wnforms! Discovery Conference, ether
oraiiy or in writing. pe

3. Foawing a reasonehla and gocd felth attempt at an informe! resolution of each fesue to bo
presemed, & party may request en Informa’ Discovery Conference pursuant to the fotowing
procedures; ;

@. The party requesting the Informal Discovery Conference wil:
i. fa @ Requee! for informal Dlecovery Conference wih the clerk's office on the
epproved form (copy atteched) and deliver a courtesy, conformed copy ta the
B. Inchude a brief summary of the dlepule and specify the retef requested: end
. Serve the opposing perty pursuant to any authorized or agreed method of service
thei ensurca thet the cppoding party receives the Reques? for Informe! Discovery
Conferences no tates than the next court day following the filing.
b. Any Anewer to a Request for informe! Dlecovery Conference must:
i. Also be feed on the ennreved form (copy atieched;
H.  tnchilo @ brtef aummary of why the requested relief chould be dentod:

ere STIPULATION — DISCOVERY RESOLUTION Pen 1eBage
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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 143 of 152 Page ID #:143

 

eeeaeet Tee: CADE RR

 

 

 

 

Hi. Be fled within two (2) court days of receipt of the Request; and

tv. Ba served on the opposing party pursuant to any authorized or agreed upon
mathod of earvice that ensures that the opposing party receives the Answer no
later than the next court day following the filing.
c. No other pleadings, including but not limitad to exhibits, declarations, or attachments, will
be accepted.

d. if the Court has not granted or denied the Request for Informal Dlecovery Conference
within tan (10) days following the filing of the Request, then K shall be deemed to have
been denied. If the Court acts on the Requast, the parties will be notified whether the
Request for Informal Discavery Conference has been granted or denied and, if granted,
the date snd time of the Informa! Discovery Conference, which must be within twenty (20)
days of the filing of the Request for Informal Discovery Conference.

6. If the conference Is not held within twenty (20) days of the fiting of the Request for
; Informal Discavery Conference: unless exterdos ba agreement of the partie aed the

4. if (a) the Court has denied a conference or (b) one of the time deadiines above hae expired:

without the Court having acted or (c) tha Informa! Discovery Conference is canckided without
resolving the dispute, then a party may fle a discovery motion to address unresolved lesues.

5. The parties hereby further agree that the me for making @ motion to compel or other
discovery motion ie tolled from the dete of filing of the Request for informal Discovery
Conference until (a) the request la denied or deemed denied or (b) twenty (20) days after the
Cr odor of he Cokin MCOverY Conference, whichever ie eerter, unless extended

it Is the understanding and intent of the parties that this stipulation shall, for each discovery

dispute to which R applies, conetitute a writing memorializing a “apecific later date to which

the propounding for demanding or requesting) party and the responding pevty have agreed in

Sa nd % Code Chl Procedure sections 2030.30%), 2031.32Kc), and
Cc.

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
an order shortening time for a motion to be heard conceming discovery.

7. Any party may terminate this stioulation by giving twenty-one (21) days notice of intent to
terminaia the stinulation,

8. References to “days” meen calendar days, uniess otherwise noted. If the date for performing
any aci pursuant io thie stipulation fais on a Ssturdey, Sunday or Court honday, then the time
for performing that act shall be extended to the next Cout day.

 

| NC STIPULATION ~ DISCOVERY RESOLUTION Fogo 2083

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The following parties stipuisie:
Date: ,
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Date: ) | es
EE RR »
Date: ee
OT >
Date: . TY FO OY
renee ——— »
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Date: AT ER j
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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 145 of 152 Page ID #:145

 

CCtRER 663 AERIALS OF ATTORNEY OR PURITY ER NOLIT ATYONOREY: GTATa AR ERR . Raened Sr Cokie fig Hong

 

 

. NO; FAX NO, (Optional;
G-tipd. ADDRESS

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES |

AEE:
. SPDT

 

 

 

 

 

 

 

STIPULATION AND ORDER — MOTIONS IN LIMINE

 

This stipulation fs Intended to provide fast and Informal resolution of evidentiary
lesues through diligent efferts to define end diecuse such Icoucs and Emit paperwork.

The parties agree that:

1; At leaat ___ days before the final status conference, each party will provide all
parties. with a fst containing a one paragraph explanation of each proposed mation
imines. Esch one paregraph exptanstion must identify the substance of a single proposed
motion In mina and the grounds for the proposed mation.

2. The perties thereafter wil meat and confer, either in person or via teleconference of
videoconference, conceming al! proposed motions in imine. in that meet and confer, the
parties wil determine: oo,

a. Whather the periies can stinulate to any of the proposed motions. if the parties so
etipulate, they may file a stipulation and proposed order with the Court. .

b. Whether any of the proposed motions can be briefed and submitted by means of a
-  ghert joint statement of lesues. For each motion which can be addressed by # short
joint statement of issues, a short joint statement of issues must be filed with the Court

10 days prior to the final status conference. Each side's portion of the short joint

' statement of lesuss may not exceed three pages. The parties will meet and confer to
on a date and manner for exchanging the parties’ respective portions of the

short joint statement of issues and the process for fling the short foint statement of

feauee. .

3. All proposed motions in imine that are not elther the subject of a stipulation or briefed via
@ short joint statement of issues will be briefed and filed In accordance with the Californie

Rules of Court and the Los Angeles Superior Court Rules.

=

 

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 146 of 152 Page ID #:146

 

 

 

 

 

 

 

The following parties stipulate:
Date: .
Re A rT ey ——— »
; |
RE On PR ag » .
Date: ~~ (ATTORNEY FOR DEFENDANT)
. >
(1VPE OR PRINT RAGE) ~~ (ATTORNEY FOR DEFENOANT)
Cisse . ‘
PE OR PT ey >
Dee RES TA ——$ ” aE ———
{RRO eS ——— ?
ATTORNEY FOR
THE COURT 80 ORDERS.
Date:
TIOIGAL OFFICER

Page
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ee ee STIPULATION AND ORDER = iOTIONS IN LIMINE Fone 3098
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 147 of 152 Page ID #:147

 

TELEPHONE
Cun SOONEES Ceres
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES |

SUROOG AEG) ACES OF ATTOSSETY OR PRETTY VEO ATTORDEEY: STAVE RR EIEN feaneed he Cnth Fla Saye

 

 

#0.: FAX NO. (Ciptlenal}:

 

ee,

 

| CAPER:
:

 

 

STIPULATION — EARLY ORGANIZATIONAL MEETING

 

 

 

 

‘Thla stipulation fs intended to encourage cooperation among the parties at an early stage in
the litigation and to asslet the parties in efficient case resolution.

The parties agree that:
1. The parties commit to conduct an inkisi conference (in-pereon or via teleconference or via

videoconference) within 18 days from the date this stiputation ls signed, to discuss and consider

whether there can be agreement on the following: ©

@. Are motions to challenge the pleadings necessary’? Hf ths lecus con be rescived by

amendment aa of right, or f the Court would allow leave to amend, could en amended
complaint resolve moat or ef.of the Issues a demurrer might otherwise raise? If 90, the perties
agres to work through pleading lesues so that a demurrer need only raise ikeues they cennot
reecive. (s the lesue that the defendant seeks to reise amenable to resolution on demurrer, or
would some other type of motion be preferable? Could « vohuntary tarpeted exchenge of
documents or information by any party cure an uncertainty in the pleadings?

inital mutual exchanges of documents ef the “core” of the Siigation. (For example, in
employment case, the employment records, personnel fie ard documents relating to
conduct im question could be considered “core.” in a personal inisy case, an
Erne medcal records, and repair or maintenance records could be

Exchange of names and contact Information of witneeses;

Any Ineurance agreement thet may be avaliable to satisfy part or al of 2 judgment, or to
indemnify or reimburse for payments made to satisfy s judgment;

Exchange of any ofer information that be heloful to faclitate underetending, handling,
os raseheton ofthe cone ina rhanvier thet preserves eijectone or patitages by egreamend

Controlling leeues of lew thet, ¥ resolved carly, wal promos efficiency ancl economy i ofer
phases of the case. Alec, when end how such |eeuss can be presented fo the Court;

ie

.. Whether or when the case should be schaduled with a setlement officer, wis? Gacovery oF

Gaur niéing on lage! leeves fs ressonebly required to make setiiement discussions meaninghd,
and whether the pertise wish to use a silting fudae or @ private madiator cr other options 3

 

ey aa, STIPULATION - EARLY ORGANIZATIONAL MEETING ese 18

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 148 of 152 Page ID #:148

 

 

 

 

 

Gocrkcad ia the “Alternative Dispute Resohition (ADR) Information Package” secved with the

h. Computation of ; documents .
such computation bonnes” not privileged or protected from disclosure, on

L Whether the case le sulteble for the Expediied Jury Trial procedures (see information at
wnnw fesuperforsourtong unter “Chal end then under “General information’).
2. The time for a defending party to respond to = compieint or cross-compisint wt be extandad
to . for the complaint, and for the cross-
ro

complaint, which Is comprised of the 30 days to respond under Government Code § 68416(b),
and the 30 days permitted by Code of Civi Procedure section 1064(a), good cause having

>

Raferenca io “eye” mean calacey dys. rns cfharvien noted if the 5 ae
for performing thet act shall be extended to the nexd Court day

The following parties stipulate:

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eae eiun: STIPULATION - EARLY ORGAMZATIONAL MEETNG
Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 149 of 152 Page ID #:149

—DO NOT FILE WITH THE COURT—
—UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585—

 

inate Gna ay
BINDER & ASSOCIATES . FAX NO:
283 South Lake Avenue, Suite 200 (626) 793-9510

Pasadena, CA 91101
arrorney ror (nome): Plaintiffs Carlos Madrigal, Richard Tang and Anna Tang
SUPERIOR COURT OF CALIFORNIA, COUNTY OF [os Angeles
street aooness: 11] North Hill Street
CITY AND ZIP GOOE: ‘Los Angeles, CA 90012
erancy name: Central District
PLAINTIFF: Carlos Madrigal, Richard Tang and Anna Tang
DEFENDANT: Allstate Insurance Company, et al.
STATEMENT OF DAMAGES CASE NUMBER:

(Personal Injury.or Wrongful Death) BCS542968

To (name of one defendant only): Teresa Varela

Plaintiff (name of one plaintiff only): Anna Tang
seeks damages in the above-entitled action, as follows:

 

 

 

 

 

 

 

1. General damages : AMOUNT
a. Pain, suffering, and inconvenience ......20... 0.00.0 eee ee eee $ 10,000,000
b. Emotional distress ©. 2... cee ee eee ny $ 10,000,000
cL] Loss ofconsortium oo... cece cece cece cece eceteevcnvevetetereneeeeeenees $
d. | Loss of society and companionship (wrongful death actions only) .......- eee ees 3
e. LJ other (specify)... 60... ee eee e teen e ete eee $
t. LE] other (specify) Payment of Judgment, Costs & Interest, 3 10,680,651.80
g. 7] Continued on Attachment 1.g.
2. Special damaqes
a. [__] Medical expenses (to dale)... eee cee Cleve cece eeeeeteveees $
b. I] Future medical expenses (present value)... 0... ee nett ee $
c. Loss of earnings (to date) 26 cece etter enn n nee eens 3 50,000
d. | Loss of future earning capacity (present value)... 00. ee ee eee $
e. | Property damage ee ee eee ee ee eee eee ees $
t. [} Funeral expenses (wrongful death actions only)... 6. ccc ce cect een eee es $
g C] Future contributions (present value) (wrongful death actions only) ........ cbc ceceeeuees $
h. C_] Value of personal service, advice, or training (wrongful death actions only)... 0... eee 5
i, [2] other (specify). Payment,.of Judgment, Costs & Interest... eee. $ 10,680,651.80
j. [2] Other (specify). 6. oc vev vee eeeeetensteetenteceees Coe vets eens 5
k. [-_] Continued on Attachment 2.k.
3. Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify) . . $ __100,000,000.

when pursuing a judgment in the suit filed against you.

Date: 4 pri] 29, 2014

 

 

 

beeen Warren Binder 2...
cue (TYPE OR PRINT NAME) (SIGNATURE OF PLAINTIFF OR ATTORNEY FOR PLAINTIFF)
(Proof of service on reverse)
- ww a
Form Adopted by Rule 982 : STATEMENT OF DA MAG ES Code of Civil Procedure, §§ 425.11, 426.116

JC Forms for HotDocs
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Judicial Council of California

982(a)(24) [New January 1, 1997] Mandatory Form (Personal injury or Wrongful Death}
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—DO NOT FILE WITH THE COURT—
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Warren Binder (Bar # 257686) (626) 393-9124 fon counrusomy
BINDER & ASSOCIATES FAX NO.:

283 South Lake Avenue, Suite 200 (626) 793-9510

Pasadena, CA 91101

Arronwey For emer: Plaintiffs Carlos Madrigal, Richard Tang and Anna Tang
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
street aooness: 1] 1 North Hill Street

MAILING ADDRESS:

erty ANd zip cove: LOS Angeles, CA 90012
srancu wame: Central District
PLAINTIFF: Carlos Madrigal, Richard Tang and Anna Tang
DEFENDANT: Allstate Insurance Company, et al.
STATEMENT OF DAMAGES CASE NUMBER:

(Personal Injury or Wrongful Death) BC542968

To (name of one defendant only): Allstate Insurance Company

Plaintiff (name of one plaintiff only): Anna Tang
seeks damages in the above-entitled action, as follows:

 

 

 

 

 

 

 

 

 

1. General damaqes AMOUNT
a. Pain, suffering, and inconvenience 2.0.0.0... cc ccc ccc cece tee eueeeeevenes $ 10,000,000 —
b. Emotional distress ©... ee een eee eee e eee n sees eens 1. § 10,000,000
c. LC] Loss ofconsortiumM 2.0. eee eee e nena enane $
d. CJ Loss of society and companionship (wrongful death actions only)... 6... eee $
e. LO] other (specify) cece cece cece eevee eeseveteeveeteevenees §
t. BE otter (specify) Payment of Judgment, Costs & Interest co, s 10,680,651.80
9g. [LJ Continued on Attachment 1.g.
2. Special damages
a. [__] Medical expenses (to dale)... ccc cece cece vtveeeveeveenens 3g
b. L_] Future medical expenses (present value) oe eevee cece cece see vees 5
c. Loss of earnings (to date). ett tenets $ 50,000
d. | Loss of future earning capacity (present value) 20. 0 ects $
e. i Property damage .......... ne ee ee en eee eee $
t. [_] Funeral expenses (wrongful death actions only) 20.0. cc ccc cece ees $
g. LC Future contributions (present value) (wrongful death actions only)... 0. eee $
h. Cc] Value of personal service, advice, or training (wrongful death actions only) ..............4- $
i Other (specify). Payment, of Judgment, Costs & Interest... 66... eee. $ 10,680,651.80
j. [2] Other (specify) cence ett ete net e eens $
k. [-_] Continued on Attachment 2.k.
3. Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify) . . $ 100,000,000
when pursuing a judgment in the suit filed against you.
Date ‘4 pril 29, 2014 me
Warren Binder |...
wee eee eee GIYPE OR PRINT NAME) (SIGNATURE OF PLAINTIFF OR ATTORNEY FOR PLAINTIFF)
(Proof of service on reverse) .
Form Adopted by Rule 982 STATEMENT OF DAMAGES Code of Civil Procedure, §§ 425.11, 426.115

Judicial Council of California

. JC F 7” HotDacs ™
982(a)(24) [New January 1, 1397] Mandatory Form (Personal Injury or Wrongful Death) rms fo oe

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Case 2:14-cv-04242-SS Document1 Filed 06/02/14 Page 151 0f152 Page ID #:151

—DO NOT FILE WITH THE COURT—

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Pasadena, CA 91101 .
Arronwey FOR nome): Plaintiffs Carlos Madrigal, Richard Tange and Anna Tang

a

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles :
street aooress: |] ] North Hill Street

 

MAILING ADORESS:

_ CITY AND ZIP Cone: Los Angeles, CA 90012
arancn name: Central District

PLAINTIFF: Carlos Madrigal, Richard Tang and Anna Tang
DEFENDANT: Allstate Insurance Company, et al.

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name ond Address): TELEPHONE NO, FOR COURT USE ONLY
Warren Binder (Bar # 257686) 626) 793-9124:

BINDER & ASSOCIATES ( ym NO:

283 South Lake Avenue, Suite 200 (626) 793-9510

 

STATEMENT OF DAMAGES CASE NUMBER:

 

 

(Personal Injury or Wrongful Death) BC542968

 

 

To (name of one defendant only): Teresa Varela

Plaintiff (name of one plaintiff only): Richard Tang
seeks damages in the above-entitied action, as follows:

1. General damages AMOUNT
a. Pain, suffering, and inconvenience ..... 00.000 ccc cece eee e cee. $ 10,000,000
b. Emotional distress ...... i $ 10,000,000
Cc. LJ Loss of Consortium 2... ccc eee n eben eee eenbeneneneens $
d. CJ Loss of society and companionship (wrongful death actions ONY) oo ee eee eee $
eC] other (specif) eevee cece cece ec oc bebe beeper $
f. Other (specify) Payment of Judgment, Costs & Interest, $ 10,680,651.80

gC) Continued on Attachment 1.g.

2. Special damages

a. __] Medical expenses (lO date) ccc eee n tne teen nes $
b. (__] Future medical expenses (present value) o 0 cee cece cece ees $
c. Loss of earnings (fo date) © ccc cette ete neeens 3
d. Cc Loss of future earning capacity (present value) oo ce cece eee $
e. LJ] property damage 2... cece eee dees ee eecevevvreeeieeeeeres $
. [] Funeral expenses (wrongful death actions only)... cee cece c cee vvvveveceeece. 3
g. ["} Future contributions (present value) (wrongful death actions only)... ..0.00000-0 00. ce ae 8
h. C] Value of personal service, advice, or training (wrongful death actions only) ................ 5
i Other (specify). Payment of Judgment, Costs & Interest. 0... $
i [2] Other (specify ence bebe cece eee e nee: §

k. [=] Continued on Attachment 2.k.

3. Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify) . . $
when pursuing a judgment in the suit filed against you.

Date: April 29, 2014

Warren Binder

50,000

10,680,651.80

100.000,000

 

 

Fr area rare Pr THONATURE © npr OR ATTORNEY FOR PLAINTIFF)

(TYPE OR PRINT NAME) ;
(Proof of service on reverse)

Form Adopted by Rule 932 STATEMENT OF DAMAGES

gedtaye4) (New Jonuey 11907] Mandatory Form (Personal Injury or Wrongful Death)

Code of Civil Procedure, §§ 426.11, 425,115
JC Forms for HotDoes ™

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ATTORNEY OR PARTY WITHOUT ATTORNEY {Nomo ond Address}: TELEPHONE NO., FOR COURT USE ONLY

Warren Binder (Bar # 257686) (626) 793-9124
BINDER & ASSOCIATES FAXNO.:

283 South Lake Avenue, Suite 200 (626) 793-9510
Pasadena, CA 91101

Attorney For (nome Plaintiffs Carlos Madrigal, Richard Tang and Anna Tang
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
street aporess: |] 1 North Hill Street

MAILING ADORESS:

erry ano zip cove: LOS Angeles, CA 90012
srancn name: Central District

PLAINTIFF: Carlos Madrigal, Richard Tang and Anna Tang
DEFENDANT: Allstate Insurance Company, et al.
STATEMENT OF DAMAGES SASE NUMBER:

(Personal Injury or Wrongful Death) BC542968

 

 

 

 

 

 

 

To (name of one defendant only): Allstate Insurance Company
Plaintiff (name of one plaintiff only): Richard Tang
seeks damages in the above-entitled action, as follows:

1. General damages AMOUNT
a. Pain, suffering, and inconvenience ........ 0.0.00... cc cece eee ce cece eecuvnevenns $ 10,000,000
b. Emotional distress 0.00... eee cee eee ete teen eee evenennnes 5 10,000,000
Cc. CJ Loss ofconsortium 2.6.0... ce cece een n bbe nenenneees $
d. CI] Loss of society and companionship (wrongful death actions ONY) occ eee ee eee eee $

e. C4 Other (specify) —_—
f Other (specify) Payment of Judgment, Costs & Interest. s 10,680,651.80

9. JT Continued on Attachment 1.9.

2. Special damages

a. [__] Medical expenses (to date) 0 cece ccc cc cece ceveeceeeeveceeees $

b. [] Future medical expenses (present value) 60. ccc ccc ve cece cecceeeeee. $

c, Loss of earnings (to date) ©... ce tence cen ene eebebens 3 50,000
d. Cj Loss of future earning capacity (present value)... . cee eens 5

e. [J Property damage ©... 1. ete t nee e een eae $

f. | Funeral expenses (wrongful death actions only)... oo ce ee cc eee e nen $

g. | Future contributions (present value) (wrongful death actions only)... 00. ees $

h. CI Value of personal service, advice, or training (wrongful death actions only)... eee eee eee 3

i Other (specify). Payment of Judgment, Costs & Interest. $ 10.680.651.80
j. [J] Other (specify) cette tebe bene eens $

k. [] Continued on Attachment 2.k.

3. Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify). .$ 100,000,000
when pursuing a judgment.in the suit filed against you.

Dale: april 29, 2014

 

cece eveuee Warren Binder,

{TYPE GR PRINT NAME) (SIGRATURE ae PLAINTIFF OR ATTORNEY FOR PLAINTIFF)
(Proof of service on reverse)

 

Fom Adopted by Rule 982 STATEMENT OF DANIAG ES Code of Civil Procedure, §§ 425.11, 425.115

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obaiant2a) ten Topueny 1. 1887) Mandatory Form (Personal Injury or Wrongful Death) corms for HotDoc.

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